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              M.D. Handbook and Policies




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Please note that information contained herein is subject to change during the course of any academic year.
Wayne State School of Medicine reserves the right to make changes including, but not limited to, changes in
policies, course offerings and student requirements. This document should not be construed in any way as
forming the basis of a contract. The Medical Student Handbook typically is updated yearly, although periodic
mid-year updates may occur when deemed necessary. Unlike degree requirements, changes in regulations,
policies and procedures are immediate and supersede those in any prior Medical Student Handbook. The most
current version of the Medical Student Handbook can always be found on the School of Medicine Website.


UPDATED 04.10.2019




UNDERGRADUATE MEDICAL EDUCATION MAJOR COMMITTEES
       Admissions Committee
       Curriculum Committee
       Institutional Effectiveness Committee
       Professionalism Committee
       Promotions Committee




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1. MD REQUIREMENTS AND PROCEDURES

In this section:
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1.1     NEW INSTITUTIONAL DOMAINS OF COMPETENCY AND COMPETENCIES

In 2016, Wayne State University School of Medicine analyzed the current institutional learning objectives and
decided to revise its competency domains and related competencies for the program leading to the MD
degree. As a result, the new AAMC domains of competency were assumed and many institutional
competencies changed; in some areas, the previous WSUSOM competencies were maintained but mapped to
a                                         competency and in other areas the new PCRS competencies were

competencies to the Entrustable Professional Activities. WSUSOM Undergraduate Medical Education
Curriculum Committee approved the competency domains and competencies on 6/8/2016; they will be
instituted beginning with the 2016-2017 academic year.


DOMAIN 1: KNOWLEDGE FOR PRACTICE (KP)

Demonstrate knowledge of established and evolving biomedical, clinical, epidemiological, and social-
behavioral sciences, as well as the application of this knowledge to patient care.

       Relevant
                    Reference
      Entrustable
                     to the                                       WSUSOM Competency
  Professional
                      PCRS
       Activities

 EPA 1, 3, 13         KP 1      KP 1: Demonstrate an investigatory and analytic approach to clinical situations
 EPA 2                KP 2      KP 2: Apply established and emerging biophysical scientific principles fundamental to
                                health care for patients and populations
 EPA 2, 7             KP 3      KP 3: Apply established and emerging principles of clinical sciences to diagnostic and
                                therapeutic decision making, clinical problem solving, and other aspects of evidence-
                                based health care
 EPA 2, 3, 7          KP 4      KP 4: Apply principles of epidemiological sciences to the identification of health
                                problems, risk factors, treatment strategies, resources, and disease prevention/health
                                promotion efforts for patients and populations*
                      KP 5      KP 5: Apply psychosocial principles and concepts in the delivery of health care, including
                                assessment of the impact of psychosocial-cultural influences on health, disease, care-
                                seeking, care-compliance, and barriers to and attitudes toward care*
                      KP 6      KP 6: Contribute to the creation, dissemination, application, and translation of new health
                                care knowledge and practices


* Represents a WSUSOM Undergraduate Medical Education mission based competency toward urban
clinical excellence.




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DOMAIN 2: PATIENT CARE (PC)

Provide patient-centered care that is compassionate, appropriate, and effective for the treatment of health
problems and the promotion of health.

   Relevant
                   Reference
  Entrustable
                     to the                                   WSUSOM Competency
  Professional
                      PCRS
   Activities

 EPA 10, 12          PC 1      PC 1: Perform routine technical procedures specified by the medical school and
                               clerkship
 EPA 1, 2, 4, 6,     PC 2      PC 2A: Take a satisfactory medical history including psychosocial, nutritional,
 10                            occupational and sexual dimensions
 EPA 1, 2, 4, 6,     PC 2      PC 2B: Perform a satisfactory physical exam
 10
 EPA 1, 2, 4, 6,     PC 2      PC 2C: Accurately document the clinical encounter
 10
 EPA 10, 11          PC 3      PC 3: Apply the concepts and principles of patient safety science in the delivery of
                               clinical care
 EPA 2, 3, 5, 10     PC 4      PC 4A: Apply laboratory and imaging methods in identifying diseases or health
                               problems
 EPA 2, 3, 5, 10     PC 4      PC 4B: Interpret laboratory data, imaging studies, and other tests required for the
                               area of practice
 EPA 3, 4, 10        PC 5      PC 5A: Utilize data from the history, physical exam and laboratory evaluations, with
                               up-to-date scientific evidence to identify health problems
 EPA 3, 4, 10        PC 5      PC 5B: Formulate an appropriate differential diagnosis
 EPA 4, 5, 10,       PC 6      PC 6A: Formulate effective management plans (diagnostic, treatment, prevention
 11                            strategies, including relieving pain and ameliorating the suffering of patients) for
                               diseases and other health problems
 EPA 4, 5, 10,       PC 6      PC 6B: Monitor the course of illnesses and to appropriately revise the management
 11                            plan
 EPA 3, 11, 12       PC 7      PC 7: Counsel and educate patients and their families to empower them to
                               participate in their care and enable shared decision making*
 EPA 8               PC 8      PC 8: Understand the need and value of consultations and referrals in the delivery of
                               health care
 EPA 3               PC 9      PC 9: Apply preventive and health maintenance principles and techniques in the
                               delivery of health care*
                     PC 10     PC 10: Provide appropriate role modeling
                     PC 11     PC 11: Perform
                               and qualifications
                     PC 12     PC 12: Diagnose and manage patients with common diseases and health-related
                               conditions prevalent in urban settings*
* Represents a WSUSOM Undergraduate Medical Education mission based competency toward urban clinical
excellence.



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DOMAIN 3: PRACTICE-BASED LEARNING AND IMPROVEMENT (PBLI)


scientific evidence, and to continuously improve patient care based on constant self-evaluation and life-long
learning.

   Relevant
                  Reference
  Entrustable
                    to the                                   WSUSOM Competency
  Professional
                     PCRS
   Activities

 EPA 2, 4, 6, 7     PBLI 1     PBLI 1: Recognize personal educational needs and to select and utilize
                               appropriate resources to optimize learning
                    PBLI 2     PBLI 2: Set learning and improvement goals

 EPA 7              PBLI 3
                               knowledge, skills, or attitudes

 EPA 13             PBLI 4     PBLI 4: Systematically analyze practice using quality-improvement methods and
                               implement changes with the goal of practice improvement

 EPA 8              PBLI 5     PBLI 5: Incorporate feedback into daily practice


 EPA 7              PBLI 6     PBLI 6: Locate, appraise, and assimilate evidence from scientific studies related to

 EPA 4, 7, 8        PBLI 7     PBLI 7: Use information technology to optimize learning

                    PBLI 8     PBLI 8: Participate in the education of patients, families, students, trainees,
                               peers, and other health professionals
 EPA 3, 7           PBLI 9     PBLI 9: Obtain and utilize information about individual patients, populations of
                               patients, or communities from which patients are drawn to improve care*
* Represents a WSUSOM Undergraduate Medical Education mission based competency toward urban
clinical excellence.




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DOMAIN 4: INTERPERSONAL AND COMMUNICATION SKILLS (ICS)

Demonstrate interpersonal and communication skills that result in the effective exchange of information
and collaboration with patients, their families, and health professionals.

   Relevant
                   Reference
  Entrustable
                     to the                                  WSUSOM Competency
  Professional
                      PCRS
   Activities

 EPA 1, 4, 5, 6,     ICS 1     ICS 1: Effectively interact with patients, peers, families and other healthcare
 11                            workers from diverse cultural backgrounds*
 EPA 2, 5, 6, 7,     ICS 2     ICS 2: The ability to effectively communicate with peers and members of the
 8, 9, 10, 13                  healthcare team in the care of patients and their families
 EPA 8, 9            ICS 3     ICS 3: The ability to work cooperatively with other health care workers in the
                               delivery of health care

                     ICS 4     ICS 4: Act in a consultative role to other health professionals


 EPA 5, 11, 12       ICS 5     ICS 5: Maintain comprehensive, timely, and legible medical records


 EPA 10, 12          ICS 6     ICS 6: Demonstrate sensitivity, honesty, and compassion in difficult conversations
                               (e.g.. about issues such as death, end-of-life issues, adverse events, bad news,
                               disclosure of errors, and other sensitive topics
 EPA 1, 9, 11        ICS 7     ICS 7: Demonstrate insight and understanding about emotions and human
                               responses to emotions that allow one to develop and manage interpersonal
                               interactions
* Represents a WSUSOM Undergraduate Medical Education mission based competency toward urban
clinical excellence.




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DOMAIN 5: PROFESSIONALISM (P)

Demonstrate a commitment to carrying out professional responsibilities and an adherence to ethical principles.

   Relevant
                  Reference
  Entrustable
                    to the                                   WSUSOM Competency
  Professional
                     PCRS
   Activities

 EPA 1, 6, 9         P1       P 1: Demonstrate compassion, integrity, and respect for others, in particular
                              people from vulnerable population*
                     P2       P 2: Demonstrate responsiveness to patient needs that supersedes self-interest

 EPA 1, 6, 8         P3
                              health care

 EPA 5, 13           P4       P 4: Demonstrate accountability to peers, patients, society, and the profession


 EPA 1               P5       P 5: Demonstrate sensitivity and responsiveness to diverse populations, including
                              but not limited to diversity in gender, age, culture, race, religion, disabilities, and
                              sexual orientation*

 EPA 12              P6       P 6: Demonstrate a commitment to ethical principles pertaining to provision or
                              withholding of care, confidentiality, informed consent, and business practices,
                              including compliance with relevant laws, policies, and regulations
                     P7       P 7: Demonstrate credibility, initiative, integrity and professional competence
                              needed to gain the confidence and respect of others while providing clinical
                              care or other services to diverse populations in an urban setting*
* Represents a WSUSOM Undergraduate Medical Education mission based competency toward urban
clinical excellence.




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DOMAIN 6: SYSTEMS-BASED PRACTICE (SBP)

Demonstrate an awareness of and responsiveness to the larger context and system of health care, as well as
the ability to call effectively on other resources in the system to provide optimal health care.

   Relevant
                 Reference
  Entrustable
                   to the                                  WSUSOM Competency
  Professional
                    PCRS
   Activities

 EPA 5              SBP 1     SBP 1: Describe the health care delivery systems including social, economic and
                              political dimensions
 EPA 9              SBP 2
                              clinical specialty
 EPA 3, 4, 11,      SBP 3     SBP 3: Incorporate considerations of cost awareness and risk-benefit analysis in
 12                           patient and/or population based care*

 EPA 13             SBP 4     SBP 4: Advocate for quality patient care and optimal patient care systems to
                              support and contribute to a culture of safety

 EPA 13             SBP 5     SBP 5: Participate in identifying system errors and implementing potential
                              systems solution

                    SBP 6     SBP 6: Perform administrative and practice management responsibilities

 EPA 5              SBP 1     SBP 1: Describe the health care delivery systems including social, economic and
                              political dimensions
* Represents a WSUSOM Undergraduate Medical Education mission based competency toward urban
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DOMAIN 7: INTERPROFESSIONAL COLLABORATION (IPC)

Demonstrate the ability to engage in an inter-professional team in a manner that optimizes safe,
effective patient and population-centered care.

    Relevant      Reference                                 WSUSOM Competency
   Entrustable      to the
  Professional      PCRS
    Activities


 EPA 9              IPC 1     IPC 1: Work with other health professionals to establish and maintain a climate of
                              mutual respect, dignity, diversity, ethical integrity, and trust
 EPA 9              IPC 2
                              appropriately assess and address the health care needs of the patients and
                              populations served*
 EPA 9              IPC 3     IPC 3: Communicate with other health professionals in a responsive and
                              responsible manner that supports the maintenance of health and the treatment
                              of disease in individual patients and populations

                    IPC 4 IPC 4: Participate in different team roles to establish, develop, and continuously
                          enhance inter-professional teams to provide patient- and population-centered
                          care that is safe, timely, efficient, effective, and equitable*
* Represents a WSUSOM Undergraduate Medical Education mission based competency toward urban
clinical excellence.




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DOMAIN 8: PERSONAL AND PROFESSIONAL DEVELOPMENT (PPD)

Demonstrate the qualities required to sustain lifelong personal and professional growth

   Relevant       Reference                                  WSUSOM Competency
  Entrustable       to the
  Professional       PCRS
   Activities

                    PPD 1      PPD 1: Develop the ability to use self-awareness of knowledge, skills, and
                               emotional limitations to engage in appropriate help-seeking behaviors
                    PPD 2      PPD 2: Demonstrate healthy coping mechanisms to respond to stress

                    PPD 3      PPD 3: Manage conflict between personal and professional responsibilities

 EPA 6              PPD 4      PPD 4: Practice flexibility and maturity in adjusting to change with the capacity to
                               alter behavior

                    PPD 5      PPD 5: Demonstrate trustworthiness that makes colleagues feel secure when one
                               is responsible for the care of patients

                    PPD 6      PPD 6: Provide leadership skills that enhance team functioning, the learning
                               environment, and/or the health care delivery system

 EPA 6, 11, 12      PPD 7      PPD 7: Demonstrate self-confidence that puts patients, families, and members of
                               the health care team at ease

 EPA 2              PPD 8      PPD 8: Recognize that ambiguity is part of clinical health care and respond by
                               using appropriate resources in dealing with uncertainty

* Represents a WSUSOM Undergraduate Medical Education mission based competency toward urban
clinical excellence.




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DOMAIN 13: ENTRUSTABLE PROFESSIONAL ACTIVITIES FOR ENTERING RESIDENCY

         EPA 1:   Gather a history and perform a physical examination

         EPA 2:   Prioritize a differential diagnosis following a clinical encounter

         EPA 3:   Recommend and interpret common diagnostic and screening tests

         EPA 4:   Enter and discuss orders and prescriptions

         EPA 5:   Document a clinical encounter in the patient record

         EPA 6:   Provide an oral presentation of a clinical encounter

         EPA 7:   Form clinical questions and retrieve evidence to advance patient care

         EPA 8:   Give or receive a patient handover to transition care responsibility

         EPA 9:   Collaborate as a member of an interprofessional team

        EPA 10:   Recognize a patient requiring urgent or emergent care and initiate evaluation and
                  management

        EPA 11:   Obtain informed consent for tests and/or procedures

        EPA 12:   Perform general procedures of a physician

        EPA 13:   Identify system failures and contribute to a culture of safety and improvement



                                                   REFERENCES


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Competency Domains for the Health Professions and Competencies for Physicians: Acad. Med. 2013; 88:
1088- 1094
ii Association of American Medical Colleges (AAMC). Core Entrustable Professional Activities for Entering
                                                  https://members.aamc.org/eweb/upload/Core EPA
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1.2   SPECIFICATION OF REQUIREMENTS FOR GRADUATION


In order to graduate from WSUSOM, each Year 4 student must:
           Achieve a satisfactory or honors grade for all prescribed clerkships and electives
           Complete all required assignments
           Complete any OSCE remediation
           Meet all attendance requirements and satisfactorily complete all make-up provisions
           Act professionally toward patients, fellow students, faculty, standardized patients and staff
           Pass USMLE Step 1
           Pass USMLE Step 2CK
           Pass USMLE Step 2CS


May 1st of each year is the deadline for completion of all Year 4 requirements, including coursework and
passing USMLE examinations. Students who have not passed USMLE Step 2CK or 2CS examinations by May 1 st
will not be allowed to participate in graduation activities, including commencement. Students who owe only
coursework after May 1 may be allowed to participate in graduation activities on a case by case basis, as
determined by the Vice Dean for Medical Education or his/her designee.


                         onsibility to know the requirements for completion of the senior program and the
requirements for the award of the medical degree and graduation. Failure to complete all requirements by
the May 1st deadline may delay a student's application for a temporary license, which may mean that the
student is unable to begin his/her residency on time.



1.3   SCHOOL OF MEDICINE TECHNICAL STANDARDS


TECHNICAL STANDARDS FOR THE WSUSOM

A candidate for the MD degree must possess abilities and skills which include those that are
observational, communicational, motor, intellectual-conceptual (integrative and quantitative), and
behavioral and social.

Once applicants with disabilities are accepted to a medical school, the school must provide certain
accommodations to those persons so that they can enjoy the same services, benefits, and educational and


accommodation cannot alter the essential elements of a course. Similarly, the technical standards of a program
cannot be altered. The use of a trained intermediary is not acceptable in many clinical situations in that it


Any student who believes they have a disability should report to the Wayne State University School of Medicine


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Office of Student Disability Services for determination of the disability and associated accommodation. Any
student who believes they have a disability, please refer to the procedures associated with the Wayne State
University Student Disability Services in this document.

OBSERVATION
The candidate must be able to acquire a defined level of required information as presented through
demonstrations and experiences in the basic sciences, including but not limited to information conveyed
through physiologic and pharmacological demonstrations in animals, microbiological cultures and microscopic
images of microorganisms and tissues in normal and pathological states. Furthermore, a candidate must be
able:

          To observe a patient accurately, at a distance, and close at hand, to acquire information from
          written documents, and to visualize information as presented in images from paper, films, slides
          or video.
          To interpret x-ray and other graphic images, and digital or analog representations of physiologic
          phenomenon (such as EKGs) with or without the use of assistive devices. Such observation and
          information acquisition necessitates the functional use of visual, auditory and somatic sensation
          while being enhanced by the functional use of other sensory modalities. In any case where a

          compromised, the candidate must demonstrate alternative means and/or abilities to acquire and
          demonstrate the essential information conveyed in this fashion. If the alternatives are acceptable,
          it is expected that obtaining and using such alternate means and/or abilities shall be the
          responsibility of the student.

COMMUNICATION
A candidate must be able to speak, to hear and to observe patients by sight in order to elicit information,
describe changes in mood, activity and posture, and perceive nonverbal communications. A candidate must be
able to communicate effectively and sensitively with patients. Communication includes speech, reading and
writing. The candidate must be able to communicate effectively and efficiently in oral and written form with
all members of the health care team.

MOTOR SKILLS
It is required that a candidate possess the motor skills necessary to directly perform palpation, percussion,
auscultation and other diagnostic procedures. The candidate must be able to execute motor movements
reasonably required to provide general and emergency medical care such as airway management, placement of
intravenous catheters, cardiopulmonary resuscitation, application of pressure to control bleeding, suturing of
wounds and the performance of simple obstetrical maneuvers. Such actions require coordination of both gross
and fine muscular movements, equilibrium and functional use of the senses of touch and vision.




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INTELLECTUAL-CONCEPTUAL (INTEGRATIVE AND QUANTITATIVE) ABILITIES
The candidate must be able to measure, calculate, reason, analyze, integrate and synthesize. In addition,
the candidate must be able to comprehend three- dimensional relationships and to understand the spatial
relationships of structures. Problem solving, the critical skill demanded of physicians, requires all of these
intellectual abilities. The candidate must be able to perform these problem-solving skills in a timely fashion.


BEHAVIORAL AND SOCIAL ATTRIBUTES

The candidate must possess the emotional health required for full utilization of his/her intellectual abilities, the
exercise of good judgment, the prompt completion of all responsibilities attendant to the diagnosis and care of
patients, and the development of mature, sensitive, and effective relationships with patients. The candidate
must be able to tolerate physically taxing workloads and to function effectively under stress. He/she must be
able to adapt to changing environments, to display flexibility, and to learn to function in the face of
uncertainties inherent in the clinical problems of patients. Compassion, integrity, concern for others,
interpersonal skills, interest and motivation are all personal qualities that will be assessed during the admissions
and educational processes.




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                                TEACHER-LEARNER AGREEMENT


2. MD REQUIREMENTS AND PROCEDURES


    In this section:
    2.1    STUDENT CONFIDENTIALITY AND ACCESS TO SENSITIVE INFORMATION
    2.2    REGISTRATION AND STUDY LISTS
    2.3    DATA SECURITY AND PRIVACY (HIPAA)
    2.4    DEFINITION OF MEDICAL STUDENT PRACTICE ROLE
    2.5    STUDENT DISABILITY SERVICES
    2.6    RESEARCH INTEGRITY
    2.7    EVALUATION COMPLETION REQUIREMENTS
    2.8    TRANSCRIPT GRADING KEY
    2.9    LEAVES OF ABSENCE AND DISCONTINUATION AND REINSTATEMENT
    2.10 MALPRACTICE LIABILITY FOR MEDICAL STUDENTS
    2.11 MEDICAL HEALTH REQUIREMENTS AND IMMUNIZATIONS
    2.12 COMPUTER AND DEVICE SERCURITY
    2.13 MISTREATMENT POLICY
    2.14 SAFETY TRAINING
    2.15 WAYNE STATE UNIVERSITY SCHOOL OF MEDICINE POLICY FOR THE REMOVAL
         AND TRANSPORT OF PHI
    2.16 WAYNE STATE UNIVERSITY SCHOOL OF MEDICINE EDUCATION RESEARCH POLICY
    2.17 STEPPING OUT OF THE MD CURRICULUM SEQUENCE
    2.18 UNIVERSAL PRECAUTIONS AND NEEDLESTICK PROTOCOL
    2.19 USMLE REQUIREMENTS: STEP 1, STEP 2 CK AND STEP 2CS
    2.20 ABSENCE POLICY AND EXPECTATIONS
    2.21 N95 RESPIRATOR MASK FIT REQUIREMENTS FOR MEDICAL STUDENTS
    2.22 SCHOOL OF MEDICINE DRESS CODE GUIDELINES FOR THE CLINICAL SETTING
    2.23 SCHOOL OF MEDICINE CRIMINAL BACKGROUND CHECK POLICY
    2.24 ENROLLMENT STATUS POLICIES




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2.1 STUDENT CONFIDENTIALITY AND ACCESS TO SENSITIVE INFORMATION


PURPOSE
The purpose of this policy is to outline the approach of Wayne State University School of Medicine towards the
handling of sensitive information such as academic records, health information and evaluation of students who
seek medical/psychological care.


CONFIDENTIALITY
Wayne State University School of Medicine follows appropriate standards of confidentiality in the management of
priva
records and the protection of confidentiality comply with Wayne State University (parent institution) and the
Family Educational Rights and Privacy Act of 1974 (FERPA), governing access to, and confidentiality of, student
educational records. For more information regarding                                                             ,
please refer to: http://reg.wayne.edu/students/privacy.php


RIGHTS UNDER FERPA FOR POSTSECONDARY INSTITUTIONS
The Family Educational Rights and Privacy Act (FERPA) affords students certain rights with respect to their
education records:
        The right to                                              records.


         is inaccurate, misleading, or otherwise in violation of the         privacy rights under FERPA.
        The right to provide written consent before the University discloses personally identifiable information
                                                                     that FERPA authorizes disclosure without
         consent.
        The right to file a complaint with the U.S. Department of Education concerning alleged failures by the
         University to comply with the requirements of FERPA. The name and address of the Office that
         administers FERPA is:

         Family Policy Compliance Office
         S. Department of Education
         400 Maryland Avenue, SW
         Washington, DC 20202




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STUDENT INFORMATION AND ACADEMIC RECORDS
With certain defined exceptions, under FERPA, an academic record is: Any record, maintained by an institution
or agent of the institution where a student can be personally identified. A student has right to expect that
educational records will be kept confidential and will be disclosed only with his or her permission or as allowed
                                                                                            ormance, external
examination results (e.g. USMLE) and financial status will be kept confidential and handled carefully to prevent
it from becoming known to unauthorized individuals.
The Wayne State University School of Medicine uses various secure electronic information systems, such as
MySOM, Banner, STARS, E*Value, etc. for storing information regarding student academic performance,
course registration, biographical data, appointment information and financial aid and student account
information regarding charges and payments. Paper files kept at Wayne State University School of Medicine
include the academic file and the health file.

REVIEW AND AMEND RECORDS
Students have the right to inspect and review their educational records, seek amendment of the records they
believe to be inaccurate or in violation of their privacy rights, and consent to disclosures of personally
identifiable information contained in their records (except to the extent that the law authorizes disclosure without
consent). Students who wish to amend an inaccurate or misleading record may:
        Discuss any changes with the School of Medicine Assistant Dean for Student Affairs or Office of Records
         & Registration
        Request that records are reviewed by Wayne State University Registrar (main campus). The school is
         required, by law, to respond within 45 days of the request receipt. Requests through this channel should
         be addressed to:
        Wayne State University Academic
        Records Wayne State University
        5057 Woodward, Fifth Floor
        Detroit, MI 48202




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2.2 REGISTRATION AND STUDY LIST - PENDING


2.3 DATA SECURITY AND PRIVACY (HIPAA) - PENDING


2.4 DEFINITION OF MEDICAL STUDENT PRACTICE ROLE - PENDING


2.5 STUDENT DISABILITY SERVICES
The mission of Student Disability Services (SDS) is to serve as a resource for the Wayne State University
community in order to ensure academic access and inclusion for students, supporting a view of disability guided
by social, cultural, and political forces. Student Disability Services works to create inclusive academic
environments by promoting the construct of universal design throughout the university. To this end, SDS
provides academic accommodations, resources and training in assistive technology, and information to foster
understanding of disability throughout the university community. https://studentdisability.wayne.edu/



2.6 RESEARCH INTEGRITY
   https://research.wayne.edu/integrity/index.php


2.7 EVALUATION COMPLETION REQUIREMENT

YEAR 3 AND YEAR 4 CLERKSHIP AND ELECTIVE GRADING
The evaluation of Year 3 students is the responsibility of the School of Medicine Clinical Education Committee,
which delegates that authority to the individual Year 3 Clerkship Directors. In turn, Clerkship Directors and
Departmental Medical Student Education committees determine the clerkship grades for each student and
recommends grades to the Clinical Education Committee. The Clerkship Committee reviews and approves
grades on a monthly basis. Grades are then disseminated to students through E*Value.
Guidelines for evaluation of cognitive and clinical skills are established for each clerkship by the respective
clerkship director and departmental education committee. These guidelines are detailed elsewhere in
department-specific clerkship policies and procedures. At the beginning of each clerkship, students are
informed about the specifics of the evaluation and grading policy. Each clerkship uses subject examinations
purchased from the National Board of Medical Examiners. Course grades, at a minimum, are determined by
written examinations and completion of clinical performance evaluations by supervising attending physicians
and/or supervising residents. In some clerkships oral examinations, objective structured clinical exams, defined
clinical exercises and/or research papers may also be a component of a grade.




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Students should direct questions regarding the evaluation and grading system of a specific clerkship to that
clerkship director. If further clarification is needed, contact the office of the Assistant Dean for Clinical
Education.

MID-CLERKSHIP EVALUATIONS
Clinical preceptors (faculty, attending physicians, or senior residents) provide students with a mid-clerkship
                                                             -clerkship evaluation from those physicians with
whom he/she has worked. The evaluation should detail your strengths, weaknesses, and any recommendations
for improvement during the remainder of the clerkship. A form for accomplishing this evaluation will be given to
you during each clerkship with instructions on when they are due to the clerkship director.
In particular, the clerkship director mus
not performing as expected at the time of the mid-clerkship evaluation, and (2) there is a concern that the
student will not satisfactorily complete the clerkship. If such a mid-clerkship evaluation is received, the
clerkship director or his/her designee will offer to meet with the student to discuss his/her progress and plan
for remediation. It is recommended that copies of these written evaluations be kept by the student for
future reference.


GRADING WRITTEN EXAMINATIONS
Exams written by School of Medicine faculty are graded based on established departmental criteria. The NBME
provides each clerkship director with individual examination scores and the mean and the standard deviation
for the NBME Subject Examination for the WSU School of Medicine cohort administered that examination.
Each Clerkship Director and departmental Medical Education Committee decides how passing scores and
honors scores for the written examinations are determined. The results of these objective examinations
cannot be appealed, other than having the score verified.


CLINICAL PERFORMANCE EVALUATION

Evaluation of Student form by those faculty and/or residents who have worked with him or her. Students are
evaluated using a 5- point scale on twelve different competencies.




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2.8   TRANSCRIPT GRADING KEY

TRANSCRIPT GRADES

For each course, one of the following grades will be placed in the transcript:

I = Incomplete
assigned activities.

U = Unsatisfactory will be entered if the student fails to achieve a satisfactory grade. Failed courses that are
repeated will retain the original grade of U on the transcript. Once the student has passed the repeated course
the grade of S will be entered on the transcript as the second grade for the course even if performance the
second time would have otherwise resulted in a higher grade.

S = Satisfactory will be entered if the student completed all requirements for passing the course

S+ = Satisfactory with Commendations is only available for use with the Year 3 clerkships (except Continuity
Clinic Clerkship) and Year 4 Emergency Medicine. A student remediating a course or clerkship is ineligible for a
grade of Satisfactory with Commendations.

H = Honors                                                              -4 only) is determined to be meritorious. A
student remediating clerkship is ineligible for a grade of Honors.

S* = Satisfactory upon Remediation will be entered for failed courses once they have been successfully
remediated by re-examination.



2.9   LEAVES OF ABSENCE AND DISCONTINUATION AND REINSTATEMENT

LEAVE OF ABSENCE PROCESS AND POLICIES
Please refer to the Leave of Absence Policies here: https://studentaffairs.med.wayne.edu/loa-process


2.10 MALPRACTICE LIABILITY FOR MEDICAL STUDENTS
The School of Medicine professional liability insurance policy covers hospital based work, summer externships,
volunteer activities, both Co-Curricular and Student Organization based and international electives and student
organized trips. All activities must receive official School of Medicine Approval. The Office of Records and
Registration can provide an insurance certificate of coverage.




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2.11 MEDICAL HEALTH REQUIREMENTS AND IMMUNIZATIONS

COMPLIANCE WITH HEALTH STANDARDS
In order to participate in the medical education program and co-curricular programs, a medical student must
be compliant with the School of Medicine health standards. Any questions regarding this policy or procedures
should be directed to the Medical Student Health Officer at healthofficer@med.wayne.edu.


REQUIRED COMMUNICABLE DISEASE VACCINATIONS
All students are strongly encouraged to keep personal copies of all materials submitted to the school of
medicine documenting their compliance with these requirements.
As a medical students and future members of the healthcare workforce it is important for WSU School of
Medicine students to provide documentation that they have had all necessary vaccinations or have evidence of
immunity from specific diseases. This documentation is essential not only to show that the student is protected,
but also to protect those patients with whom they will come in contact during clinical rotations, visits to clinical
facilities, and in the course of volunteer or relief programs. This documentation is also required by our affiliated
clinical teaching facilities. The specific requirements for vaccination/immunity documentation are listed below.
These requirements are based upon current recommendations from the U.S. Center for Disease Control (CDC),
the Michigan Department of Community Health (MDCH), and other expert authorities. This information and the
requirements must be reviewed very carefully to e
healthcare providers as needed.
Annual influenza vaccinations and TB testing will be offered here at the School of Medicine at the appropriate
times of each school year.
Any questions regarding this policy should be addressed to the Medical Student Health
Officer at healthofficer@med.wayne.edu.

REQUIRED VACCINATIONS/EVIDENCE OF IMMUNITY POLICY
As medical students and future members of the healthcare workforce it is important for WSU School of
Medicine students to provide documentation that they have had all necessary vaccinations or have evidence of
immunity from specific diseases. This documentation is essential not only to show that the student is
protected, but also to protect those patients with whom they will come in contact during clinical rotations,
visits to clinical facilities, and in the course of volunteer or relief programs. This documentation is also required
by our affiliated clinical teaching facilities. The specific requirements for vaccination/immunity documentation
are listed below. These requirements are based upon current recommendations from the U.S. Center for
Disease Control (CDC), the Michigan Department of Community Health (MDCH), other expert authorities, and
requirements of institutions hosting visiting students. This information and the requirements must be reviewed
very carefully by the Medical Student Health Officer Assistant to ensure compliance and should be shared with
stu
Students must provide the specific dates of vaccinations. If antibody titers are drawn, then copies of the
actual laboratory reports also must be provided to the Medical Student Health Officer Assistant for inclusion

Annual influenza vaccinations and TB testing will be offered at the School of Medicine at the appropriate times
of each school year.



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Any questions regarding this policy should be addressed to the Medical Student Health
Officer at healthofficer@med.wayne.edu.
All inquiries will be received and addressed by the Medical Student Health Officer Assistant. The Medical
Student Health Officer Assistant is responsible for reviewing the health records of and contacting individual
students. S/he is a member of the medical field but is not involved in the academic assessment or promotion of
medical students. The Medical Student Health Officer is responsible for all policies related to compliance with
health standards; but does not review individual student health records.


REQUIRED DOCUMENTATION OF VACCINATIONS AND EVIDENCE OF IMMUNITY:
Please note: For ALL antibody titers, copies of the actual laboratory reports MUST be submitted for

 1. Tdap (Tetanus toxoid, reduced diphtheria toxoid and acellular pertussis vaccine) This is a somewhat
    different formulation than the DTaP or DPT vaccinations that most of our students received in infancy/early

    adolescents or adults for tetanus prophylaxis for wounds. The Tdap has the standard dose of tetanus toxoid,

    resurgence and increasing incidence of pertussis, the CDC and other authorities have recommended that all
    healthcare providers who have not received a Tdap as an adult (i.e. at age 16 or older) should receive one,
    regardless of the time since their last Td vaccination. The hospitals in which our students participate in
    clinical rotations are requiring explicit documentation of the adult pertussis vaccination in order for
    students to be in their facilities
 2. Measles and mumps Some of the clinical sites available to students for clerkships and electives require
    medical students to have quantitative measles and mumps antibody titers indicating they are immune
    to these infections. Therefore, the School of Medicine requires evidence of immunity. We also request
    documentation of two doses of these vaccinations.
 3. Rubella Some of the clinical sites available to students for clerkships and electives require medical
    students to have quantitative rubella antibody titers indicating they are immune to this infection. Therefore,
    the School of Medicine requires evidence of immunity. We also request documentation of at least one
    dose of this vaccination.
 4. Varicella All students should have a quantitative varicella antibody titer drawn to assess their immunity to
    this infection. If a student has a history of receiving the vaccination, we request documentation of two doses
    of this vaccination.
    varicella.
 5. Hepatitis B The majority of clinical sites require documentation of three doses of this vaccination and a
    quantitative antibody titer (anti-HBs) indicating response to the immunizations. Therefore the School of
    Medicine has the same requirement. Students must have evidence of three doses and immunity to Hepatitis
    B. (Please note that additional blood work and potential re-vaccination will be required in the event that
    immunity is not documented after the primary series. Students should consult with their healthcare
    provider in this event.)




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ANNUAL INFLUENZA VACCINATION POLICY
WSU School of Medicine students are required to receive an influenza vaccination each year. This annual
requirement should be completed as soon as possible after the vaccine becomes available, but in any case no
later than November 30th each year. Influenz
contracting influenza, reducing the risk to their family members, and most importantly to reduce the risk of
influenza among those patients with whom they will come in contact during clinical rotations, visits to clinical
facilities, and in the course of volunteer or relief programs. Documentation that each student has received an
annual influenza vaccination is also required by our affiliated clinical teaching facilities. This policy is based
upon current recommendations from the U.S. Center for Disease Control (CDC), the Michigan Department of
Community Health (MDCH), and the requirements of our affiliated clinical sites.
Annual influenza vaccination opportunities will be offered here at the School of Medicine at the appropriate
times of each school year, typically in the late summer or early fall. Students must provide specific
documentation to the Student Health Officer Assistant of their influenza vaccinations if they receive them from
a health care provider outside of the School of Medicine programs. This documentation will be placed in the

Any questions regarding this policy should be addressed to the Medical Student Health
Officer at healthofficer@med.wayne.edu.


ANNUAL TB SCREENING POLICY
1. Medical students, like all other healthcare personnel, must undergo tuberculosis (TB) screening on an annual
   basis during time periods determined by the School of Medicine and its affiliated teaching hospitals and clinical
   facilities.
2.
     student being excluded from participating in training or other activities at those facilities in accordance with
     their individual institutional infection control policies
3. Upon completion of TB screening, the student will be asked to sign a release allowing the Wayne State University
   School of Medicine and/or its agents to release information regarding the results of this testing to affiliated
   health care facilities where students are participating in clinical educational activities which require confirmation
   that the students have completed the testing mandated by those facilities.


4. TB screening programs will be offered here at the School of Medicine according to the following
   general schedule:
         1. Year 1 student screening will be scheduled in the fall of Year 1 (baseline screening)
         2. Year 2 student screening will be scheduled in the spring of Year 2 (in preparation for beginning clinical
            rotations in Year 3)
         3. Year 3 student screening will be scheduled in the spring of Year 3 (in preparation for continuing
            clinical rotations in Year 4)
         4. Students may choose to have TB screening done at outside medical facilities, but must then provide the
            School of Medicine with documentation from those facilities of the screening results




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5. TB screening will be undertaken according to the population to which each student belongs as follows:
          1. Students with no prior history of a positive Tuberculin Skin Test (TST) nor a positive Interferon-Gamma
             Release Assay (IGRA) blood test for TB Infection
                  Should undergo routine TST. (Alternative would be IGRA testing)
          2. Students who have received bacille Calmette-Guerin (BCG)vaccination in childhood
                  Should undergo routine TST. (Alternative would be IGRA testing)
          3. Students known to have latent TB (as evidenced by a history of a past positive TST or IGRA)
                  Must have evidence of one negative chest x-ray and should submit a yearly TB symptom
                  survey. (Students will need to submit a copy of the actual negative chest x-ray report to be
                  placed in their medical folder at the School of Medicine. Students are strongly encouraged to
                  keep a personal copy of their negative x-ray report to avoid unnecessary repeat chest x-rays)
6. Students should be aware that other institutions and medical facilities where they may apply to undertake
   electives and other training as a medical student may have different policies for TB screening that are not
   under the control of the School of Medicine.
7. Any questions regarding this policy should be addressed to the Medical Student Health
   Officer at healthofficer@med.wayne.edu.


2.12   COMPUTER AND DEVICE SECURITY

Please refer to university policy: https://tech.wayne.edu/kb/security/computer-device-security




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2.13    MISTREATMENT POLICY

STUDENT MISTREATMENT
The purposes of this policy is to outline expectations of behaviors that promote a positive, supportive, learning
environment for Wayne State University School of Medicine medical students and other learners and to identify
grievance procedures to address alleged violations. This policy offers a definition of appropriate expectations,
provides examples of unacceptable treatment of medical students, and describes the procedures available to
report incidents of mistreatment in a safe and effective manner.
Wayne State University School of Medicine is committed to maintaining an educational and professional
environment that is free of all forms of harassment and discrimination. The School of Medicine strives to
                                                                                     values: professionalism,
respect for individual rights, appreciation of diversity and differences, altruism, compassion and integrity.
Mistreatment of medical students is unacceptable and will not be tolerated.
The policy applies to all members of the School of Medicine community including all students, administrators,
faculty, staff, clinical teaching faculty, medical personnel, guest lecturers, and volunteers. All members of the
School of Medicine community must adhere to this mistreatment policy and report violations. Mistreatment
of students can occur by other medical students, university employees and non-university employees. All
three types of mistreatment will be addressed in this policy.
Retaliation is strictly prohibited against persons who in good faith report, complain of, or provide information in
a mistreatment investigation proceeding. Retaliation includes behavior on the part of the accused or the
accuser and other related persons, including, but not limited to, acquaintances, friends and family members.
Individuals who believe they are experiencing retaliation should immediately contact the Assistant Dean of
Student Affairs or a WSUSOM counselor so that prompt remedial action can be taken.
Students are educated on this policy during Year 1, 2, 3 and 4 Orientation sessions. Students will also receive
quarterly emails reminding them of the policy. As part of our process residents, faculty (full time, part-time and
volunteer) and staff will also be informed annually. The assistant Dean of Basic Sciences educates Year 1 and 2
faculty and staff through the course directors. The assistant Dean of Clinical Education educates Year 3 and 4
residents, faculty and staff through the clerkship directors and clinical campus medical education directors. All
clinical campus affiliates also provide education for their faculty and staff through on line prevention training of
both sexual harassment and work place violence. All employees of all participating hospitals must complete
these educational modules as a requirement of their employment. Students also receive education on the
University Student Code of Conduct Policy as well as the LCME standards as it pertains to student mistreatment
at https://doso.wayne.edu/conduct/codeofconduct.pdf.




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EXAMPLES OF MISTREATMENT
Students should use this Mistreatment Policy to address discriminatory, unfair, arbitrary or capricious
treatment by faculty, staff, students, clinical teaching faculty and medical personnel. The school adheres to the
professional standards of behavior established by the Association of American Medical Colleges and the Wayne
State University Nondiscrimination Policy (referenced in III.c.)
http://oeo.wayne.edu/pdf/affrm_actn_policy.pdf. Students are expected to report behavior which interferes
with the learning process. Students should consider the conditions, circumstances and environment
surrounding the behavior. Examples of discriminatory, unfair, arbitrary or capricious treatment include, but are
not limited to: *
    1. Physical
          a. Physically mistreated causing pain or potential injury
          b.
          c. Other forms of physical mistreatment used to express frustration, make a point or get attention
    2. Verbal
          a.    Accused
          b.    Threatened/intimidated
          c.    Yelled at/snapped at
          d.    Degraded/ridiculed/humiliated/sworn at/scolded/berated
          e.    Exposed to inappropriate conversation/comments (of nonsexual and nonracial nature)
    3. Sexual harassment
          a. Making sexual

              III.c.)
           b. Making sexual advances, requests for sexual favors, and other verbal or physical conduct
              or communication of a sexual nature as per the University Sexual Harassment
              Policy, http://bog.wayne.edu/code/2_28_06.php.
           c. Ignored because of gender
           d. Stalking of a sexual nature; i.e. persistent and unwanted contact of any form whether
              physical, electronic or by any other means.
    4. Ethnic
           a. Exposed to racial or religious slurs/jokes as defined in the
              Policy Statement. (referenced in III.c.)
           b. Stereotyped
           c. Neglecte                                    ethnicity)
    5. Power
          a.    Dehumanized/demeaned/humiliated (nonverbally)
          b.    Intimidated/threatened with evaluation or grade consequences
          c.    Asked to do inappropriate tasks/scut work
          d.    Forced to adhere to inappropriate work schedules
          e.    Neglect/ignored
*list adapted from Fried et. al, Academic Medicine, Sept 2012



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Please note:
or professional future, the university considers sexual relationships between the two individuals to be a basic
violation of professional ethics and responsibility; this includes but is not limited to sexual relationship
between faculty and student or between supervisor and student, even if deemed to be mutually consenting

deemed not possible, and may be construed as coercive.

REPORTING MISTREATMENT
Medical students who themselves experience or observe other students experiencing possible mistreatment
are encouraged to discuss it with someone in a position to understand the context and address necessary
action.
Those who believe they have experienced mistreatment, sexual harassment or discrimination by an
administrator, faculty, staff member, student or a teaching hospital or clinic employee can pursue one or
more avenues for resolution. Suggested steps for medical students include:
    1. DISCUSS it with a Wayne State University School of Medicine (WSUSOM) Counselor in the Office of
       Student Affairs, the Assistant Dean of Student Affairs, the Assistant Dean of Basic Science, the
       Assistant Dean of Clinical Education, the WSUSOM clerkship/course director, hospital system clinical
       campus Director of Medical Education, or the Office of Ombuds on main campus. These staff will
       meet with the student and hear the details of the alleged incident. Students are encouraged but not
       required to try to resolve the matter by involving a WSUSOM counselor and the Assistant Dean of
       Student Affairs.
    2. FILE a School of Medicine Report:
          a. File a report with the Assistant Dean of Student Affairs using
              the https://www.med.wayne.edu/ume-student-affairs/report-student-mistreatment-form/
    3. File an anonymous report via the School of Medicine Care Report Program using
        the https://www.med.wayne.edu/ume-student-affairs/report-student-mistreatment-form/
    4. Formally REPORT it:
          a. If the event involves severe mistreatment by another student, the Office of Student Affairs at
             the School of Medicine will assist the student in filing charges under the University Student
             Code of Conduct Process http://doso.wayne.edu/student-conduct/suit/carereport.htm as per
             University Policy.
          b. If the event involves a WSU administrator, faculty or staff, and involves sexual harassment
             or discrimination the student must also report the incident to the Office of Equal
              Opportunity http://generalcounsel.wayne.edu/reportsexualmisconduct.phpwho will
              investigate and respond accordingly. Refer to University Policy 2005-03 Discrimination and
              Harassment Complaint Process.
          c. If the event involves a WSU administrator, faculty or staff, and does not involve sexual
             harassment or discrimination the student may also report the incident to the Office of
             Equal Opportunity.
    5. If the event involves clinical faculty/medical personnel (non-university employee) at a clinical
       campus, the student may also report the event to the Human Resources Department of that
       Hospital.


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All complaints should be filed within 30 business days of the event. A School of Medicine Care Report
includes the following:
           Your name (optional)
           Your email (optional)
           Your phone number (optional)
           Date of the event
           Time of the event
           Location
           Statement and description of the alleged event
           Name(s) of person(s) involved
           Witnesses, if any
           Other facts considered to be relevant


RIGHTS OF THE ACCUSER AND ACCUSED
           To confidentiality
           To have the allegations investigated in a thorough and timely manner
           To be informed of the outcome of the process
           To modify a schedule as indicated
If the student is not satisfied with the outcome of their complaint, the student should meet and discuss the issue
with the Vice Dean for Medical Education
Medical Students requesting complete anonymity should be made aware that doing so may interfere with

investigation.




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                                              firmative action employer, complies with all applicable federal and
state laws regarding non-discrimination and affirmative action. In furtherance of this policy, the University is
also committed to promoting institutional diversity to achieve full equity in all areas of University life and service
and in those private clubs and accommodations that are used by University personnel. No off-campus activities
sponsored by or on behalf of Wayne State University shall be held in private club facilities or accommodations
which operate from an established policy barring membership or participation on the basis of race, color, sex
(including gender identity), national origin, religion, age, sexual orientation, familial status, marital status,
height, weight, disability, or veteran status. Affirmative action procedures, measures, and programs may be
used to the extent permitted by law to establish, monitor and implement affirmative action plans for all



RESPONDING TO CONCERNS OF MISTREATMENT
All complaints will be considered thoroughly and promptly. Every effort will be made to resolve complaints in an
expeditious, discreet and effective manner. The University, including the School of Medicine, will attempt to
maintain confidentiality to the extent possible within legitimate conduct of an investigation and/or as required
by law. Every effort will be made to avoid negative repercussions as a result of discussing an alleged offense
and/or filing a complaint.
If a student reports mistreatment through the School of Medicine Student Care Report, the Assistant Dean of
Student Affairs will automatically be provided with written notice of reported concerns of mistreatment and will
conduct an initial inquiry into the circumstances of the alleged mistreatment. The Assistant Dean of Student
Affairs will assist the student in filing a report with the appropriate office. When another student is involved and
the Student Code of Conduct Policy has been activated, the University Student Conduct Officer will render a
corrective action plan after discussion and collaboration with the Chair of the Professionalism Committee
and/or the SOM Assistant Dean of Student Affairs.
Aggregate and de-identified data on reports of mistreatment of Medical Students will be shared with the Vice
Dean for Medical Education, The Student Senate, and the WSUSOM Curriculum Committee on an annual
basis.


NO RETALIATION
Retaliation is strictly prohibited against persons who in good faith report, complain of, or provide information in
a mistreatment investigation proceeding. Retaliation includes behavior on the part of the accused or the
accuser and other related persons, including, but not limited to, acquaintances, friends and family members.
Individuals who believe they are experiencing retaliation should immediately contact the Assistant Dean of
Student Affairs or a WSUSOM counselor so that prompt remedial action can be taken.




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REFERENCES
      University Policy 2005-03 Discrimination and Harassment Complaint
      Process http://oeo.wayne.edu/pdf/discrimination_and_complaint_process_final_old.pdf.
      University Policy Nondiscrimination/Affirmative Action
      Policy
      http://oeo.wayne.edu/pdf/affrm_actn_policy.pdf.
      University Sexual Harassment Policy http://bog.wayne.edu/code/2_28_06.php.
      University Student Code of Conduct Policy https://doso.wayne.edu/conduct/codeofconduct.pdf




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2.14    SAFETY TRAINING - PENDING



2.15    WAYNE STATE SCHOOL OF MEDICINE POLICY FOR THE REMOVAL AND TRANSPORT OF
        PROTECTED HEALTH INFORMATION (PHI) - PENDING


2.16    WAYNE STATE UNIVERSITY SCHOOL OF MEDICINE EDUCATION RESEARCH POLICY

Please refer to the university research policies: https://research.wayne.edu/irb/policies-human-research.php



2.17    STEPPING OUT OF THE MD CURRICULUM SEQUENCE - PENDING


2.18    UNIVERSAL PRECAUTIONS AND NEEDLESTICK PROTOCOL

as a natural consequence of caring for sick patients. Medical students have an increased risk for injuries due to
needle sticks or contact with other sharp instruments since they may not yet be skilled in the procedures being
performed. At all times, if a student is uncomfortable performing an assigned procedure because they feel either
that their skills are inadequate or that they need more supervision/guidance than is available, then that student
MUST refrain from doing the procedure.
Never attempt a procedure you are uncomfortable performing.
It is the obligation of the School of Medicine to formally educate its students regarding the prevention of
occupational injuries. In addition, the school has developed programs by which students who are injured or
exposed to blood or body fluids in the course of their training have the knowledge to properly seek care. Such
programs are formally presented to students in the first, second and third years of the medical school
curriculum. In the event that a student is stuck with a needle or other sharp instrument, or sustains exposure to
a body fluid on mucus membranes or non-intact skin, the student must report this to their senior resident,
attending physician, or supervising faculty member immediately. As detailed below, a written report must be
completed detailing the circumstances of the exposure and the student must notify
Medical Student Health Officer of the reported incident via email at: healthofficer@med.wayne.edu.
Incidents occurring on the School of Medicine Campus or while participating in University-sponsored activities
  1.    Enrolled students experiencing an injury, exposure to blood/body fluids or non-personal illness (excludes
        personal illnesses such as, but not limited to, flu, cold/sinus, etc.) while attending class or participating in
        University-sponsored activities, such as co-curricular programs, shall receive initial treatment at an
        University-authorized medical facility as noted below:
       a. EMERGENCY ISSUES:
             i.   Detroit Receiving Hospital ER
            ii.   Henry Ford Hospital ER




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      b. NON-EMERGENCY ISSUES:
            i.   University Health Center (UHC)-4K
           ii.   Henry Ford Medical Center Harbortown
 2.    Only the initial treatment/visit necessary for an injury or a school-related illness requiring immediate
       medical attention will be covered by this policy. The student is responsible for any subsequent treatment.
 3.    All injured students must complete a short Wayne State University Report of Injury form. This form
       is available online
 4.    NOTE: The Report of Injury form must be submitted within 48 hours of the injury. Completed forms
       should be submitted to the Medical Student Health Officer at: healthofficer@med.wayne.edu.
 5.    The Medical Student Health Officer will forward the form to the WSU Office of Risk Management on the

 6.    The WSU Office of Risk Management will cover the expenses of the first emergency department visit as
       long as the Report of Injury has been submitted to the Medical Student Health Officer within the
       prescribed 48 hour post injury timeframe.
 7.    Any expenses incurred (co-pays, deductibles) based on a failure to adhere to the above process will be the
       responsibility of the student.
 8.    After the initial evaluation and treatment encounter at the clinical institution, the student will
       subsequently follow-up with their personal physician using their own health insurance coverage within
       five days of the incident.
 9.    Any questions regarding this policy should be addressed to the Medical Student Health Officer
       at healthofficer@med.wayne.edu.
Incidents occurring at affiliated Clinical Site institutions or while on a        required or elective rotation
The medical school has established relationships through the affiliation agreements with all of our Clinical Site
facilities (hospitals and ambulatory sites). Specific policies must be followed when an exposure or potential
exposure has occurred:
 1.    A student who sustains an exposure to blood and/or body fluids in the course of a clinical assignment at
       any of our affiliated clinical institutions should immediately seek care in the designated department of
       that facility. These departments are listed for each institution on the back of the laminated cards that are
       distributed at Year 3 Orientation. This list should be kept for potential use during Year 4.
 2.    If the incident occurs outside of the regular business hours of the institutions designated department the
       student should receive initial evaluation and treatment in th
 3.
                                                                                                               e)
       should seek care in the nearest emergency department.
 4.    All injured students must complete a short Wayne State University Report of Injury form. This form
       is available online.
 5.    NOTE: The Report of Injury form must be submitted within 48 hours of the injury. Completed forms should
       be submitted to the Medical Student Health Officer at: healthofficer@med.wayne.edu.



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 6.    The Medical Student Health Officer will forward the form to the WSU Office of Risk Management on the

 7.    The WSU Office of Risk Management will cover the expenses of the first emergency department visit as
       long as the Report of Injury has been submitted to the Medical Student Health Officer within the
       prescribed 48 hour post injury timeframe.
 8.    When completing paperwork in the emergency department, students should show their laminated card
       that ensures that Wayne State University will be responsible for the professional and facility charges
       related to the initial visit for evaluation and treatment in the department.
 9.    Any expenses incurred (co-pays, deductibles) based on a failure to adhere to the above process will be the
       responsibility of the student.
 10. After the initial evaluation and treatment encounter at the clinical institution, the student will
     subsequently follow-up with their personal physician using their own health insurance coverage within
     five days of the incident.
 11. Any questions regarding this policy should be addressed to the Medical Student Health Officer
     at healthofficer@med.wayne.edu.




2.19   USMLE REQUIREMENTS: STEP 1, STEP 2 CK AND STEP2 CS


National Board of Medical Examiners (NBME) Guidelines
The National Board of Medical Examiners (NBME) sets the passing scores required for each of the USMLE
examinations and can change at any time. In addition, the timing, frequency, and location of all USMLE
examinations is determined the NBME. Students are responsible for knowing all NBME regulations for taking
Step examinations. For example, the NBME states that it may take up to 6 weeks from the time of the
examination until a score is posted. Students should plan according to the published reporting schedule when
facing School of Medicine deadlines. For Step 1 also note that there is always a delay in reporting scores for
examinations taken from the middle of May through the end of June.
The NBME has established limits on the number of examinations per year, the time between examinations, and
the total time to complete all steps of the licensing examinations. Refer to the NBME website for their current
polices: www.usmle.org/bulletin




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Step 1 Testing Deadline:                                                                                 Leaves,
delays, etc. do not extend the 1 year timeline. Please refer to promotions policy for further details.



USMLE STEP 1

Policy for Requirements to be eligible to take USMLE Step 1 Examination

Graduation
Successful completion of the United States Medical Licensure Exam (USMLE) Step 1 is a requirement for
graduation from the Medical Doctor (MD) program.

Promotion
In accordance with the Wayne State University School of Medicine (WSUSOM) promotions policy, before being
promoted to year 3, all students must take a standard-paced Comprehensive Basic Science Self-Assessment
(CBSSA) prior to the end of the dedicated study period.

Sitting for Step 1
Prior to sitting for Step 1 students must take a standard-paced Comprehensive Basic Science Self-Assessment
(CBSSA) 7-10 days prior to their scheduled date to sit for Step 1, using a WSU-SoM provided voucher. For
reference, a CBSSA score of 200 and above is predictive of a passing score on the USMLE Step 1 exam.

Starting and Continuing the Core Clerkship Sequence
          Students must sit for Step 1 to start Clerkships
          Students must successfully pass Step 1 to continue their Clerkship rotations.

The Medical Education Program has set forth a dedicated USMLE Step 1 study period for all students
immediately following the end of the year 2 curriculum. The structure of this dedicated study period utilizes a 3-
tiered support system to optimize student success on Step 1. This study period and resources are provided as
part of the Step 1 Course.

1: Before sitting for the USMLE Step 1 exam, the following requirements must be met by all students:
          Develop and submit a dedicated Step 1 study plan to the Step 1 Prep Canvas course page.
          Complete a WSUSOM administered Comprehensive Basic Science Exam (CBSE) by posted deadline.
          Complete a WSUSOM standard-paced Comprehensive Basic Science Self-Assessment (CBSSA) using the
          School of Medicine provided voucher by posted deadline.




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2: USMLE Step 1 exam Two-Month Study Elective                     -
Sequence): This elective offers tailored programming for students with one of the following evidence-based at-
risk indicators developed by the Academic Advising Committee. These factors include but are not limited to:
           Repeat Year 1 Course
           Year 1 Modified
           Low performance in Y1 (<75% EOY)
           Repeat Y2 Course
           Failed a Year 2 Course
           Low CBSE (<158)
             2 PP Unit Failures
           Required to take a re-examination(s) due to one or more Year 2 course failure
           Identified during the Step 1 dedicated study period by scoring < 200 on the CBSSA, thus requiring
           additional support to optimize success on Step 1

3: Students identified at the end of the Step 1 exam Two-Month Elective Start as requiring additional support will
be required to delay for the remainder of the academic year.

A full description of each tier of support is outlined below:

PROCESS:
1: Guidelines to complete Policy Requirements to be eligible to sit for USMLE Step 1 Exam:
     A. Development of Step 1 Study Plan
             Students are strongly encouraged to attend a Step 1 Study Plan workshop offered by the Office of
             Learning and Teaching (OLT) and /or meet with a Step Prep tutor to learn best practices to create an
             optimized study plan.
             To support the creation of an effective Step 1 Study Plan, rubrics and sample schedules will be
             posted on the Step 1 Canvas course page.
             The required submission of the Step 1 Study Plan will be reviewed by OLT Learning Skills Specialists
             and feedback will be provided to each student.

     B. Completion of Required WSUSOM Administered CBSE
           A CBSE exam will be administered by the SOM Testing Department. Please check the Year 2 Google
           Calendar for dates and times.
           CBSE scores are not
           CBSE scores are used to:
                 provide individualized feedback for students to assist in prioritizing disciplines / subjects to
                 study during their dedicated study period as reflected in their Step 1 study schedule.




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    C. Completion of Required WSUSOM Standard-Paced CBSSA
          Students are required to take a standard-paced CBSSA using the SOM-provided voucher.
          This exam must be completed 7-10 days before your scheduled USMLE Step 1 date.
                Students whose final CBSSA score is predictive of a 200 USMLE Step 1 Score or greater are
                required to take Step 1 by the posted deadline.
                Students whose final CBSSA score predictive of less than a 200 USMLE Step 1 Score will
                be required to enter the Two-Month Study Elective (alternate      -      to beginning the Y3
                Core Clerkship Sequence) for additional preparation time.
                Students whose final CBSSA score is predictive of < 200 USMLE Step 1 Score are required to
                reschedule their USMLE Step 1 exam. Students cannot sit for Step 1 until a CBSSA score
                predictive of a 200 USMLE Step 1 score is reached.

2: Process for USMLE Step 1 exam Two-Month Study Elective Start
     A. Students identified as benefiting from an additional study period will be enrolled in the USMLE Step 1
         exam 2-Month Elective based on the following evidence-based at-risk indicators developed by the
         Academic Advising Committee. These factors include, but are not limited to:
             Repeat Year 1 Course
             Year 1 Modified
             Low performance in Y1 (<75% EOY)
             Repeat Y2 Course
             Failed a Year 2 Course
             Low CBSE (<158)
                2 Pathophysiology Unit Failures
             Required to take a re-examination(s) due to one or more Year 2 course failure
             Identified during the Step 1 dedicated block by scoring < 200 on the CBSSA, thus requiring
             additional support to optimize success on Step 1

        Students will be notified by the Chair Academic Advising Committee of their requirement to enroll in
        the elective.




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   B. Students required to enroll in the 2-month study elective are required to:
          Attend USMLE Step 1 exam 2-Month Study Elective Orientation
          Attend Year 3 Orientation / Hospital Orientation
          Submit a (revised) Step 1 Study Plan informed by their CBSE or most recent standard-paced CBSSA
          performance profile within the first two weeks of their Extended Step 1 study period.
          Schedule interdisciplinary and/or individual meetings with a member of the academic advising team
          (i.e. WSU-SoM Counselor, Learning Skills Specialist, as appropriate). These sessions must be signed
          off by the appropriate faculty / staff member and are designed to develop an enhanced study plan
          for the dedicated study period.
          Attend content and study-strategy support provided by tutors identified by the SoM
          Complete 1 or more standard-paced Step 1 practice tests (CBSSA) with SoM issued-vouchers, to
          assess progress during the prep period.
          Complete a final standard-paced CBSSA exam with a WSU-SoM issued voucher 7-10 days prior to
          sitting for the rescheduled Step 1 examination date.
          Students whose final standard-
          above will be required to sit for the USMLE Step 1 exam.
          Students whose final standard-paced CBSSA score is predictive of < 200 USMLE Step 1 Score at the
          end of the two month elective will be required to delay for the remainder of the academic year,
          during which time they will receive individualized support measures designed to optimize their
          performance both on Step 1 and their M3 clerkship year.

      The Medical Education program reserves the right to change any student delaying USMLE Step 1 to a
      different clinical campus and/or schedule block for their clerkship year.

      APPEAL PROCESS:
      There are 2 possible appeal types, 1 appeal to drop the required course and 1 appeal to enroll in the
      course.

      Appeal to drop required 2 month study course and sit for Step 1
      Students enrolled in the required 2 month study elective Students who score greater than or equal 200
      on the required CBSSA may file an appeal with the Academic Advising Committee Chair within 48 hours
      of score receipt in order to sit for Step 1 during the required dedicated study period. (Link to appeal
      form here).

      Appeal to enroll in study course
      For students who do not meet enrollment policy guidelines may file an appeal with the Academic
      Advising Committee Chair within 48 hours of score receipt of required CBSSA. (Link to appeal form
      here).




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3: Process for USMLE Step 1 Required 1 Year Delay
       Students enrolled in the USMLE Step 1 exam 2-Month Study Elective, whose final standard-paced CBSSA
       score is predictive of < 200 USMLE Step 1 Score will be required to delay for the remainder of the
       academic year, and will be placed on a required Administrative Leave of Absence.
       Programming content will be individualized for students in the 1-year delay group. Students are required
       to take a CBSSA 7-10 days before sitting for Step 1                                              USMLE
       Step 1 Score are required to take Step 1 and post a passing score by the target dates within the ALOA
       period. Students who fail to post a passing score will be referred to the Promotions Committee
       Those achieving a CBSSA score predictive of <200 USMLE Step 1 Score by the target dates within the ALOA
       period cannot sit for the scheduled Step 1 examination and will be referred to the Promotions
       Committee.



POLICY VIOLATIONS
All policy violations will be subject to review by Academic Advising Committee including but not limited to an
Administrative LOA, referral to the promotions committee for disciplinary action which can include notations on
the MPSE and possible dismissal.




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USMLE STEP 2
Starting July 1, 2016, all students will be registered for the Step 2 Preparation course. This self-directed learning
course is a one-hour credit hour satisfactory/unsatisfactory course that will help provide students with additional
structure and medical school resources while preparing for the exam. This course will be administered through
the Office of Learning and Teaching.

USMLE Step 2CK (Clinical Knowledge)
All senior students must take Step 2CK by the end of December in the academic year they expect to graduate,
and post a passing score by May 1. Students who have not taken the exam by the end of December will be
contacted by the Assistant Dean for Clinical Education to discuss noncompliance. Students without a passing
score by May 1 will be removed from the list of students participating in graduation. If a student has obtained a
residency position, the student must contact the program and notify them of their delay in starting their
residency program on July 1.
Students must post a passing score by the date the medical degree is conferred or will be placed on
administrative leave. The deadline for students posting a passing score is May 1 of the academic year following
the academic year in which the first attempt was made or they will be dismissed. The clock/deadline for a
student begins once they begin Year 4 coursework. Students who then choose to decelerate Year 4 coursework
do not change the final deadline for passing the Step 2 exams if either Step 2CK or Step 2CS has been taken.

USMLE Step 2CS (Clinical Skills)
All senior students must take Step 2CS no later than the end of October, and post a passing score by May 1.
Students who have not taken the exam by the end of October will be contacted by the Assistant Dean for Clinical
Science to discuss noncompliance. Students without a passing score by May 1 will be removed from the list of
students participating in graduation. If a student has obtained a residency position, they must contact the
program and notify them of their delay in starting their residency program on July 1.
Students must post a passing score by the date the medical degree is conferred or they will be placed on
administrative leave. The deadline for students posting a passing score is May 1 of the academic year following
the academic year in which the first attempt was made or they will be dismissed. The clock/deadline for a
student begins once they begin Year 4 coursework. Students who then choose to decelerate Year 4 coursework
do not change the final deadline for passing the Step 2 exams if either Step 2CK or Step 2CS has been taken.




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2.20      ABSENCE POLICY AND EXPECTATIONS


EXCUSED ABSENCES

The authority to grant or deny an excused absence is the responsibility of the Assistant Dean for Student

An excused absence does not mean that a student is excused from an activity (examinations and other required
activities), but rather the student will be allowed to make-up the activity. Excused absences are granted the day
of the activity and are based upon an unforeseen circumstance preventing the student from participating. All
excused absence requires appropriate documentation.
Students cannot be granted a retroactive excused absence to set aside the results of an examination, nor can
the result of an objective examination be appealed to a course or clerkship director. Students who get sick
during an examination, and bring it to the attention of a testing proctor, will be handled on an individual
basis.


LIMIT ON NUMBER OF EXCUSED ABSENCES

Due to the intense nature of the requirements for academic progression with the medical education
curriculum, no more than 6 excused absences from examinations (including make-up exams) will be granted in
a given academic year.
Excused absences will be monitored and students who fall 3 exams behind or have more 6 requests for an
excused absence in an academic year must meet with the Assistant Dean for Student Affairs for evaluation of
their status. Depending on the evaluation of the Assistant Dean for Student Affairs, the student may be
placed on an administrative leave of absence or may be referred to the Promotions Committee.


ILLNESS

A student who is ill on the day of an examination or other required activity, and who is unable to participate in
the activity is required to contact the Office of Student Affairs prior to the start of the activity. The nature of
the illness needs to be specified and an excused absence requested. An excused absence for illness will not be
granted unless the student obtains a medical verification note from an appropriate health care provider. This
note must be provided to the Office of Student Affairs as soon as the student is medically able to return to
school. A student may not obtain a medical verification note from a healthcare provider who is a member of
his/her family.




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RELIGIOUS HOLIDAYS

Because of the extraordinary variety of religious affiliations of the University student body and staff, the SOM
Academic Calendar makes no provisions for religious holidays. However, it is University policy to respect the
faith and religious obligations of the individual. Requests for an excused absence from an exam must be made
through the Office of Student Affairs. Students whose classes, clerkships or electives conflict with their major
religious holidays are expected to submit in writing their request for time away due to religious holidays to
the course, clerkship or elective director on the first day of the course, clerkship or elective, with a copy of the
request forwarded to his/her counselor.



2.21 N95 RESPIRATOR MASK FIT REQUIREMENTS FOR MEDICAL STUDENTS


RESPIRATOR FIT TESTING POLICY

All medical students are required to be fit tested to wear a 3M N95 Respirator before beginning Year 3
clinical rotations, generally in the late winter or early spring of Year 2. The fit testing program is coordinated
and scheduled by the School of Medicine and takes place at the school. This fit testing is required by our clinical
training sites as part of their infection control policies and/or respiratory protection programs in compliance

N95 Respirators provide protection against aerosols and droplets that might contain bacteria, viruses, or other
pathogens. They are required for personnel who are caring for specific patients such as those with tuberculosis
or those with influenza who are undergoing procedures that might generate aerosols for which regular
surgical masks do not provide protection. N95 Respirators may also need to be worn by certain healthcare
personnel who require a higher level of protection or by all personnel during times of a serious outbreak of an
airborne infectious disease.
Students who decline respirator fit testing may be subject to one or more of the following actions that may
be taken by our clinical training sites:
    1. Exclusion from participating in some or all clinical training activities at their sites; or

    2. Requiring the student to use and/or purchase for use a Powered Air Purifying Respirator (PAPR),
       which consists of a mask, headgear/hood, and battery powered blower unit (if available); or
    3. Other restrictions imposed by the clinical training site(s) in accordance with their individual
       institutional infection control policies or respiratory protection programs.
Questions regarding this policy should be addressed to the Medical Student Health Officer
at healthofficer@med.wayne.edu.




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2.22     SCHOOL OF MEDICINE DRESS CODE GUIDELINES FOR THE CLINICAL SETTING - Pending


2.23     SCHOOL OF MEDICINE CRIMINAL BACKGROUND CHECK POLICY


CRIMINAL BACKGROUND CHECK AND MICHIGAN PUBLIC SEX OFFENDER REGISTRY CHECK GUIDELINES


PURPOSE

In an effort to enhance the safety and well-being of patients and to ensure that students can become state
licensed physicians1, the American Medical Colleges (AAMC) has recommended to medical schools the need to
conduct criminal background checks on all matriculating and enrolled medical students. In addition, no
individual who is on the Michigan Public Sex Offender Registry is allowed to work with or be in the proximity of
children.


POLICY
   1. All matriculating students must have a criminal background check prior to Year 1 registration.
   2. All enrolled students promoted from year 1 to year 2 and year 3 to year 4 are required to
      complete and submit an attestation form certifying that they have not been convicted of a felony.
   3. Prior to registration for year 3, students are required to submit information for a criminal background
      check that the school will have performed by an outside vendor. Additionally, Year 3 students will be
      checked against the Michigan Public Sex Offender Registry (PSOR). Any student, who either self-reports
      a felony and/or one is revealed by the criminal background check, will follow the review process and
      will not be allowed to register for coursework until approval is granted by the Chair of the Criminal
      History Review Committee (CHRC). Any student who is on the PSOR list will be immediately removed
      from the clinical setting and placed on administrative leave until their enrollment status is determined.
   4. Any student whose background check contains a felony conviction will be referred to the CHRC.
      This committee will review the felony conviction report and allow the student an opportunity to
      address any erroneous information and clarify the report.




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PROCESS
   1. The School of Medicine will convene a Criminal History Review Committee (CHRC) that will review and

        Offender Registry. The Chair of the Promotions Committee will chair the CHRC. The committee will
        consist of the following members: the associate dean of undergraduate medical education, the
        assistant dean of student affairs and career development, and a faculty member currently appointed
        to the promotions committee. The CHRC is staffed by the chief administrative officer of the Office of
        Medical Education.
   2. Applicants who are offered a spot in the incoming class will be required to obtain a criminal background
      check at their own expense using the services of Certiphi Screening Incorporated. Certiphi will create a
      Wayne State University profile that will only screen for convictions and conviction-equivalent
      adjudications/felonies. When the background check is completed, Certiphi will release the information
      to
      report to Wayne State University School of Medicine.
   3. If upon completion of the background check report, an applicant is found to have a felony
      conviction, the report will be reviewed by the CHRC. In the case of current student who self-reports
      a felony on their attestation sheet, the CHRC will order a criminal background check for review.
   4. Applicants and students with reported felony convictions will meet with the CHRC. The
      applicant/student will have an opportunity to provide written documentation to respond to the report.
      Applicants/students will have 5 business days following notification from the medical school of the
      felony to provide any information about the circumstances surrounding the felony conviction. The
      CHRC review will include the severity of the felony conviction, age that the felony occurred and the time
      that has elapsed since the conviction.
   5. If the CHRC finds the severity of the felony impacts the             ability to meet the technical
      standards because they will not be able to participate in the clinical portion of the medical
      education program, the CHRC will recommend the Office of Admissions rescind the offer for a spot
      in the medical school. Current students whose severity of felony conviction will not allow them to
      progress
      Committee with a recommendation for dismissal.
   6.
        will be retained and stored in a secure manner. The file will be kept in the office of Records and
        Registration separate from student academic files. Upon graduation, withdrawal, or dismissal, the file
        will be destroyed.

Guidelines obtained from the Michigan Department of Health and Human Resource website:
http://www.michigan.gov/mdch




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2.24         SCHOOL OF MEDICINE ENROLLMENT POLICIES




       1.

       2.
             a.
             b.

             c.

             d.
        3.
             a.
             b.

             c.

             d.

             e.




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https://provost.wayne.edu/academic-policy

A student who is administratively dismissed due to failing a repeated course, failing an NBME exam for the third
time or a second clinical failure cannot appeal this final grade to the Provost prior to the School of Medicine
administrative dismissal procedures. The appeal process for administrative dismissals supersedes the normal
grade appeal policy contained elsewhere in this manual, as this final failing grade directly leads to the
administrative dismissal. A student can, however, in this special circumstance, include a grade appeal as a part of
his/her appeal of the dismissal to the Vice Dean for Medical Education (submitted to the Office of Records and
Registration). Such a bundled appeal can then have a final appeal to the Provost (as a part of the dismissal
appeal process) if the appeal of the grade/resulting dismissal is denied by the Vice Dean for Medical Education.


Dismissal Action of the Promotions Committee
Students can also be dismissed by the Promotions Committee. This action would occur if the Promotions

professionalism performance, has fallen below the School's standards. A determination to dismiss a student by

medical school. A request for consideration of student dismissal by the Promotions Committee can be made by
the Dean. Vice Dean for Medical Education, Chair of the Promotions Committee, Associate Dean for
Undergraduate Medical Education, Assistant Dean for Student Affairs and Career Development, the Assistant
Dean of Pre-Clerkship Education, the Assistant Dean for Clinical Education, the Professionalism Committee, or the
Criminal History Review Committee.
In all instances where a dismissal is being considered by the Promotions Committee, the student will be given
notice and an opportunity for a hearing in front of the Promotions Committee before a final decision is made.

WITHDRAWAL
All students who have been academically dismissed, whether administratively or by the Promotions Committee,
are given up to ten (10) business days to voluntarily and permanently withdraw. The offer to withdraw becomes
null and void if the student elects to request reconsideration of the dismissal to the Chair of the Promotions
Committee.
Withdrawal is a permanent, voluntary termination as a medical student initiated by the student him/herself.
Students wishing to withdraw must submit a written request to the Assistant Dean for Student Affairs and Career
Development, including in the request the statement that the student understands that withdrawal is voluntary
and permanent. A student cannot avoid disciplinary action or academic hearing procedures through a request to
withdraw. However, the Promotions Committee may allow a student to withdraw prior to the completion of such
hearings or an action to dismiss.

Students who are dismissed for academic misconduct do not have the option of withdrawal.




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LEAVES OF ABSENCE
A leave of absence (LOA) is a temporary interruption of enrollment status. For a thorough explanation of the leave
of absence policy and its impact on a student's status or financial aid, please review the policy posted at:
https://studentaffairs.med.wayne.edu/loa-process
At any time during medical school, a student may request a leave of absence. All requests for leaves of absence
must be submitted in writing and signed and dated. The request should be submitted on the Leave of Absence
Request form to the Assistant Dean of Student Affairs.
To obtain a leave, please review the leave of absence policy in full. After careful review, please set up an
appointment with your assigned counselor to discuss the leave of absence request. During the meeting with their
counselor, a student will complete the Leave of Absence Request form. This completed form must be signed off
by the Office of Financial Aid for all students.
Exception to written, signed and dated requests; if unforeseen circumstances prevent a student from providing a
prior written request the School of Medicine may grant the student's request for a leave of absence. The School
of Medicine must document this decision and collect the written request at a later date.

Five
The first is an administrative LOA, which a student is placed on by the medical school administration as described
below under Administrative (ALOA).
Students may also request an LOA for personal, medical, education, or financial aid reasons. Leaves of absence
are approved by the Assistant Dean for Student Affairs and Career Development. A formal written request for a
leave of absence must be made to the Assistant Dean for Student Affairs and Career Development. A leave of
absence is discretionary by the Assistant Dean and will only be granted where reasonably necessary. Once placed
on a leave of absence, the student remains on leave until they are approved to return and begin course work. A
leave of absence does not retroactively nullify course failure.
All leaves of absence are part of the student's official record. The leave type, start and end date are entered into
the Wayne State University School of Medicine information system (Banner) and recorded on the official
transcript. The leave of absence information is recorded in the MSPE (Medical Student Performance Evaluation)
when applying for residency and reported to the AAMC {Association of American Medical Colleges) Student
Records System.
Leave of Absences count toward the School of Medicine's 7-year limit for completion of all M.D. degree
requirements. The exception to this requirement is approved educational leaves of absence.
Any leave of absence from the M.D. program will be included in the maximum time frame calculation when
determining Satisfactory Academic Progress for Title IV financial aid eligibility purposes.
Once a leave of absence is approved, Wayne State University School of Medicine has a reasonable expectation
that you. the student will return to the M.D. program. This is recorded on the Leave of Absence Request Form.
The number of days in the leave of absence will be counted with the first day of the initial leave of absence within
a 12-month period.
The 12-month period begins on the first day of the initial leave of absence. The duration of a leave of absence is
not to exceed one year.
Students placed on ANY leave of absence will be considered withdrawn from coursework and will be reported to
NSLDS (National Student Loan Data System) as withdrawn.



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Students who do not return from a leave will be dismissed from medical school at the point in which the leave
was granted and will be reported as withdrawn.
Failure to return from a LOA may impact your Direct Loan, Perkins, and/or Loans to Disadvantaged Students
repayment terms.
Most federal loans will enter repayment once you withdraw from school. The grace period on your loan is a set
period of time after you graduate, leave school or drop below half-time enrollment before you must begin
repayment on your loan. Not all federal student loans have a grace period. For most loans, interest will accrue
during your grace period.
For more information on loan repayment and grace periods, please visit: https://studentaid.ed.gov/sa/repay-
loans/understand#when-begin


Administrative (ALOA)

An administrative leave of absence is a WSUSOM-initiated leave of absence due extended delay in taking the
United State Medical Licensing Examinations (USMLE), failure of a United States Medical Licensing Examinations
(USMLE) or other academic/professionalism reasons. A student may also be placed on an administrative leave of
absence while under investigation by the Professionalism Committee .

Educational (ELOA)
Only students who have passed all attempted courses/clerkships and the USMLE exams on the first attempt and
are in good academic standing in medical school will qualify for an ELOA. An ELOA will only be considered if the
student is enrolled in a formal degree granting program, or NIH or other externally funded fellowship/research
program. Dual enrollment in the school of medicine medical education program and a second degree granting
program is not allowed. A student's written request should specify the educational program of study and the
beginning and end dates of the leave. Supporting documentation indicating acceptance into the other educational
program must be submitted. ELOAs are granted a year at a time and a reapplication must be made for each
additional year of leave. Proof of satisfactory progress in the other education program is required for
consideration of an extended ELOA. In order to return from an approved ELOA, the student must confirm the
expected date of return as outlined in the leave letter before returning to his/her medical studies.

Personal (PLOA)
A student's written request should specify the beginning and end dates of the leave. Students must also complete
the Leave Checklist found on the Student Affairs website. In order to return from an approved PLOA, the student
must confirm the expected date of return as outlined in the leave letter before returning to his/her medical
studies.




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Medical (MLOA)
A student's written request for a MLOA requires authorization from a licensed health care professional certified
to treat the specific illness, indicating that the student is not able to perform the functions and responsibilities of
his/her medical studies for a specified period of time. The certification letter must state the beginning and end
dates for which the MLOA is deemed to be medically necessary. Students must also complete the Leave Request
form found on the Student Affairs website. In order to return from an approved MLOA, the student's health care
provider must affirm in writing that the student is fit to return to his/her medical studies. Such notification must
be received as outlined in the leave letter before the anticipated return to school. Health providers who are
family member may not provide the certification letter.

Financial (FLOA)

A student may be placed on an FLOA if they are unable to pay tuition and fees as required by University policies.
Account balances also result in a university hold that will prevent a student from participating in scheduling and
registration for medical school.


STUDENTS REMEDIATING USMLE STEP 1 FAILURE (SPECIAL MATRICULATION)
Students who are remediating USMLE Step 1 failure must meet with the Office of Learning and Teaching and their
counselor to determine next steps. Students have a choice between being enrolled in a pecial Matriculation
Course or taking an Administrative Leave until they successfully passed Step 1. If they choose Special
Matriculation , they will be enrolled as a part-time Year 2 student in a Step 1 directed study course at one credit
hour per month until December 31 or until they pass Step 1, whichever comes first. Enrollment in the Special
Matriculation course allows a student access to academic and administrative resources to assist in the successful
completion of Step 1. If a student has not passed Step I by December 31, they are placed on an Administrative
Leave of Absence until they pass the exam. If a student enrolls in pecial Matriculation , they are assessed
tuition and fees for this course.
Students should contact Financial Aid regarding any change to their financial aid status. Students may not resume
Year 3 course work nor can they participate in the Year 3 lottery until they have a passing score on USMLE Step 1.


ELIGIBILITY TO PARTICIPATE IN EDUCATIONAL PROGRAM
Only those students who have completed registration for the academic year, including the payment of all
required tuition and fees, are permitted to participate in school of medicine educational programs. Students with
unpaid balances may be dis-enrolled from coursework and placed on a financial leave of absence. Students with
holds will not be allowed to register or to participate in the scheduling process for the next academic year.




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HEALTH AND DISABILITY INSURANCE REQUIREMENT
All medical students are required to haw health and disability insurance as a condition of their enrollment in the
medical school. Following the lead of many other medical schools across the country, the Wayne State University
School of Medicine has negotiated a very comprehensive group health plan on behalf of our students and has
made it mandatory at a market comparable price. This policy, through Blue Cross/Blue Shield of Michigan, is
mandatory because we believe it to be the best value available in terms of the benefits package for the premium
being charged. The benefits have been adjusted each year to meet the needs of the students based on student
input through the Student Senate and based on an annual review of utilization. All students will be enrolled in the
Blue Cross Blue Shield of Michigan (BCBSM) Group Health Benefits Plan, unless they are eligible for a waiver as
described in the health insurance packet.
Students who are found to be out of compliance with this policy will be dis-enrolled from medical school.


PROHIBITION FROM PARTICIPATION IN SCHOOL ACTIVITIES
To ensure success, students who are on a leave of absence of any type are not permitted to participate as Senate
or class officers, hold leadership roles in student organizations, sit on medical school committees, participate in
school activities requiring registration, participate in extra-curricular international travel projects or programs,
represent the school at any conferences or participate in co-curricular programs.
It will be at the discretion of the various committees as classes as to how they wish to re-assign the duties of the
officer or committee after their absence.
At the discretion of the Assistant Dean of Student Affairs, students may be prohibited from participation in other
activities not specified here.
For students who are on a leave of absence one month or less, their continued participation on committees or as
officers will be considered on a case-by-case basis by the Assistant Dean of Student Affairs.


DIS-ENROLLMENT FROM COURSEWORK
Students who withdraw, have approved leaves of absence, or an approved for the Modified Program will be
dropped from scheduled coursework. The School of Medicine may cancel some or all classes due to failure to pay
assessments.


SEVEN-YEAR LIMIT TO COMPLETE ALL DEGREE REQUIREMENTS
Beginning with the matriculating Class of 2015, there is a 7-year limit on the time that students have to complete
all M.D. degree requirements. The 7-year limit includes participation in the modified program, leaves of absences,
repeating coursework, and remediating USMLE examinations. The Vice Deann for Medical Education has the
discretion to grant extensions.
Any leave of absence from the M.D. program will be included in the maximum time frame calculation when
determining Satisfactory Academic Progress for Title TV financial aid eligibility purposes.
For M.D./Ph.D. students, the time working on the Ph.D. is not counted toward the 7-year limit for the M.D.
requirements.




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ELIGIBILITY FOR FEDERAL FINANCIAL AID: SATISFACTORY ACADEMIC PROGRESS
The Promotions Committee at the School of Medicine determines each student's Satisfactory Academic Progress
(SAP) at least on an annual basis. Responsibility for the ongoing monitoring of academic progress of students is
the Associate Dean for Undergraduate Medical Education or his/her delegate, who reports academic deficiencies
to the Chair of the Promotions Committee.
The academic requirements for the M.D. degree include satisfactory completion of the curriculum designed and
implemented by the faculty. The definition and implementation of the Schools' Satisfactory Academic Progress
policy applies to all students and complies with the federal eligibility requirements through Title IV for students to
receive federal student financial aid. Satisfactory Academic Progress is defined qualitatively and quantitatively
(pace).
Satisfactory Academic Progress is defined as receiving at least a satisfactory grade in all enrolled courses. A
satisfactory grade is equivalent to a letter grade of B and an honors grade (Year 3) is equivalent to a letter grade
of A (federal guidelines require a C or better). Students with a satisfactory grade in all courses at a given level
(M1, etc.) are considered to be making SAP. Students with unsatisfactory performance are reviewed by the
Promotions Committee to determine whether they will be allowed remediation or will be dismissed from medical
school. Remediation of failed courses may result in a schedule which deviates from the norm, as approved by the
Promotion Committee. A student must successfully remediate all coursework in the order scheduled in order to
be considered as making satisfactory academic progress.
The majority of students take 4 years to complete the M.D. degree. Students with the approval of the Assistant
Dean for Pre-Clerkship Education, can decelerate the first year of medical school through our Modified Program,
which allows for completion of all degree requirements in 5 years. According to Federal Financial Aid guidelines,
students are expected to complete all degree requirements in 6 years (150%) from matriculation for eligibility. For
students in the combined M.D./Ph.D. program, the SAP policy only applies to the time they are enrolled in
medical school portion of training.
For purposes of determining a student's progress, Years 1 and 2 are combined and Years 3 and 4 are combined.
Off-track students are further expected to complete Years 1 and 2 in three years, and to complete Years 3 and 4
in three years (totaling 6 years).
The normal period of enrollment at the School of Medicine is 4 years (4 academic terms). For customary academic
progress a student will complete satisfactorily:
        After the first academic term -- 50 credit hours; (Year I)
        After the second academic term - 101 credit hours; (Years 1 and 2 combined) and pass USMLE Step 1
        After the third academic term - 150 credit hours; (Years 1 through 3 combined)
        After the fourth academic term - 202 credit hours; (Years 1 through 4 combined) and pass USMLE Step 1,
        Step 2CK and USMLE Step 2CS
Since the Promotions Committee may give approval for an individual student to repeat a portion or all of a school
year, the required number of credit hours to be completed at the end of each enrollment period will vary in these
cases.




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TITLE IV DISBURSEMENT ISSUES AND FINANCIAL AID PROBATION
Students who are required to repeat failed coursework are deemed to not be making SAP and will be placed on
financial aid probation as a condition of being allowed to repeat coursework. In the academic term immediately
following the term where a student does not make SAP, Title IV funds may be disbursed under the following
conditions:
    1. The student submits a formal appeal form to the Financial Aid Office, along with a personal statement
       explaining the extenuating circumstances which caused the failure to meet SAP and detailing what has
       changed that will ensure success in the future (forms are available on the Financial Aid website)
    2. The School of medicine develops and submits a written academic plan that, if followed, will ensure that
       the student is able to meet SAP by a specific point in time (to be submitted along with the appeal).
Compliance with the academic plan is monitored on an ongoing basis. A student who does not comply with each
remediation standard at any point during the probationary period will be suspended from Title IV financial aid
eligibility at the conclusion of the probationary period.
Students re-establish financial aid eligibility by successfully completing each remediation requirements.




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3. CURRICULUM

In this section:
3.1     CURRICULUM SCHEMATIC
3.2     ACADEMIC CALENDAR
3.3     ACADEMIC REQUIREMENTS FOR GRADUATION
3.4     SCHOLARLY CONCENTRATION REQUIREMENT
3.5     REQUIRED PRE-CLERKSHIP COURSES
3.6     CALENDAR OF CLERKSHIP PERIODS




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3.1 CURRICULUM SCHEMATIC - PENDING


3.2 ACADEMIC CALENDAR - PENDING


3.3 ACADEMIC REQUIREMENTS FOR GRADUATION PENDING


3.4 SCHOLARLY CONCENTRATION REQUIREMENT - PENDING



3.5 REQUIRED PRE-CLERKSHIP COURSES - PENDING



3.6 CALENDAR OF CLERKSHIP PERIODS - PENDING




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4. ASSESSMENT OF STUDENT ACADEMIC PERFORMANCE

     In this section:
          4.1    HEALTH PROVIDER INVOLVEMENT IN STUDENT ASSESSMENT
          4.2    EVALUATION OF PERFORMANCE IN COURSES
          4.3    TESTING POLICIES
          4.4    STANDARDIZED PATIENT TEACHING AND ASSESSMENT
          4.5    MEDICAL STUDENT PERFORMANCE EVALUATION (MSPE)




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4.1 HEALTH PROVIDER INVOLVEMENT IN STUDENT ASSESSMENT
Non-Involvement of Providers of Student Health Services in Student Assessment or Promotion:
        The health professionals who provide health services, including psychiatric/psychological counseling,
        to a medical student are prohibited from having any involvement in the academic assessment or
        promotion of the medical student receiving those services.
        All breaches of this policy, actual or suspected, must be reported and will be investigated by the
        Associate Dean of Student Affairs.


4.2 EVALUATION OF PERFORMANCE IN COURSES

YEAR 1 ASSESSMENT POLICIES

Curriculum Overview
The Fundamentals of Medicine, Health, and Community curriculum is comprised of three required elements:
Fundamentals of the Healthy Patient which will include a research competencies thread, a Population, Patient,
Physician and Professionalism (P4) curriculum that will encompass the social and behavioral science knowledge
required of a 21st century physician and a Clinical Competencies component. Students in good academic standing
may also enroll in electives.

Assessment Philosophy
The assessment philosophy of the Fundamentals of Medicine, Health, and Community curriculum is that of the
self-directed learner. The self-directed learner is a medical student that 1) takes ownership of their learning
process, and 2) views learning as a life-long process that starts before and will extend beyond medical school.
Based on this philosophy, the year 1 assessment program has three tenants. First, assessment is primarily
formative. A majority of the assessment that is conducted in the first year is intended to provide immediate and
meaningful feedback to the learner in order for them to understand their learning strengths and weaknesses in
order to adjust their studies accordingly. It also allows for faculty and those involved in academic support to
monitor individual students and the class in order to provide appropriate support. Second, assessments are
diversified across the curriculum. Assessments include multiple choice questions (e.g., clinical vignettes,
laboratory vignettes), faculty assessment, peer assessment, reflective essay and other formats that are suited to
the different outcomes being measured. The purpose of having diverse assessment methods is to complement
the diverse instructional formats (e.g., case based learning, team based learning, problem based learning,
lecture, laboratory) that are utilized in the first year curriculum. Finally, assessment in the clinical setting is
competency based. Compared to a traditional time-based assessment of clinical skills, competency based
assessment is focused on the development of each learner as it relates to specific clinical skill outcomes.




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FUNDAMENTALS OF THE HEALTHY PATIENT CURRICULUM ASSESSMENTS (a.k.a. Basic Sciences)

Formative Assessment (Multiple Choice quizzes)
In order for students to monitor their performance in the pre-clerkship curriculum and to develop their own
learning plans, they are required to complete formative multiple choice question (MCQ) assessments (i.e.,
quizzes) as part of the pre-clerkship Advanced Learning Skills, Foundations, and organ system units. Quizzes will
be provided on a weekly basis. Once the quiz is posted, students will have 48 hours to complete the quiz using
either their own personal computer or one of the computers in the Scott Hall MD lab or Mazurek computer lab.
Once quizzes are completed, students will be provided individualized feedback on their performance including
performance by topic and subject area. An academic support plan will be developed for low-performing
students. In order to be consistent with summative MCQ exams and the USLME STEP 1 exam, all quizzes will be
timed at 1.5 minutes per question. The completion of quizzes and other assignments are a curricular
requirement. Failure to comply with these requirements may result in an unprofessional behavior citation and
will impact promotions decisions.

Formative Assessment (Narrative Evaluation)
Small group and self-directed learning experiences in the pre-clerkship Fundamentals of the Healthy Patient
curriculum will be evaluated using narrative assessment. Small group facilitators, or peers in the Gross Anatomy
lab, will use a narrative assessment form that includes the following domains ranked by a Likert Scale with
written comments to support the numeric score:
   1. Preparation
   2. Participation/ communication skills
   3. Quality of work
   4. Self-directed/lifelong learning
   5. Clinical reasoning/problem solving
   6. Professionalism with members of the team
   7. Professionalism: professional behavior, demeanor, and work ethic
   8. Professionalism: ethics and interpersonal relationships with patients, standardized patients, cadavers or
      families (if applicable)

For those curricular elements that require the submission of written reports or an oral presentation (e.g., First
Patient) narrative assessment of these assignments will be provided by the faculty mentor.

Narrative evaluation will be used as formative assessment throughout the pre-clerkship Fundamentals of the
Healthy Patient curriculum for the purpose of determining if the student is meeting academic and professional
identity goals. Opportunities for remediation will be identified to the academic support and personal
counselors. Failure to achieve goals developed by the pre-clerkship curriculum directors may result in an
unprofessional behavior citation and will impact promotions decisions.




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Summative Assessment (NBME Exams)
A summative multiple choice question (MCQ) assessment will be given at the end of each basic science unit
(e.g., Advanced Learning Strategies, Foundations of Normal Structure and Function, Musculoskeletal System,
Cardiopulmonary System, Gastrointestinal and Renal/Urinary Systems, Reproductive/Endocrine and
Blood/Lymph Systems, Central Nervous System). Each assessment will be administered through the National
Board of Medical Examiners (NBME) customized assessment program. Each assessment will be blueprinted to
the pre-clerkship curriculum outline by the unit directors.

Additionally, a comprehensive end-of-year summative MCQ assessment will be given at the end of the year 1
curriculum. The assessment will be administered through NBME customized assessment program and will be
blueprinted to the year 1 curriculum. Performance on the comprehensive NBME will combined with the
summative unit assessments and used for promotions decisions.

Passing scores on all NBME exams will be determined by a committee of pre-clerkship unit directors who will
review the de-identified performance of the class compared to national performance standards in order to
determine the minimum passing score.

An additional form of summative assessment that is provided as part of the basic science curriculum are the
Gross Anatomy practical examinations. Three specific examinations will occur throughout the year and will
cover materials presented during Gross Anatomy labs:
       Practical exam 1 represents material covered in labs 1-10 (musculoskeletal system) and occurs at the end
       of the Musculoskeletal system unit.
       Practical exam 2 represents material covered in labs 11-20 (visceral systems). These labs are spread
       across Cardiopulmonary, Gastrointestinal, Renal Urinary, and Reproductive Endocrine units. The exam
       occurs at the end of the Reproductive Endocrine systems unit.
       Practical exam 3 represents material covered in labs 21-30 (head & neck) and occurs at the end of the
       Central Nervous System unit.

Passing scores on practical exams will be determined by the Gross Anatomy discipline director upon review of
de-identified examination performance data. These scores will be weighted and combined with the summative
NBME assessments for the corresponding units.

Minimum passing requirements for these other forms of summative assessment will be determined by a
committee pre-clerkship curriculum directors upon review of de-identified class performance data.




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POPULATION, PATIENT, PHYSICIAN AND PROFESSIONALISM COURSE ASSESSMENTS

Formative Assessment (Written Assignments and Narrative Evaluation)
Formative assessment is continuous throughout the P4 course. In the small groups, students receive feedback
on their performance from the small group leaders and their peers. Additionally, students will receive a
formative narrative assessment from their small group leader in January. Small group leaders are encouraged to
meet individually with students if possible to review the assessment. Finally, students who are below 70% in
assignment points at the midpoint of the course will be notified so that they have an opportunity to improve
their scores by the end of the year.


Summative Assessment
Students will be provided with multiple summative assessments during the P4 course. Students are required to
complete a series of reflective essays, assignments, narrative assessments, a service learning project, OSCE and
multiple choice exams as part of their summative assessment in the course. Refer to the course syllabus for a
breakdown of how each summative assessment contributes to the final course grade and the point value of
each assessment.




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4.3 TESTING POLICIES

 WSUSOM EXAMINATION POLICIES (YEARS 1 4)

     1. Exam materials both written and electronic are property of Wayne State University School of Medicine.
        Students are not allowed to possess these materials outside of a secure testing facility nor are students
        allowed to transmit information regarding these materials. Such behavior is considered academic
        misconduct and may result in a referral to the University Code of Conduct Office.

     2. During the examination process, including post exam reviews, testing facilities are to be secure, which
        means that students are not allowed to possess non-permitted items on their person, at their seat, or in
        the testing facility. All non-permitted items are to be sto
        stored in the examination facility or adjacent hallway during the examination process. Storage of these
        materials on the floor constitutes a fire hazard and not allowed. A student may be asked to leave the
        testing facility if they are seen with a non-permitted item. Permitted and non-permitted items include
        the following:
            a. Permitted Materials
                    i. Exam packet (envelope, exam booklet, scantron, images), if applicable
                   ii. A non-alarmed watch
                   iii. Pencils
                   iv. Erasers
                   v. WSU student ID
                   vi. Earplugs
                  vii. Beverage
                 viii. Wallet or Purse However, these items must be stored in your pocket or under the seat.
            b. Non-Permitted Materials
                    i. Electronic devices that can transmit, store, or receive information including but not
                       limited to cellular phones, pagers, cameras, laptops, tablets, ipads, ipods or electronic
                       organizers. Students may be allowed to store electronic devices in the testing facility at
                       the discretion of the Testing Office. For examinations in 309, 324 or 325 MEC, these
                       devices are to be stored on the countertops in the off position. Students are not allowed
                       to have an electronic device on their person at any point during the examination
                       process.
                   ii. Large/bulky coats
                   iii. Backpacks, satchels, luggage or briefcases
                   iv. Food Students are not allowed to consume food in the testing facility during an exam.
                   v. Reference materials (e.g., books, notes, papers)
                   vi. Hats and hoods Students wearing brimmed hats must remove them or turn them
                       backwards. Students wearing hoods must remove them. Students are permitted to wear
                       religious or cultural head attire (e.g., turban, hijab, yarmulke) as long as it does not
                       interfere with the examination process.

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            c.   The length of all WSUSOM internally developed exams is based on the number of items (i.e.,
                 questions). For each item, 1.2 or 1.5 minutes is allotted plus an additional 10 minutes for
                 citations (if applicable). The determination of item timing is based on the discretion of the
                 course director. The total length of the exam is rounded up to the next minute. The length of
                 external exams (e.g., NBME sponsored exams) and laboratory exams might be different.

            d.   The official start time of all WSUSOM exams is defined in the class calendar. Students will be
                 allowed into the testing facility 20 minutes prior to the start of each exam. The exam will begin
                 with the reading of instructions at the designated start time.

            e.   Students that show up after the start of the exam are not allowed to sit for the exam at that
                 time. Proctors will inform the student that they must report to their counselor in the Office of
                 Student Affairs to request an excused absence. If the counselor grants an excused absence, the
                 student will take the exam on the next scheduled make-up date.

ABSENCE FROM AN EXAM (YEARS 1 4)
In some instances it might not be possible for a student to be present for an examination due to either a serious
health problem or other unavoidable circumstances. It is at the
Office of Student Affairs to grant or deny an excused absence for an examination. An excused absence permits
the student to take a make-up examination at the scheduled make-up date. See section on Excused Absences
for further information.

MAKE-UP EXAMINATIONS (YEARS 1 4)
An examination of comparable content is administered to students who have an excused absence. At the time
of the make-up examination, the item citation process has concluded, therefore students taking these exams
cannot participate in the item citation process.
Any student that is granted an excused absence from the original exam will be allowed to participate in the
make-up exam. If a student misses the make-up exam, a grade of zero will be entered for that exam and the
student must go through the grade appeal process.

Years 1 & 2
For Years 1 and 2 there are scheduled make-up examinations times approximately on a monthly basis. Refer to
the class calendar for the specific dates. All make-up examinations must be completed in a timely manner. Once
a new course has started, missing exams from a previous course must be prioritized and taken first in the exam
make-up schedule. Students are automatically scheduled for the next make-up examination time, but may, in
consultation with Testing Office, the Assistant Dean for Pre-Clerkship Education, be granted a customized make-
up exam schedule to complete courses in a timely manner only under extenuating circumstances.

Years 3 & 4
For year 3 make-up examinations are administered on a customized basis as to not interfere with clinical
rotations. The exact dates of make-up examinations will be determined by the Testing Office and Assistant Dean
for Clinical Education.




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POST EXAM REVIEW PROCESS (YEARS 1 2)
In order to assist students in their self-directed learning, post exam reviews are allowed in certain
circumstances.
Year 1
Post exam reviews are allowed for formative assessments only. Students will have 30 minutes following each
assessment to review all examination items along with their rationale (if applicable). Students will also receive
personalized performance profile within 48 hours of the closing of the formative assessment period.
Year 2
Post exam reviews for summative assessment are provided at the discretion of the course director. The Testing
Office will communicate to the class on the day of the exam when the post exam reviews will be held. Students
must sign-up for a post exam review during the exam period. Post exam reviews are held the next business day
following an exam for three consecutive weekdays (depending on the frequency of the exams).
Students are to report to 313 MEC between the hours of 11:00am 12:00pm to review their exams. Students
will have 15 minutes to review their exam materials. All materials given to the student during the review must
be returned to a proctor. Failure to return material to a proctor is considered irregular test taking behavior.
Students arriving late (i.e., after 12 noon) will not be allowed to participate in the post exam review on that day.
Students and have not signed up or that arrive late on the last day will not be allowed to participate in the post
exam review process.

DISRUPTIVE BEHAVIOR DURING EXAMINATIONS (YEARS 1 4)
A student engaging in disruptive behavior (i.e. behavior that interferes with the testing environment of other
examinees) will receive a verbal warning. If the disruptive behavior continues, the student will be escorted to
the Office of Student Affairs. The Associate Dean for Student Affairs in consultation with the appropriate
education assistant dean (Pre-Clerkship or clinical) will be responsible for evaluating and deciding appropriate
next steps for a student who has engaged in disruptive behavior during examinations.




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ACADEMIC MISCONDUCT (YEARS 1 4)
Irregular Behavior
Academic misconduct includes all actions or attempted actions on the part of a student that would or could
subvert the examination process. Examples of irregular behavior include, but are not limited to:
       Failing to comply with any written or verbal testing policy, procedure, rule, and/or instruction of a
       proctor.
       Providing specific information regarding the content of examination to any other student before, during
       or after an examination of post exam review.
       Seeking and/or obtaining specific information about the content of an examination from another
       student.
       Seeking and/or obtaining access to examination materials during, prior or after the administration of an
       examination or post exam review.
       Theft of examination materials.
       Impersonation of a student or engaging a proxy to take the examination.
       Copying answers from another student.
       Allowing another student to copy your answers.
       Possessing non-permitted materials during an examination or post exam review.
       Making notes of any kind during the examination or post exam review except in the test booklet or
       designated scrap paper.
           o   Students are allowed one piece of designate scrap paper during an examination at a time, which
               is provided by a proctor.
                       Students are not allowed to provide their own scrap paper.
                       Students must surrender their piece of scrap paper to a proctor at the end of the
                       examination or prior to obtaining a new scrap paper.
                       Students are not allowed to remove scrap paper from a testing facility.
                       Writing on scrap paper is not allowed until the exam timer has started.
       Taking photos of test materials.
       Reconstruction of test content through memorization.
       Altering or misrepresenting examination scores.
       Continuing to answer items or erase answers after time is called.
       Failure to report suspected or actual irregular test-related behavior or cheating of fellow students.




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A student observed or reported to have engaged in irregular behavior during an examination will be allowed to
complete the exam. The proctor will document the incident and keep all materials handed in by the student.
The incident will be immediately reported to the Assistant Dean for Assessment. The Assistant Dean for
Assessment will initiate an investigation and forward all materials to either the Assistant Dean for Pre-Clerkship
Education or the Assistant Dean for Clinical Education, as appropriate.
The Assistant Dean for Assessment along with either the Assistant Dean for Pre-Clerkship Education or the
Assistant Dean for Clinical Education, in consultation with the Associate Dean for Undergraduate Medical
Education, will be responsible for evaluating and deciding appropriate next steps for a student who has engaged
in irregular behavior. To the extent such irregular behavior falls under the umbrella of cheating, it will be
handled pursuant to the WSU Student Code of Conduct.

COMPLETION OF COURSES IN A TIMELY MANNER (YEARS 1 2)
It is expected that courses will be completed in a timely manner. In order to assist students, we will create a
customized exam schedule for students that miss regularly scheduled make-up exams. All course work including
examinations must be complete within thirty (30) calendar days of the course end date (defined as the date of
the last exam) or prior to the start of the summer re-exam schedule (if applicable), whichever comes first.
Students not complying with the policy may be placed on a leave of absence and their status to return to course
work will be evaluated by the Associate Dean for Student Affairs.

TEST ACCOMMODATIONS FOR STUDENTS WITH DISABILITIES (YEARS 1 4)
Services for students with disabilities are coordinated by the Student Disability Services (SDS) Office located on
the first floor of the David Adamany Undergraduate Library at 5155 Gullen Mall. Detailed information about
SDS, the Americans with Disability Act (ADA), SDS policies and procedures, documentation guidelines, and types
of accommodations can be found on the SDS website http://studentdisability.wayne.edu. The medical school
encourages you to refer to the SDS website if you have a documented disability or suspect you have a disability
that will impact your medical school performance. The SDS office can be contacted at 313-577-1851. Office
hours are Monday-Friday 8:30-5:00 with extended evening hours on Monday and Thursday evenings until 7:00
during the fall and winter.
The Student Disability Services office provides reasonable accommodations for disabilities in the following
categories:
        Physical or medical disabilities
        Deafness or hard of hearing
        Blindness or low vision
        Traumatic brain injury
        Learning disabilities
        Attention deficit/hyperactivity disorder
        Psychological or psychiatric disabilities




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Required Documentation
Sufficient documentation for the disability is required to register with the SDS office and receive
accommodations. Documentation guidelines for specific disabilities can be found on the SDS website. In order
to establish that an individual is covered under the guidelines of the ADA and ADAA, documentation must
indicate that the disability substantially limits a major life activity. Examples of major life activities include
walking, sitting, standing, seeing, hearing, speaking, breathing, learning, working, caring for oneself,
communicating, thinking, concentrating, and other similar activities. Quality disability documentation has the
following essential elements:
        Testing should be recent, relevant, and comprehensive, and, if appropriate, documentation must also
        contain test scores and interpretation (ex. learning disability report, audiogram, etc.)
        Documentation must show a substantial impact on one or more major life activities
        Indicate whether the impact is current and stable or fluctuating (fluctuations may require updated
        documentation of the condition)
        Documentation must effectively confirm the nature and extent of the disability based on current
        professional standards and techniques
        Documentation must effectively validate the need for accommodations
        Evaluation must be provided by a licensed clinical professional familiar with the history and functional
        implications of the impairment(s) and must not
        Evaluation must show the official letterhead of the professional describing the disability with the name,
        title and professional credentials of the evaluator
        Report must be dated and signed by the evaluator
        Report should include all documentation for multiple disabilities disclosed

If you suspect that you have an undiagnosed learning disability, attention deficit disorder, psychological
disability, or other type of disability, you are encouraged to consult with a disability specialist in the Student
Disability Services office. Resources for diagnostic evaluations will be provided.
If a student submits insufficient documentation of a disability for determining reasonable accommodations,
Student Disability Services has the right to request further documentation with the student bearing the cost of
the evaluation. SDS does not do diagnostic evaluations but can provide students with testing resources.

Students who receive accommodations need to:
        Communicate with the Office of Student Affairs in the School of Medicine during the semester
        regarding accommodations and/or services.
        Contact the Office of Student Affairs and SDS immediately if any significant course/clerkship changes
        occur.
        Inform the Office of Student Affairs and the SDS Disability Specialist immediately if any problems
        regarding accommodations and /or services occur.




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Confidentiality
Student Disability Services (SDS) follows strict standards of confidentiality in the management of student
disability information. SDS is the sole holder of disability documentation and this documentation is kept

Student Disability Services do not appear on the academic transcript and there is no marker on the transcript to
indicate that a student is registered with SDS.
                                                                              -to-
disclosure of any information to a faculty or staff member, it is decided on a case-by-case basis. When students
request accommodations, it may be necessary to discuss with a faculty or staff member the nature of the
disability and the relationship of the disability to the course in order to implement the appropriate
accommodations without making a full disclosure of the disability to the faculty or staff member.

How to Register with Student Disability Services
    1. To register with SDS you must first be admitted to the WSU SOM.
    2. Call the SDS office at 313-577-1851 or TTY 313-577-3365 to schedule an intake appointment with a
       disability specialist. Intake appointments generally require 2 hours.
    3. At your intake appointment you will provide the disability specialist with documentation.
    4. SDS intake forms will be completed and a history will be taken. Accommodations will be determined
       and accommodation letters will be issued to the student. Accommodations are reviewed annually.
    5. Once accommodations have been granted, students must notify the Office of Student Affairs at Wayne
       State University School of Medicine by providing the OSA with a copy of the accommodations letter
       received from SDS.

Testing Accommodations
    1. Once accommodation letters have been presented to the Office of Student Affairs at Wayne State
       University School of Medicine, OSA will then forward the accommodation letter to testing services or
       the appropriate faculty member at the School of Medicine.
    2. Testing services and/or the faculty member will be responsible for fulfilling the recommended
       accommodation.
    3. Students with accommodations will be notified by testing services regarding their testing environment.
    4. If a student opts not to use their accommodations during any exam they must provide written notice to
       testing services at least 1 week in advance. Students should contact the Director of Assessment.




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Summary
    1. Student Disability Services has an obligation to confirm disability status in order to issue appropriate
       accommodations.
    2. Students have a right to privacy and not to have confidential information freely disseminated
       throughout the university.
    3. When students register with SDS and sign the accommodation form, they are acknowledging that some
       level of disclosure to a faculty or staff member may be necessary in order to implement requested
       accommodations.
    4. Disability documentation records are not shared directly with any faculty or staff member outside the
       Student Disability office.

reason that students should insure that they have sufficient documentation that supports the need for
appropriate and reasonable accommodations. Accommodations and services cannot be guaranteed if students
choose not to follow the procedures for registering with Student Disability Services in a timely manner.
Accommodations and services can be revisited as needed, but they are not retroactive and cannot be
guaranteed if procedures are not followed with reasonable, advanced notice.

Student Rights and Responsibilities
Students with disabilities have the right to:
       Full and equal participation in the services and activities of Wayne State University.
        Reasonable and effective accommodations, academic adjustments and /or auxiliary aids as determined
        by SDS.
        Maintain confidentiality regarding disability information including the right to choose to whom the
        disclosure of disability is made, except as required by law.
        Information readily available in accessible formats as long as request deadlines are met to ensure
        availability.

Students with disabilities have the responsibility to:
                                                                                     nal standards as established
        by the School of Medicine with or without reasonable accommodations.
        Identify as an individual with a disability and request accommodations through SDS in a timely manner
        and to seek information, counsel and assistance as necessary.
        Provide documentation to SDS from an appropriate professional source verifying the nature of the
        disability, functional limitations, and the rationale for specific accommodations being recommended.
        Follow specific procedures for obtaining reasonable and appropriate accommodations, academic
        adjustments, and/or auxiliary aids as outlined by SDS.




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University Rights
The School of Medicine, through faculty and staff, has the right to:
       Establish and maintain academic and professional standards for its medical students, which includes
       establishing essential functions, abilities, skills, knowledge and standards for courses, programs,
       services and clinical internships, and to evaluate students on this basis.

The University, through its Student Disability Services, has the right to:
       Confirm disability status and request and receive current, relevant documentation that supports
       requests for accommodations.
       Select among equally effective/appropriate accommodations, academic adjustments, and/or auxiliary
       aids and services and provide the student with written documentation of the accommodation(s)
       granted for presentation to the SOM.
       Deny requests for accommodations, academic adjustments, and/or auxiliary aids when disability
       documentation does not identify a specific disability, fails to verify the need for the requested services,
       or is not provided in a timely manner.
       Deny requests for accommodations, adjustment, and/or auxiliary aids that are inappropriate or
       unreasonable based on disability documentation.




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OTHER EXAMINATION POLICIES

Posting Exam Scores (Years 1 4)
Immediate draft scoring is available for most non-NBME examinations. Final scores are available after Course
                                                                                      ion citations to make
decisions about whether to change the answer key.

Interpreting Scores (Years 1 4)
The percent score obtained on an examination(s) allows a student to ascertain his/her mastery of the material,
and at the end of the course, to determine whether his/her performance is sufficient to pass the course. For a

a student that continued performance at that level places the student at risk for failing the course. The danger
line was developed using historical examination scores and is used to alert students, but should not be
interpreted as the likely pass rate for the course.

Citing Examination Questions (Years 1 2)
For non-NBME examinations, students are given one opportunity to identify examination questions which they
feel are flawed or poorly written. At the completion of an examination, students may cite as many questions as
they like for course directors and faculty to review as
alternate answers. Ten minutes is allotted for citing questions at the end of the examination. Students are not
permitted to contact individual faculty or course directors directly to lobby for changes to the answer key.
Students taking make-up or remedial examinations cannot cite exam questions.

Requests for Hand Scoring of Examinations (Years 1 4)
Students who feel there is an error in their examination score my request a hand scoring of the examination by
contacting the Testing Office. The hand scoring will insure that the electronic scoring has worked properly.
Students are responsible for submitting an answer sheet that is complete and accurate. In these cases, the hand
scoring would confirm the st
objective examinations cannot be appealed, other than having the score verified through the hand scoring
process. Students must report any testing irregularity at the time the examination is turned in to the proctors
and prior to leaving the examination area.




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4.4 STANDARDIZED PATIENT TEACHING AND ASSESSMENT PENDING




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4.5 MEDICAL STUDENT PERFORMANCE EVALUATION (MSPE)


The ranking system used for the MSPE contains
over the first three years of medical school. A system was developed to increase the competitiveness of our
students during an increasingly competitive residency application process. The system uses two dimensions
Academic Performance Basic Science and Clinical Skills plus end of year Comprehensive Honors, to arrive at
an overall descriptive term (Exceptional, Outstanding, Excellent, Very Good, and Good) for each student.


 Performance     Approximate
                                           Level of Academic Performance and Clinical Performance
  Descriptor      Percentage

                                 Outstanding academic performance and Superb clinical
 Exceptional     5%
                                 performance PLUS Comprehensive Honors for all 3 Years

 Outstanding     25%             Outstanding academic performance and Superb clinical performance

                                 Outstanding academic performance and Proficient clinical performance
 Excellent       30%             OR
                                 Very Good academic performance and Superb clinical performance

                                 Very Good academic performance and Proficient clinical performance
 Very Good       20%             OR
                                 Good academic performance and Superb clinical performance

 Good            20%             Good academic performance and Proficient clinical performance




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5. PERFORMANCE, PROFESSIONALISM AND PROMOTION


In this section:
5.1 PROFESSIONALISM POLICY OVERVIEW
5.2 GENERAL POLICY ON VIOLATION OF WSUSOM PROFESSIONALISM STANDARDS
5.3 REPORTING PROCESS
5.4 PROCESSES FOR CLINICAL ROTATIONS
5.5 DOMAINS OF PROFESSIONAL BEHAVIOR
5.6 SOCIAL MEDIA POLICY




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5.1 PROFESSIONALISM POLICY OVERVIEW

Medical students at WSUSOM are considered physicians in training at matriculation into the medical education
program and are expected to explicitly adhere to the standards of the medical profession. Students must
demonstrate that they are capable of becoming safe and effective physicians. For students to demonstrate they
are capable of becoming safe and effective physicians, they must display good judgment, a sense of responsibility
and morality, sensitivity and compassion for individual needs and the ability to synthesize and apply knowledge.
In training for this profession, your accountability to your patients, colleagues and peers is critical.
Professionalism implies that students serve the interests of patients above self-interest. i Professionalism includes
honesty, respect for colleagues, faculty, staff and peers and behavior in public that is not embarrassing to the
ideal of the physician. Continual self-
be a better physician. ii
Unprofessional behavior of medical students can be divided into four domains; 1) Failure to engage, 2) Dishonest
Behaviors, 3) Disrespectful Behaviors and 4) Poor self-awareness. These domains are based on a research article
titled, Descriptors for unprofessional behaviors of medical students: a systematic review and categorization. The
article can be found here.
The reference tables for the article may be found below:
        Table 1
        Table 2

Types of unprofessional behavior may fall into one or more domains.

5.2 GENERAL POLICY ON VIOLATION OF WSUSOM PROFESSIONALISM STANDARDS

COURSE GRADING POLICY AND PROFESSIONALISM
The School of Medicine reviews professionalism in two ways. One as part of your course grade, please refer to
the course assessment policies. Secondly, student behavior as part of the medical school community is reviewed.

CONSEQUENCES FOR FAILURE TO COMPLY
Accordingly, a student may be cited for unprofessional behavior for actions or behaviors that deviate from
established professional standards (e.g. unexcused absence from a required course session or activity). The
primary purpose of a citation for unprofessional behavior is for formative assessment, reflection, and opportunity
for remediation.
However, a consistent or persistent pattern of unprofessional behavior or an egregious violation of WSUSOM
professional standards by a medical student that is noted and documented by a member of the WSUSOM
community (i.e. student, faculty, staff, or administrator), by a WSUSOM administrative office, or by a WSUSOM
committee, can be referred to the professionalism committee for official review and recommendation for
disposition. After committee review, a full range of recommended dispositions will be available to the committee
from unsupported claim and no action to referral to promotions committee for recommended dismissal. All
students who are alleged to have engaged in unacceptable conduct receive fair and impartial consideration of the
charges against them and are afforded due process.




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5.3 REPORTING PROCESS

Reporting Violations of the Code of Conduct and Professional Responsibility
     1. The complaint must be submitted on the electronic professional violation form:
             The form includes fields for the date, time location, person(s) involved, description of the incident
             and any potential witnesses.

     2. The form will be reviewed by the professionalism liaison who can forward it for further consideration to
        one or more of the following individuals or committee.
              Associate Dean for UME
              Assistant Dean for Pre-Clerkship
              Assistant Dean for Clinical Education
              Professionalism Committee
     3. An informal resolution may be pursued through any of these individuals based on the assessment of the
        complaint. Informal resolution may be achieved by direct discussion and or/mediation with the alleged
        offender by the student along with the individual contacted above.


5.4 PROCESSES FOR CLINICAL ROTATIONS

REPORTING
Professional behavior is part of the grading process for all clinical evaluations. These scores are recorded and
indeed reported as part of the MSPE. Positive professional behavior is thus greatly rewarded in the clinical
evaluation and grading for all clinical rotations. Unprofessional behavior is noted on the evaluation forms either
by low scores on the grading scale, or by checking the box that there was a particular instance noted (along with a
notation of the incident). Either notation will prompt attention by the clerkship director for further action. In
addition, unprofessional behavior can also be grounds for course failure. Courses failed in this manner will need
to be repeated (the entirety of the course) in addition to professionalism remediation as outlined below.

INTERVENTION
The process for intervention during the clinical years will be guided by the level of the behavior. All instances will
be cataloged in the professionalism reporting data base *
     1. Improvement plan Instances which are at a level though by the faculty to be correctable will be dealt
        with at the clerkship or department level. This will involve a meeting with the clerkship director or
        designee, the course director or designee, or specific personnel as directed by the office of academic and
        student programs. The improvement plan may involve assignments, actions or reevaluation.

     2. Warning for repeated behaviors or for those reaching the level of greater concern, the student will
        receive a warning status. This will also involve a mini-professionalism meeting (mini PFC) with the
        counselor, Assistant Dean for Clinical Education, and possibly to include the Associate Dean for Student
        Affairs, course/clerkship directors and other involved personnel. Remediation plans will be guided by
        this committee. Probation is a possible outcome from this committee.




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     3. Professionalism Committee Referral. With repeated actions or non-remediated instances of (1) or (2), or
        for occurrences deemed egregious by faculty or administration, the matter is referred to the

         purview are outlined elsewhere.


5.5 DOMAINS OF PROFESSIONAL BEHAVIOR

Unprofessional behavior of medical students can be divided into four domains; 1) Failure to engage, 2) Dishonest
Behaviors, 3) Disrespectful Behaviors and 4) Poor self-awareness.

Reference:
Mak-Van Der Vossen M, Van Mook W, Van Der Burgt S, et al. Descriptors for unprofessional behaviours of medical students: a
systematic review and categorisation. BMC Med Educ. 2017;17(1):164.

Types of unprofessional behavior may fall into one or more domains. View table of descriptors here.

Domains of Professional behavior include but are not limited to:

Failure to Engage
          Failure to engage includes but is not limited to the following descriptors:
                  Absent or late for assigned activities
                  Not meeting deadlines
                  Poor initiative
                  General disorganization
                  Cutting corners
                  Poor teamwork
                  Language difficulties

Poor Self-Awareness
          Poor self-awareness includes but is not limited to the following descriptors:
                  Avoiding feedback
                  Lacking insight in own behavior
                  Not se
                  Blaming external factors rather than own inadequacies
                  Not accepting feedback
                  Resisting change
                  Not aware of limitations




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Dishonest
         Dishonest includes but is not limited to the following descriptors:
                Cheating in exams
                Lying
                Plagiarism
                Data fabrication
                Data Falsification
                Misrepresentation
                Acting without required consent
                Not obeying rules and regulations

Disrespectful

         Disrespectful behaviors include but are not limited to the following descriptors:
                Poor verbal/non-verbal communication
                Inappropriate use of social media
                Inappropriate clothing
                Disruptive behavior in teaching sessions
                Privacy and confidentiality violations
                Bullying
                Discrimination
                Sexual Harassment


Disrespectful Behaviors
     1. Nondiscrimination It is unethical for a student to refuse to participate in the care of a person based
        on race, religion, ethnicity, socioeconomic status, gender, age, sexual preference, national origin,
        ancestry or physical handicap. Students must show respect for patients and families as well as
        everyone involved in their care. This includes physicians, nurses, other students, residents, fellows and
        administrative staff.

    2. Professional Demeanor The student should be thoughtful and professional when interacting with
       patients, families, peers and co-workers. Inappropriate behavior includes but is not limited to the use of
       offensive language, gestures, or remarks with sexual overtones, extreme lack of interest and/or
       dishonesty. Additionally, students should maintain a neat and clean appearance and adhere to the dress
       code policy.

    3. Teaching -                                                              implies a responsibility to share
       knowledge and information with colleagues and patients. It is incumbent upon those entering this
       profession to teach what they know of the science, art, and ethics of medicine. It includes
       communicating clearly with and teaching patients so that they are properly prepared to participate in
       their own care and in the maintenance of their health.




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Dishonest Behaviors

Disrespectful & Dishonest Behaviors
    4. Confidentiality All students are required to undergo training in the Health Insurance Portability and

        medical record is fundamental to medical care. Discussing medical problems or diagnoses in public
        violates patient confidentiality and is unethical.

    5. Conflicts of Interest Recognition, avoidance and management of conflicts of interest represent a core
       issue of professionalism. Any student with a proprietary or other interest in any material he or she is
       presenting or discussing must properly disclose that conflict of interest. When a conflict of interest
       arises, the welfare of the patient must at all times be paramount.

    6. Sexual Misconduct Students must not engage in romantic, sexual, or other nonprofessional

        patient. In addition, students must not engage in romantic, sexual or other non-professional
        relationships with mentees, tutees or others for whom the student is in a position of authority. Students
        are not expected to tolerate inappropriate sexual behavior on the part of patients, their families or other
        health professionals. Students must adhere to all relevant university, clinical and community site policies
        regarding sexual misconduct.
        Wayne State University has a strict policy regarding sexual assault and harassment. More information
        and resources can be viewed here: https://doso.wayne.edu/sexual-misconduct/resources

    7. Disclosure Students must understand the ethics of full disclosure. The patient must be well informed to
       make health care decisions and work intelligently in partnership with the medical team. Information that
       the patient needs for decision-making should be presented in terms the patient can understand. If the

        authorized representative. Students who participate in disclosing information to patients must do so
        only with the guidance and supervision of the attending physician. Students must adhere to all clinical
        and community site policies regarding disclosure.

    8. Informed Consent Students must understand the obligation to obtain informed consent from patients,

        patient or his/her surrogate be appropriately informed as to the


        obtained without coercion. Students who participate in obtaining informed consent must do so only with
        the guidance and supervision of the attending physician.

    9. Representation of Level of Training and Knowledge       A student should accurately represent themselves
       to others and never

        appropriate for their level of training. The student must seek consultation and supervision whenever
        their care of patient may be inadequate because of lack of knowledge and/or experience.




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   10. Honesty Students are expected to demonstrate honesty and integrity in all aspects of their education
       and interactions with patients, staff, faculty, colleagues and the community. They may not cheat, lie,
       steal or assist others in commission of these acts. Students must not commit fraud or misuse funds
       intended for professional activities.

        Students must assure accuracy and completeness for their parts of the medical record and must make
        good-faith efforts to provide the best possible patient care. Students must be willing to admit errors and

        understand and preserve professional ethics and has a duty to report any breach of these ethics by other
        students or health care providers through the appropriate channels.


        Misconduct policy. Please review the misconduct policy here:
        https://doso.wayne.edu/conduct/academic-misconduct


   11. Research The foundation of research is honesty. Scientists have a responsibility to provide research
       results of high quality; to gather facts meticulously, to keep impeccable records of work done; to
       interpret results realistically, not forcing them into pre-conceived molds or models; and to report new
       knowledge through appropriate channels. Co-authors of research reports must be acquainted with the
       work of their coworkers that they can personally vouch for the integrity of the study, validity of the
       findings, and must have been active in the research, or writing, itself

Dishonest, Disrespectful, Failure to Engage and Poor Self-Awareness

   12. Impairment - The student will not use alcohol or drugs in a manner that could compromise patient care
       or bring harm to themselves or others. It is the responsibility of every student to protect the public and
       to get the appropriate help for him or herself and to assist a colleague whose capability is impaired
       because of ill health. The student is obligated to report members of the health care team whose
       behavior exhibits impairment or lack of professional conduct or competence.

Disrespectful, Failure to Engage and Poor Self-Awareness
   13. Arrogance - Arrogance means an offensive display of superiority and self-importance and will not be
       tolerated. Arrogance denotes haughtiness, vanity, insolence and disdain. All of these qualities run
       counter to the demeanor of the professional.




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Failure to Engage
   14. Commitment to Life-long Learning Medical knowledge has been expanding exponentially. The
        doubling time was an estimated 50 years back in 1950, 7 years in 1980, 3.5 years in 2010 and is projected
        to be 73 days by 2020. iii Students must make a commitment from the very beginning to be responsible
        for learning and maintaining the necessary skills Students must make a commitment from the first day to
        be responsible for their learning and maintaining the necessary skills that are required to provide quality
        care to patients.

   15. Lack of Conscientiousness - Students are expected to be thorough and dependable, and to commit the
       time and effort required to meet his or her responsibilities. Students should not require continual
       reminders about responsibilities to patients, to the institution, other health care professionals and to
       administrative staff. 1,2,3 Responding in a timely and appropriate fashion to phone calls, pages, notices
       and emails from faculty, nurses, other health care team members, and administrative staff is a
       responsibility that must be honored by students.

Disrespectful and Failure to Engage

   16. Behavior Towards Colleagues The student will deal with professionals, staff, and peers in a
       cooperative and considerate manner, including their mentors and teachers. Professional relations among
       all members of the medical community should be marked with civility and each person should recognize
       and facilitate the contributions of others to the community. Under no circumstances will the student
       exhibit prejudice in words, action or deed towards a colleague based on ethnicity, race, religion, gender,
       age, sexual orientation, or physical disabilities. It is unethical and harmful for a student to disparage
       without good evidence the professional competence, knowledge, qualifications or services of a
       colleague. It is also unethical to imply by word, gesture, or deed that a patient has been poorly managed
       or mistreated by a colleague without tangible evidence.

Disrespectful and Poor Self-Awareness

   17. Evaluation - Becoming a physician requires continuous personal growth and improvement. Students
       should seek feedback and are expected to respond to feedback and constructive criticism by appropriate
       modification of their behavior. Resistance or defensiveness in accepting criticism or in receiving
       feedback, remaining unaware of one's own inadequacies and not accepting responsibility for errors or
       failure are examples of a poor professional attitude.
        Students should actively participate in the process of evaluating their teachers, including faculty and
        house staff. When evaluating their performance, students are obliged to provide prompt, constructive
        comments. Evaluations may not include disparaging remarks, offensive language or personal attacks, and
        should maintain the same considerate, professional tone expected of faculty when they evaluate student
        performance.


5.6. SOCIAL MEDIA POLICY
    Please refer to the Social Media Policy listed here.




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                                                     REFERENCES



i  American Board of Internal Medicine, Project Professionalism 2001,
http://abimfoundation.org/Resource%20Center/Bibiliography/~Media/Files/Resource%20/Project%20professionalism.ashx
April 7, 2010.
ii American Board of Internal Medicine Foundation, American College of Physicians, European Foundation of Internal

Medicine. Medical professionalism in the new millennium: a physician charter. Annals of Internal Medicine 2002; 136:243-
246.
iii 2011 Study in Transactions of the American Clinical and Climatological Association

Adapted from Yale School of Medicine Professionalism Policy




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6. TUITION AND FINANCIAL AID
In this section:
6.1 TUITION STRUCTURE AND BUDGET
6.2 UNIVERSITY BILLING
6.3 FINANCIAL AID




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 6.1 TUITION STRUCTURE AND BUDGET
 Students are assessed tuition each term based on the tuition rate set forth by the Board of Governors. Please


 Statement of Tuition and Fee Regulations: https://reg.wayne.edu/pdf-tuition/t_f_regs_f18.pdf

 Tuition and Fee Chart: https://reg.wayne.edu/students/tuition-and-fee-charts

 A Tuition Calculator is available to help students determine their tuition and fees for a particular term.
 Tuition Calculator: http://apps.reg.wayne.edu/tuition


 6.2 UNIVERSITY BILLING
 Student Financial Obligation for Payment of Tuition and Fees
 By completing registration for a term students become financially responsible for payment of all applicable fees
 by the published due date(s). Payments not received by the due date(s) are subject to collection, attorney, and
 litigation costs, which also become a financial obligation of the student. Students are encouraged to familiarize
 themselves with their electronic bill (eBill) and billing and payment dates.

 Additionally, accounts must be current to maintain enrollment eligibility and to request and receive official
 University documents and services. If you have questions, or require additional information, please contact
 the Student Accounts Receivable Office website or at (313) 577-2100.

 Payment Methods
 Numerous alternatives for tuition and fee payments are provided for students convenience. Please refer to
 the Student Accounts Receivable Office website for complete details.

 Late Payment Fees
 Please refer to the Office of the Bursar for Late Payment Fee information and assessment schedule.

 A complete list of billing and payment due dates is posted on the Cashier's Office website under Billing and
 Payment Dates.

 Delinquent Prior Term Balances
 Students who register for classes owing a prior term balance are subject to course cancellation if payment in full
 is not received by the last day of the term for which the balance is due. Personal checks are not accepted for
 prior term balances. Payment must be made by CASH, CERTIFIED CHECK, or MONEY ORDER.

 Billing and Payment Dates
 Please refer to the Cashier's Office website for current Billing and Payment Dates



6.3 FINANCIAL AID
Please refer to the Wayne State University Financial Aid website for current Financial Aid Policies




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7. WAYNE STATE UNIVERSITY POLICIES


In this section:
7.1   WAYNE STATE UNIVERSITY POLICIES
7.2   NONDISCRIMINATION POLICY
7.3   COMMUNITY STANDARDS
7.4   PROHIBITED SEXUAL CONDUCT
7.5   CONSENSUAL SEXUAL OR ROMANTIC RELATIONSHIPS IN THE WORKPLACE AND EDUCATIONAL SETTING
7.6   STUDENT ACADEMIC GRIEVANCE PROCEDURE
7.7   CHILDBIRTH ACCOMMODATION POLICY FOR WOMEN GRADUATE STUDENTS AT WAYNE STATE UNIVERSITY
      SCHOOL OF MEDICINE
7.8   OWNERSHIP AND USE OF WAYNE STATE UNIVERSITY NAMES AND TRADEMARKS
7.9   ACCEPTABLE USE OF INFORMATION TECHNOLOGY RESOURCES
7.10 SMOKE-FREE ENVIRONMENT
7.11 CAMPUS SAFETY AND CRIMINAL STATISTICS
7.12 MICHIGAN DEPARTMENT OF CONSUMER AFFAIRS COMPLAINT PROCEDURE
7.13 WAYNE STATE UNIVERSITY BOARD OF GOVERNORS DRUG AND ALCOHOL ABUSE ON CAMPUS POLICY




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7.1 WAYNE STATE UNIVERSITY POLICIES - PENDING


7.2 NONDISCRIMINATION POLICY - PENDING


7.3 COMMUNITY STANDARDS - PENDING


7.4 PROHIBITED SEXUAL CONDUCT - PENDING


7.5 CONSENSUAL SEXUAL OR ROMANTIC RELATIONSHIP IN THE WORKPLACE AND EDUCATIONAL SETTING
    - PENDING


7.6 STUDENT ACADEMIC GRIEVANCE PROCEDURE - PENDING

7.7 CHILDBIRTH ACCOMMODATION POLICY FOR STUDENTS AT WAYNE STATE UNIVERSITY SCHOOL OF
    MEDICINE - PENDING

7.8 OWNERSHIP AND USE OF WAYNE STATE UNIVERSTIY NAMES AND TRADEMARKS

Please refer to the university marketing policies: https://mac.wayne.edu/marketing/licensing

7.9 ACCEPTABLE USE OF INFORMATION TECHNOLOGY RESOURCES

Please refer to the university acceptable use policies: https://wayne.edu/policies/acceptable-use/


7.10 SMOKE-FREE ENVIRONMENT
Please refer to the university smoke-free and tobacco-free campus policy:
https://policies.wayne.edu/administrative/00-3-smoke-free-and-tobacco-free-
campus


7.11 CAMPUS SAFETY AND CRIMINAL STATISTICS

Please refer to the university safety information and policies: https://wayne.edu/safety/

7.12 MICHIGAN DEPARTMENT OF CONSUMER AFFAIRS COMPLAINT PROCEDURE
Please refer to the State of Michigan consumer complaint filing information:
https://www.michigan.gov/som/0,4669,7-192-29943_31467-42077--,00.html


7.13 WAYNE STATE UNIVERSITY BOARD OF GOVERNORS DRUG AND ALCOHOL ABUSE ON CAMPUS POLICY
Wayne State University is committed to providing a drug-free environment for its faculty, staff, and students.
The unlawful possession, use, distribution, dispensation, sale or manufacture of drugs or alcohol is prohibited on
University premises, at University activities and at University worksites. https://bog.wayne.edu/code/2-20-04



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                               CLERKSHIP POLICIES




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8. CLERKSHIP POLICIES


In this section:
8.1   MANDATORY ATTENDANCE POLICY FOR CLERKSHIP ORIENTATIONS
8.2   SCHEDULE AND SITE CHANGES FOR ADMINISTRATIVE OR EDUCATIONAL REASONS
8.3   ENTRANCE TO YEAR 3
8.4   CLINICAL READINESS ASSESSMENT CRA POLICY
8.5   PROMOTION TO YEAR 3
8.6   YEAR 3 ORIENTATION
8.7   EVALUATION, GRADING & PROMOTION POLICIES FOR CLERKSHIPS & ELECTIVES
8.8   MID-CLERKSHIP EVALUATIONS
8.9   YEAR III EXAMINATIONS
8.10 WSUSOM MS3 CLERKSHIP NBME SUBJECT EXAM GRADING POLICY
8.11 CLINICAL PERFORMANCE EVALUATION AND GRADE REPORT FORMS
8.12 GRADING POLICIES
8.13 DETERMINATION OF FINAL CLERKSHIP GRADES
8.14 REPORTING CLERKSHIP GRADES
8.15 CRITERIA FOR AWARDING YEAR III HONORS
8.16 REMEDIATION OF FAILED EXAMINATIONS
8.17 REMEDIATION OF FAILED CLINICAL WORK OR FAILED COURSES
8.18 OVERALL COMPARATIVE PERFORMANCE IN MEDICAL SCHOOL (YEARS 1-3)
8.19 GRADE APPEALS
8.20 ACADEMIC PROBATION DURING YR III
8.21 ELECTIVES
8.22 THE YEAR III OBJECTIVE STRUCTURED CLINICAL EXAM (OSCE)
8.23 STUDENT RESPONSIBILITY AND REQUIRED EXPERIENCE TRACKING AND CLERKSHIP/ELECTIVE EVALUATIONS
8.24 NEEDLESTICKS AND OTHER EXPOSURE TO BODY FLUIDS
8.25 PARKING AT ASSIGNED HOSPITALS
8.26 REQUESTS FOR EXCUSED ABSENCES FOR RELIGIOUS HOLIDAYS AND OTHER ABSENCES
8.27 CHANGES TO THESE CURRICULUM GUIDELINES
8.28 DUTY HOURS
8.29 OTHER IMPORTANT INFORMATION




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8.1   MANDATORY ATTENDANCE POLICY FOR CLERKSHIP ORIENTATIONS

Students are required to attend the entire Clerkship Orientation Session for each of their required Year III and


Clerkship Director from participating in that clerkship for the scheduled period and may have their entire
schedule of clerkships revised by the Assistant Dean of Clinical Education as deemed necessary to meet School
of Medicine academic requirements.



8.2   SCHEDULE AND SITE CHANGES FOR ADMINISTRATIVE OR EDUCATIONAL REASONS

The School of Medicine Administration or individual Clerkship Directors maintain the right to alter the sequence




8.3   ENTRANCE TO YEAR 3

ENTRY POINTS FOR BEGINNING YEAR III COURSE WORK
Only two entry points are permitted for students to begin Year III course work. These are:


           At the beginning of Period 1 (the beginning of July)
           At the beginning of Period 3 (late August/beginning of September)


These two allowed entry points for students to begin Year III clerkships apply to all students regardless of
the reason(s) for their delayed start of Year III.


Please note: Beginning in 2019 these points will be redefined as a result of curricular changes



8.4   CLINICAL READINESS ASSESSMENT POLICY

The Clinical Readiness Assessment (CRA) was created to help students be successful in clinical clerkships
after being out of school for an extended period of time. The purpose of the CRA is to assess and provide
enhancement, if necessary, for clinical skills prior to the resumption of clinical training. This program is a
mandatory experience for students who have been out of school for more than 1 year, all returning MD/PhD
students, and students who meet the following criteria:
           Away from Year 2 for greater than 6 months
           Taken Step 1




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STRUCTURE OF PROGRAM

Each student is scheduled for a 2-hour baseline assessment of clinical skills. Enhancement sessions and a re-
assessment of areas of deficiency are scheduled as needed. The CRA is offered near the start of year 3. It must
be taken prior to the start of Y3 orientation to be able to start on time at the beginning of Y3 (Clerkship phase).


CONTENT OF CRA

Session 1 - Baseline Assessment: The baseline assessment is a 2-hour head-to-toe exam (H&P) with a
Standardized Patient followed by a SOAP note station and presentation of the case to a faculty member. This
assessment is scored and reviewed in cooperation with a faculty member. If the student satisfactorily performs
in all areas of the baseline assessment, they require no additional (enhancement) sessions.

Sessions 2 4 - Enhancement:                                                                    -hour blocks. The
content of the sessions depends entirely on the results of the baseline assessment. If a student scores
unsatisfactorily in areas involving communication, s/he will be required to work with a Standardized Patient
Communications Associate. If the student scores unsatisfactorily in any physical exam skills, s/he will be required
to work with a Standardized Patient Teaching Associate. Students requiring enhancement in either the written
SOAP note or presentation components of the baseline assessment will be provided with didactic materials
and/or one-on-one sessions with faculty.

Session 5: Reassessment: Upon completion of any required Enhancement Sessions, students will be re-assessed
in any areas of deficiency. If further enhancement is required, students will be referred to a member of the
faculty for follow-up.

LIMITED SPACE

The space per session is limited; therefore students cannot be guaranteed a spot in a particular session.
Although we will do our best, some students may have to be re-scheduled for a later session if the number of
students exceeds the available slots.

KEEPING US APPRISED OF YOUR PLANS

Please keep in touch with your counselor in Student Affairs (577-1463) in order to ensure that you receive
information about, and are scheduled for, an upcoming CRA session.




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8.5   PROMOTION TO YEAR 3


DEADLINES FOR POSTING USMLE STEP 1 SCORES IN ORDER TO BEGIN A CLERKSHIP


A passing score is required prior to starting a clerkship for students who previously have taken and failed the
exam. The deadline to report a passing score is the Wednesday before your expected return, as scores are only
released on Wednesdays.

           For a July return, the deadline is mid-June
           For a September return, the deadline is mid-August


8.6   YEAR 3 ORIENTATION

Regardless of situation (step delay, LOA, research) all students entering Y3 clerkships are required to
attend fully the orientation program for the Clinical campus and SOM. Failure to do so will result in a
one year Administrative Leave.



8.7   EVALUATION, GRADING & PROMOTION POLICIES FOR CLERKSHIPS & ELECTIVES

The evaluation of Year III students is the responsibility of the School of Medicine Clerkship Committee, which
delegates that authority to the individual Year III Clerkship Directors. In turn, Clerkship Directors and
Departmental Medical Student Education committees determine the clerkship grade for each student and
recommend this grade to the Clerkship Committee. The Clerkship Committee reviews and approves grades on
a bi-monthly basis. Grade Report Forms and Clinical Performance Evaluation Forms are disseminated to
students through the E*value system (to be updated to the New Innovations platform in AY 2018 )

Guidelines for evaluation of cognitive skills and clinical abilities are established for each clerkship by the
clerkship director and departmental education committee. These guidelines are detailed in the individual
clerkship syllabuses. At the beginning of each clerkship, you will be informed about the specifics of the
evaluation and grading policy. Your course grades will be determined at a minimum by written examinations,
completion of logging of specific encounters and procedures, and completion of clinical performance
evaluations (on the Clinical Performance Evaluation form, shown below) by supervising attending physicians
and/or supervising residents. Oral examinations, objective structured clinical exams, defined clinical exercises,
reflective essays and/or research papers will also be a component of your grade in some clerkships.

Students should direct questions regarding the evaluation and grading system of a specific clerkship to that
clerkship director.




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8.8   MID-CLERKSHIP EVALUATIONS

Clinical Supervisors (Faculty, Attending Physicians, or Senior Residents) are required to provide students with a
mid-clerkship evaluation. However, it is your responsibility to solicit this mid-clerkship evaluation from those
physicians with whom you work. The evaluation should detail your strengths, weaknesses and any
recommendations for improvement during the remainder of the clerkship. A form for accomplishing this
evaluation will be given to you during each clerkship with instructions on when they are due to be returned to
the clerkship director. The specific format of the Mid-Clerkship evaluation may vary depending upon the needs
of each clerkship. The form will be part of the syllabus for each clerkship.


not performing as expected at the time of the mid-clerkship evaluation and if (2) that supervising physician is
concerned at that time that the student will not satisfactorily complete the clerkship. If such a mid-clerkship
evaluation is received, the clerkship director or his/her designee will offer to meet with the student to discuss
his/her progress and plan for remediation to help the student improve his/her performance

A satisfactory mid-clerkship evaluation neither guarantees a passing grade or an outstanding grade, but is an
important guidepost to improvement for the rest of the clerkship.




8.9   YEAR III EXAMINATIONS


There are three types of examinations that the student may encounter while on clerkships in the third and
fourth year curriculum:
           Oral, practical or objective structured clinical examinations (OSCEs) developed and administered by
           the individual department.

           Examinations that are written by School of Medicine faculty and are not returned because the
           faculty designates them as "protected" examinations.

           Examinations that are "copyrighted" examinations developed by an external body and purchased


           Examinations).

Unless specifically designated as an examination that will be returned to the student, examinations during the
clinical curriculum are either protected or copyrighted examinations. As such, the student has no right to retain
these examinations, and possession of current copies of these examinations outside the testing room
would violate School of Medicine Professionalism guidelines and University policy.

All YR III Clerkships use the Subject Examinations available from the National Board of Medical Examiners
(NBME) as the examination at the end of the clerkship. These examinations are the property of the NBME; they
are scored by the NBME with results then reported to the School of Medicine. Because they are "copyrighted"
examinations governed by NBME policies, students do not have the right to either retain or review them.

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EXAMINATION POLICIES

Refer to School of Medicine policies and procedures: https://www.med.wayne.edu/ume-academic-
student- programs/policies-and-procedures/


GRADING EXAMINATIONS

Exams written by School of Medicine faculty are graded based on established departmental criteria specified
in the pertinent section of this guide.

The NBME provides each clerkship director with individual examination scores and the mean and the
standard deviation for the NBME Subject Examination for the WSU School of Medicine group administered
that examination. Each Department through its clerkship director and departmental medical education
committee decides how passing scores and honors scores for the written examinations are determined using
this information. Again, this information is published in each clerkship syllabus.



8.10   WSUSOM MS3 CLERKSHIP NBME SUBJECT EXAM GRADING POLICY


Guaranteed Minimum Pass (GMP) Level The GMP is the minimal NBME subject exam score with which
students are guaranteed to pass the exam. The GMP is derived from the most recent NBME grading
guideline produced for each medical specialty and based on the Modified Angoff procedure, which is a
content-based standard setting approach. No grade appeals will be entertained regarding NBME objective
scoring.

The pass levels are reviewed annually and posted after review of the previous year data. Passing scores
are listed on the course syllabuses for each clerkship.


8.11   CLINICAL PERFORMANCE EVALUATION AND GRADE REPORT FORMS


Evaluation of Student form by those faculty and/or residents who have worked with him/her. Students are
                                 he different competencies. There is also space on the form for comments by
the evaluator, along with suggestions for additional development.

Note that no grade is assigned on this Evaluation form; faculty or residents are allowed to comment on what
grade they believe the student earned in their comments section, but this constitutes only a
recommendation from that evaluator. Your clinical grade, along with other aspects of your grade, are
determined only by the department medical education committee and clerkship director.

Again, it must be emphasized that a particular faculty member or resident who works with you does not assign
grades
work, yet I was                                                                       recommend that grade in


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other comments section; if, in the competencies, a sufficient number of competencies are not ranked high, the
clerkship director (who assigns the grade) will assign a satisfactory grade.

Evaluation forms are completed by one or more faculty members, senior residents, or faculty- resident teams
who have directly observed the student during the course of his/her training on the clerkship. Exactly who
evaluates each student is determined by departmental policy, as is the number of evaluations expected for
each student at the completion of the clerkship. This will vary from clerkship to clerkship based on the
educational structure and curriculum of each clerkship.

Each of the completed Clerkship Evaluation of Student forms is submitted through E*value or New Innovations


mind that each department has discretion as to how to reduce the individual Evaluations to the Summary
Grade Report, e.g. assigning more weight to certain evaluations, simply averaging the evaluations, etc.

The Summary Grade Report Form is a summary of your performance in a clerkship. Detailed on your Grade
Report Form is a summary of the Clerkship Evaluation of Student form(s) and your written exam and other
assessment scores. At the bottom of the Grade Report is your final course grade. These Grade Report Forms


Report Form from each clerkship through E*value or New Innovations. The School of Medicine
administration recommends that you keep them in a portfolio for periodic reflection and review.



8.12 GRADING POLICIES


DETERMINATION OF CLERKSHIP FINAL CLINICAL EVALUATIONS

Either all or a large component of your final clinical evaluation is determined by the Clerkship Evaluations of
Student. Some clerkships also factor in an observed standardized examination of students to determine the
final clinical evaluation.

The evaluations of all faculty, residents and teams that have worked with the student are summarized on the
Clerkship Grade Report form. The process of summarizing these evaluations, e.g., weighting certain
evaluations, etc., is determined by and at the discretion of each clerkship. Many clerkships also provide
evaluations from individual faculty and residents.

The Final Clinical Evaluation for the clerkship is reported on the Clerkship Summary Grade Report form.


                                                                                               a minimum of
85% of the points available. Points are calculated based on the ranking for each of the evaluation items. In
addition, the student cannot have lower than a 3 on the final clerkship evaluation to be considered for clinical
outstanding. The final grade will be determined by the Clerkship Director.

A 1 in any clerkship evaluation item may result in failure of the clerkship.



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REQUIREMENT TO COMPLETE ALL CLERKSHIP ASSIGNMENTS

Students are required to complete all clerkship assignments before the end of the clerkship (including the
logging of all Procedures and Encounters (PxDx) cases). The deadline for logging all PxDx cases is midnight of the
Wednesday of the last week of the rotation. The clerkships establish the deadlines for other assignments. If
assignments are not completed by the respective deadlines, the student will be considered incomplete. The
incomplete will change to a final grade when the assignments, including PxDx, are completed and turned in.

    Requirements common to all clerkships
        1. PxDx logging
        2. Self-evaluation
        3. Mid clerkship evaluation
        4. Evaluation of the clerkship
        5. Any books, pagers, parking badges issued by the clerkship
        6. Written or other assignments


Deadlines are monitored by the SOM and reports issued at intervals. Students not in compliance with these
deadlines will receive an incomplete grade. Non-completion of these will be noted by clerkship directors who
may subtract points from the professionalism component of the final evaluation and may result in the student
being ineligible for honors grade in the clerkship.

    Time requirement for completing assignments
        1. PxDx logging :Wed of last week of rotation or 24 hours prior to shelf exam
        2. Self-evaluation 48 hours after shelf exam
        3. Mid clerkship evaluation 2 or 4 week halfway point of clerkship
        4. Evaluation of the clerkship 48 hours after shelf exam
        5. Any books, pagers, parking badges issued by the clerkship at time of shelf exam
        6. Written or other assignments 24 hours prior to shelf exam


CLINICAL ENCOUNTERS AND PROCEDURES REQUIREMENT

Students are required to log all required clinical encounters and procedures (Px/Dx) in E*value or New
Innovations. Clerkship directors need to ensure that all students are having similar educational experiences at
all sites. By logging required cases, clerkship directors and the Office of Assessment will have the opportunity
to observe in real-time what experiences are lacking. Students also will be able to track these experiences to
build their portfolio of their Years 3 and 4 clinical skills. Additionally, this requirement will allow students to
start the habit of logging, which is a requirement in residency. Each clerkship will list the required experiences
PXDX in their respective syllabi.


DEADLINE FOR LOGGING
The deadline for logging all PxDx cases is midnight of the Wednesday of the last week of the rotation.


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8.13 DETERMINATION OF FINAL CLERKSHIP GRADES


Criteria for Clerkship Honors and Unsatisfactory grades are as follows:
                                                                     uation, assignments and examination) must
be satisfactory for a student to be given a passing grade. Outstanding clinical performance does not
compensate for a failing exam score, nor does an Outstanding exam score compensate for unsatisfactory clinical
performance. Failure in one or the other category results in an unsatisfactory grade.

           Performance in both components of the              grade must be Outstanding for a student to be
           given an Honors grade. In addition, the student must meet all clerkship deadlines and other criteria
           to be eligible for an Honors grade.

           At the discretion of the department, certain failing students may be offered the opportunity to repeat
           departmental examinations (written or oral). Please note that if clinical performance was notably
           poor, an Unsatisfactory grade may be given without offering a re-examination, and the student will
           then be required to repeat the rotation. There is no presumption that each student will automatically
           be given the opportunity to repeat an unsatisfactory examination.

           If the student performs adequately on the re-examination, the transcript grade will be recorded as
                                   remediation).

           If after re-examination, the person is still unsatisfactory, the grade remains "U", and the student will
           then be required to repeat the clerkship (including both clinical time and all examinations).

           The repeated clerkship clinical time is individualized it may be one or two months of clinical time.
           The situation will be reviewed by the SOM and the assistant dean for clinical education and the
           associate dean for student affairs.


Note: students will be scheduled & assessed fees for any repeated coursework.


8.14 REPORTING CLERKSHIP GRADES



grades are discussed by the School of Medicine Clerkship Committee, after which they are recorded by Records
and Registration. Grades are then made available in E*value or new innovation to students. Students will have
a copy of the Grade Report and Clinical Evaluations in their E*value or new innovation file for each clerkship.


The Clerkship Directors and staff of the clerkships are NOT permitted to report the results of examinations,
clinical evaluations, or overall clerkship grades directly to individual students outside of the process described
in the preceding paragraph.


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8.15   CRITERIA FOR AWARDING YEAR III HONORS

There are two different ways to receive Comprehensive Honors in Year 3. The first uses the number of months
of clerkship honors (e.g., honoring Internal Medicine results in two months of honors whereas honoring Family
Medicine results in one month of honors). Any student with a minimum of 6 months of Honors in Year 3
clerkships receives Year 3 Comprehensive Honors.

The second uses the overall ranking system (described in detail in #8. Determination of Standard Scores section
below). Any student who achieves Superb Clinical Skills (a score of 35 or greater),but has less than 6 months of


transcript. Grades for the Elective and Continuity Clerkships do NOT count toward Year 3 honors.

A reported Unsatisfactory grade in any clerkship or documented unprofessional behavior will automatically
disqualify a student from receiving Year III Comprehensive Honors.



8.16   REMEDIATION OF FAILED EXAMINATIONS

Remediation (retake) of failed examinations will generally be limited to one of two time periods, i.e., either at
the time of a regularly scheduled examination or at a special examination session. Generally, special
examination sessions are scheduled in early January (to take advantage of the study time available during the
winter break) and in early July/June (to take advantage of the study time available between completion of
clerkships at the end of an academic year and the July testing date).

Repeated exams may not be taken while the student is taking another clerkship.


ONE FAILED EXAM

Each department allows both special testing dates for remediation of failed or missed clerkship examinations in
addition to regularly scheduled examinations. The exact dates for scheduled repeat examinations will be
established by the Director of Assessment in consultation with the Assistant Dean of Clinical Education. Once a
student fails a written clerkship examination, the student, his or her counselor in the office of the Associate
Dean of Student Affairs, and the Assistant Dean of Clinical Education will develop a written plan for examination
remediation.

It is recommended that students attempt to remediate failed clerkship examinations as early in the academic
year as possible. In general, students with a written examination failure during the months of July through
December will be scheduled for the January special test date, while students with an examination failure
between January and June will retake their failed exam in June/July.




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TWO FAILED EXAMS

Students with more than one outstanding NBME failure will be stopped in their progress in order to remediate
their examinations. Only one exam may be taken at the January or July special test date. They will not be able to
resume clinical work until both exams have been successfully remediated.


REPEAT EXAMS DURING CLERKSHIPS

Clerkship directors have been instructed to release students for the purpose of re- examination dates , only on
the SOM reexamination dates in Jan/June. No student will be released from a clerkship to take another
clerkship examination other than as stated herein, since no student is allowed to take a make-up or repeat
examination while enrolled in another clerkship.

If a student intends to take a make-up exam at a time other than the special examination session (after
consultation and approval from his/her counselor and Assistant Dean of Clinical Education), he/she may do so
only if not currently on a clerkship or elective. This rule applies also for rising senior students with outstanding
deficiencies at the end of June of their third year; students will not receive senior elective credit until they
complete all outstanding YR III work, and students may not repeat a clerkship examination while enrolled in
an elective unless given special permission by the Assistant Dean of Clinical Education.


SCORING

Makeup exams will be subject to the guaranteed minimum pass scores previously published for the year
in which the student took the course.


8.17   REMEDIATION OF FAILED CLINICAL WORK OR FAILED COURSES


Students who fail more than one NBME examination or fail a clerkship clinically will be required to meet with
the Promotions Subcommittee and will be placed on Academic Probation for the remainder of Year III. The
Promotions Subcommittee consists of the Assistant Dean of Clinical Education, Assistant Dean of Student
                                                          counselor.

The Promotions Subcommittee will decide the remediation requirement for the student. Students will be
required to repeat clinical work after a clerkship failure or after a second failure of the clerkship
examination. Students will be assessed fees for any repeated coursework. It is emphasized again that
students must satisfactorily complete all Year III requirements and pass all Year III Clerkships before starting
Year IV work.




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8.18 OVERALL COMPARATIVE PERFORMANCE IN MEDICAL SCHOOL (YEARS 1-3)



performance over the first three years of medical school. The new system uses two dimensions Academic
Performance and Clinical Skills plus end of year Comprehensive Honors, to arrive at an overall descriptive
term (Exceptional, Outstanding, Excellent, Very Good, Good, and Satisfactory)

OVERALL COMPARATIVE PERFORMANCE IN MEDICAL SCHOOL


 Performance      Approximate
                                            Level of Academic Performance and Clinical Performance
  Descriptor       Percentage


                                   Outstanding academic performance and Superb clinical performance PLUS
  Exceptional      5%
                                   Comprehensive Honors for all 3 Years


  Outstanding      25%             Outstanding academic performance and Superb clinical performance

                                   Outstanding academic performance and Proficient clinical performance
  Excellent        30%
                                   OR Very Good academic performance and Superb clinical performance


                                   Very Good academic performance and Proficient clinical performance
  Very Good        20%
                                   OR Good academic performance and Superb clinical performance


  Good             20%             Good academic performance and Proficient clinical performance




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  ACADEMIC PERFORMANCE BASIC SCIENCE (Average Standardized score over Years 1-2)

  [(Year 1 Standardized score plus Year 2 Standardized score divided by 2]

  Outstanding Academic

  Very Good Academic Performance = 431 to 485 (approximately 20%)




 CLINICAL PERFORMANCE (Year 3 Grades Converted to Scores)



 Proficient Clinical Performance = 14 to 34 points (approximately 74%)



 CLINICAL SKILLS (Year 3 Grades Converted to Scores)

 Clerkship grades are converted to scores, where Honors = 4 points, Satisfactory with Commendations = 3
 points, Satisfactory = 2 points, and Unsatisfactory = 0 points.

 Each clerkship (grade) score is then multiplied by the appropriate number of months (e.g., honoring Surgery
 would be 4 x 2 = 8 points versus honoring Psychiatry would be 4 x 1 = 4 points).

 Clerkship scores are summed across all clerkships. The maximum possible score is 44 (which would result if a
 student honored all 11 months of Year 3 clerkships).

 Getting Satisfactory for all clerkships would result in a score of 22. Students who have failed a clerkship will get
 a score of zero for the clerkship even after the clerkship has been remediated.




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8.19   GRADE APPEALS


Grade appeals for clinical clerkships follow the polices outlined in the PP manual (link). There are several special
situations to note, since there are multiple subjective evaluations for clerkships. Students are not allowed to


student may not contact an evaluator (be it faculty, resident, site director) at any point of a grade appeal. In
doing so the student immediately forfeits his/her right to appeal and the process is immediately stopped. All
communication regarding appeals is through the clerkship director and the Assistant Dean for Clinical Education.

In appealing a grade, the student must wait until the grade is awarded. This occurs later than the availability of
evaluations. Pre appealing a grade for example asking the clerkship to disregard an evaluation prior to the
grade being awarded is not allowed.

In appealing the grade, the student should write a formal appeal letter to the clerkship director, copying the
Assistant Dean for Clinical Education. The appeal will be dealt with as outlined in the policies referenced
previously.



8.20   ACADEMIC PROBATION DURING YR III


Refer to P&P manual



8.21    ELECTIVES


YR III ELECTIVE

The YR III curriculum includes 8 required clerkships (Continuity Clinic Clerkship, Internal Medicine, Surgery,
Pediatrics, Family Medicine, Psychiatry, Neurology and Obstetrics and Gynecology), which comprise 11
months of study. The twelfth month of your Year III curriculum is a month of elective clinical time.

As a junior medical student, you may select any elective available to Year III students. A listing of those
electives will be provided to you at the time you are contacted by Records and Registration to schedule an
elective.
Some electives have specific clerkship prerequisites. Note, however, that your elective could be changed if a
course is failed that is a required prerequisite of the elective. This is at the discretion of the Department
offering the elective and the School of Medicine Administration.

Away electives are not possible during the 3rd year curriculum. Independent electives are allowed but will have
to be done with WSUSOM faculty. Independent electives will be carefully scrutinized by the Assistant Dean for
Clinical Education prior to getting necessary approval. Continuation of previously established research during
the elective period is an example of an independent proposal likely to be approved and actually encouraged.


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During the elective month there is a separate assignment involving writing a critical review. This assignment
must be completed in order to gain credit for the elective month and is subject to the timelines and completion
dates outlined for all clerkships.



YEAR III ELECTIVE AND THE CONTINUITY CLINIC CLERKSHIP

One of the critical components of the Year III curriculum is the organization of the primary care clerkships
(Internal Medicine, Family Medicine, and Pediatrics) which allows completion of the Continuity Clinic Clerkship
(CCC). The CCC requires that you be present for a certain number of sessions at your assigned site during the
six (6) months that you are taking the Internal Medicine, Family Medicine and Pediatric clerkships and your
elective. You must continue to attend your CCC weekly during your elective month

All electives taken are to be evaluated by each student in the School of Medicine. Completion of this required
evaluation of the elective by the student is a requirement to receive credit for the clerkship.

Students are not permitted to schedule electives with physician family members.


ELECTIVE GRADES
You will be eligible for the clinical grades of Honors, Satisfactory, or Unsatisfactory in electives. A grade of S+
(Satisfactory with commendations) is not given for electives. The elective taken during Year III is not counted
towards the number of Honors course evaluations needed to achieve YR III Honors.


CHANGING YOUR YR III ELECTIVE

The following policy refers only to changes involving electives. Changes in the order of clerkships (i.e., your
clerkship group), the sites of your clerkship, or changes to your required senior courses are not governed by
the following policy.

           ALL requests to change electives are initiated either through Records and Registration or the Assistant
           Dean of Clinical Education. Students should list their current program, requested change (the new
           course and alternatives, if indicated), and reason for the change on the Add/Drop Change form
           available in Student Affairs, Records and Registration, and Academic Affairs offices.

           No changes will be made without the required signed Add/Drop form; if you have previously
           communicated with administration regarding the change by email, please submit a copy of the
           relevant discussion along with the change request so that all documentation is together that needs
           to be reviewed. To reiterate, any explanations, descriptions of extenuating circumstances, etc.
           including copies of email correspondence must be submitted with the Add/Drop form, as a decision
           will be made on the program change only with materials available at that time; no attempt will be
           made by School of Medicine Administration to correlate an Add/Drop form with past submitted
           information or verbal discussions.


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        All requests to change electives must be submitted at least 45 days before the start of the elective.
        Note that all paperwork to effect a change must be submitted at least 45 days before the start of the
        elective in question.

        There will generally be no exceptions to the 45-day limit for changing electives, and in the case where
        the 45-day limit is waived it is only for extenuating circumstances beyond the control of the student
        or for academic intervention by the SOM.

        If requested by administration, or a
        Dean of Clinical Education for discussion of his or her modified program. Once approved, the
        documents will be forwarded to the Office of Records and Registration for modification of the
        stu
        Records and Registration.

        It is to your advantage to submit the request as soon as you know you want to change your program,
        since the elective you wish to change into may not be available at a later time.

        To request consideration for a program change with less than 45 days before the start of the course
        because of extenuating circumstances, you must personally meet with the Assistant Dean of Clinical
        Education or his/her designee.

        Students are requested to not directly contact the elective coordinator, department, hospital, etc. to
        discuss their desire to change their program/elective. Doing so puts the coordinator in an awkward
        position as the availability of space in their elective does not necessarily mean that your elective
        change will be approved by the School of Medicine. Similarly, a program change suggested by your
        advisor or another faculty member is not automatically approved without review by School of
        Medicine administration via the procedures detailed above.

        Decisions regarding the approval or disapproval of an elective change are final, irrespective of the
                                                            request.

        All program changes must follow the policies of the School of Medicine, and be approved by School
        of Medicine administration. There are several reasons for possibly denying approval even though it
        appears to you that the course is available, including possible obligations by the School of Medicine
        to fill spots once students have indicated their desire to take them; other changes that have been
        recorded but not communicated to the coordinator or department or hospital that takes up the free
        spot; academic concerns after review of a
        program change made by a student that does not have prior School of Medicine approval may not be
        recognized by the School of Medicine, resulting in denial of credit towards graduation for that
        elective.




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8.22   THE YEAR III OBJECTIVE STRUCTURED CLINICAL EXAM (OSCE)


Each Year III student will participate in the Objective Structured Clinical Examination (OSCE) given during Year III
to assess his or her clinical skills. The OSCE is a series of simulated clinical encounters during which students
perform clinical tasks under the direct observation of faculty, proctors, and standardized patients. The Year 3
OSCE is patterned after the USMLE Step 2 CS examination and includes several clinical stations where the
student is expected to obtain a history from a patient with a particular chief complaint and perform a physical
examination appropriate to the chief complaint. Students also are expected to complete a post- encounter note
that encompasses the data the student has gathered, as well as the synthesis of the data including differential
diagnosis and first steps of a management plan.


be used prescriptively by students, their advisors and School of Medicine administration in the preparation or
modification of Year IV elective schedules, so that students and their advisors may address areas of relative
weakness prior to graduation. The School
program based upon OSCE deficiencies. Participation in the OSCE and completion of prescribed remediation in
the OSCE are both mandatory. Failure to complete OSCE remediation could be grounds for denial of degree
completion. Failure to complete all required activities of the OSCE and remediation will result in the student
being ineligible for year 4 credit ie the student cannot start year 4 until all year 3 work including the OSCE is
completed.

Because one of the objectives of the Year III OSCE is to prepare students for the USMLE Step 2CS examination,
students must complete the OSCE and allow time for remediation (up to 1 month after the OSCE) before they
schedule for Step 2CS. This scheduling guideline provides at-risk students with the opportunity to practice and
prepare further in a supportive setting before taking Step 2 CS.

The OSCE must be completed and remediated (if necessary) prior to beginning year 4. Those students who fail
the remediation and retake will meet with the Assistant Dean for Clinical Education for review of year 4
schedules, possible revision of year 4 schedules and planning for further work.




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8.23 STUDENT RESPONSIBILITY AND REQUIRED EXPERIENCE TRACKING AND CLERKSHIP/ELECTIVE
     EVALUATIONS


requirements for awarding the medical degree, the requirements for graduation, and the rules regarding away
electives. Do not procrastinate and put off completion of requirements until the end of your senior year when
you have insufficient time to complete them before graduation.


In addition, you are required to complete an evaluation of each clerkship and elective course you complete during
your clinical years. This requirement applies to both junior and senior elective courses as well as all required junior
and senior clerkships. The School of Medicine Administration monitors the educational process with the purpose
of continual improvement. To that end, the School of Medicine requires the use of online systems to assist the
Administration in gathering information regarding case exposure, procedures and assessment of educational
programs by students. The policies and procedures for evaluating elective courses will be modified as new or
modified online evaluation systems become available. No grade will be recorded by the Office of Records and
Registration until the student has completed the evaluation for each clerkship or elective.


The School of Medicine may at times require students to complete surveys for ongoing educational research,
online educational activities for regulatory compliance (e.g., HIPAA, Universal Precautions, etc.) or other
activities not listed or announced previously. Once these are announced via email or other means, students will
complete the requirement in a timely fashion.



8.24   NEEDLESTICKS AND OTHER EXPOSURE TO BODY FLUIDS



natural consequence of caring for sick patients. Medical students have an increased risk for injuries due to
needlesticks or contact with other sharp instruments since they may not yet be skilled in the procedures being
performed. At all times, if a student is uncomfortable performing an assigned procedure because they feel
either that their skills are inadequate or that they need more supervision/guidance than is available, then that
student MUST refrain from doing the procedure.

Never attempt a procedure you are uncomfortable performing.




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It is the obligation of the School of Medicine to formally educate its students regarding the prevention of
occupational injuries. In addition, the school has developed programs by which students who are injured or
exposed to blood or body fluids in the course of their training have the knowledge to properly seek care. Such
programs are formally presented to students in the first, second and third years of the medical school
curriculum, most recently as part of your Year 3 Orientation. In the event that a student is stuck with a needle
or other sharp instrument, or sustains exposure to a body fluid on mucus membranes or non-intact skin, the
student must report this to his/her senior resident or attending physician immediately. A written report must
be completed detailing the circumstances of the exposure. The student must also notify the School of
                   l Student Health Officer of the reported incident.

The medical school has established relationships through affiliation agreements with all of our Clinical Partner
Sites (hospitals and ambulatory sites). Specific policies must be followed when an exposure or potential
exposure has occurred:

           A student who sustains an exposure to blood and/or body fluids in the course of a clinical assignment
           at any of our affiliated clinical institutions should immediately seek care in the designated
           department of that facility. These departments are listed for each institution on the laminated cards
           that are distributed at Year 3 Orientation. You should keep this list for your potential use during Year
           4 as well. If the incident occurs after hours or if you are unsure of where you should seek care at the
                                                                           Department.

           When a student receives initial care for a needlestick or other exposure incident at one of our partner
           institutions, either the institution waives the cost or WSU Risk Management covers the cost of the
           initial visit at the emergency room. This policy applies only to care of the initial event, and does not
           obligate any hospital or clinic to provide or pay for ongoing or long-term care resulting from an injury,
           accident or exposure which might have occurred on their premises.

           After the initial treatment encounter at the clinical institution, students should subsequently follow-
           up with their personal physician using their own health insurance coverage within five days of the
           incident.

           All injured students MUST complete a short Wayne State University Report of Injury form for the WSU
           Office of Risk Management within 48 hours after the incident. This form is online at:
           http://idrm.wayne.edu/risk/student-forms.php. It is important to follow the instructions on that
           page since students only need to fill out the top portion of the form. The form may be submitted
           electronically to WSU Risk Management. If there are any questions about that form, the WSU Office
           of Risk Management can be contacted at (313) 577-3110.

           A copy of the Report of Injury form must be submitted at the same time to the Medical Student Health
           Officer at healthofficer@med.wayne.edu.




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8.25   PARKING AT ASSIGNED HOSPITALS

Parking is at a premium at many of the hospitals to which you will be assigned or electively rotate. However,
some of the hospitals provide contiguous parking in employee lots or structures; check the information at
the end of this document and contact the departments to which you are assigned for more information.

Because of a supply-demand mismatch at the Detroit Medical Center Central Campus, contiguous parking in
well-lit, safe lots or structures is not always provided by the hospital or department to which you are
assigned. Students should understand that WSU does not control the lots and structures owned by the DMC
and its member Hospitals.

The DMC has indicated that they will only be able to provide parking for students assigned to the DMC as
their clinical site. No parking will be available for students in DMC lots on electives or non-DMC assigned
clinical students. Student vehicles that are found to be in DMC lots or structures during the day may be
subjected to ticketing/towing.

The School of Medicine STRONGLY advises all students to avoid parking on public streets at any time .

The WSU parking cards and tags will be distributed either by the WSU department to which students are
assigned or through the DMC Office of Medical Education. Failure to return parking cards and tags immediately
upon completion of a rotation or elective may lead to the imposition of late fees and/or administrative
sanctions being applied to the student. Please see above requirements for graduation.

Parking Cards, badges and pagers not returned as required at the end of year 3 will preclude the student from
starting year 4. No credit for any year 4 courses will be awarded until the student satisfactorily completes these
yr3 requirements.




8.26   REQUESTS FOR EXCUSED ABSENCES FOR RELIGIOUS HOLIDAYS AND OTHER ABSENCES

The School of Medicine recognizes and appreciates the diverse cultural and religious backgrounds of its
students. Approved holidays are listed on the Year III schedule found elsewhere in this document. Everyone is
off on those days, and you are not required to be at your Year III clerkships on those days. However, there are
no official days off during your junior and senior electives. For students on electives, all days off are determined
by the clinical service to which you are assigned for each month.

Req


to contact the Clerkship/Elective Director to request the time off if the request is considered appropriate. The
counselor and student will work with the Clerkship/Elective Director to determine how/if the time can be made
up. Excused absences may not be granted by the Clerkship/Elective if this policy is not followed.




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Excused absences for non-medical reasons (including weddings, family gatherings, travel, vacation) are not
normally granted. The exception is presentation of the students own scientific work at local or national
meetings. A guideline for excused time off for these meetings is one day for local and two days for national
meetings, including travel to and from the site. This allows for the student to present his/her scientific work
and get a flavor of the meeting. Attendance for the entirety of a meeting is usually not possible if it does not
conform to these time restraints. Notably travel to international or distant (eg. Hawaii) meetings is not possible
because of the travel times required. Attendance at meetings that do not involv
own scientific work is not a valid reason to request and excused absence.

Your attendance is expected and required at all other times by the faculty and the Clerkship Director or Elective
Coordinator for satisfactory completion of each clinical clerkship or elective. Not appearing for clinical
responsibilities and assignments is unprofessional as well. Indeed, unexcused absences will severely affect your
grade; as detailed elsewhere in the policies and procedures for each clerkship, you may fail a clerkship or elective
if you do not show up for an assigned activity, miss call, etc.

If for any reason you miss clinical time for illness, family emergency, weather delays, etc., you should
immediately notify your supervising resident/faculty member or site coordinator and the Clerkship Director or


approved/excused absence from the Office of Student Affairs. To do so you must contact the Assistant Dean of
Student Affairs or your counselor. When you return from an excused absence, plan to discuss making up the
missed clinical time with the Clerkship.



8.27   CHANGES TO THESE CURRICULUM GUIDELINES

Changes may be made to the Year III clinical curriculum at any time. The administration will notify you by e-
mail when a change has been made. You should check your e-mail daily and the web page for possible
changes to the School of Medicine policies and procedures. It is your responsibility to keep up with the policies
as they may change through the academic year.



8.28   DUTY HOURS


Duty hours are defined as all educational activities in clerkships and electives during the third and fourth years
of the medical school curriculum, including inpatient and outpatient care, administrative activities related to
patient care (charting, discharge planning, transfer planning, etc.), and scheduled educational activities such
as conferences, rounds, etc. Duty hours do not include reading and preparation time spent away from the
duty site.




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Both students and their supervising attending faculty and residents are reminded that medical students are here
in an educational capacity. They are not on the floors, clinics, etc. to provide indispensable patient care.
Consequently, there may be times when the educational requirements of the program dictate that patient care
time be curtailed; in order to allow students to attend scheduled conferences, lectures and other required
educational activities.

 Duty hours will mirror those published by the ACGME as of March 2017 outlined as follows:

      Duty hours must be limited to 80 hours per week, averaged over a 4 week (one month) clerkship
      or elective. These 80 hours include in-house call activities.

              For example, a student may work 90 hours in one week, 60 hours in the next week, and two 75-
              hour work weeks during a 4 week (one month) clerkship. The average of 75 hours per week
              satisfies the above rule.

      Two 90-hour work weeks and two 70 hour work weeks also satisfy the above rule.


      Students must be provided with 1 day off in 7, free from all educational and clinical responsibilities,
      averaged over a four week (one month) clerkship or elective, inclusive of call.

      For the purposes of this policy, four week periods of a clerkship are treated the same as a one month
      elective.

      For 2 month clerkships, the rules stated herein apply to each of the 4 week (one month) portions
      of the clerkship.

      One day is defined as one continuous 24-hour period free from all clinical, educational and
      administrative activities.

              For example, a student is required to work from Monday through the following Friday 12 days
              and then gets the entire following weekend off. The two days off that weekend satisfies the
              requirement that the student has one day off in 7.

      Call: overnight call will be scheduled no more frequently than every third night




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ON-CALL ACTIVITIES

The objective of on-call activities is to provide medical students with continuity of care experiences and
additional patient care experience that would not be available during a regular work day.

On-Call activities that do not meaningfully provide for this objective should be critically evaluated and
terminated from the medical school schedule. In-house call is defined as those duty hours beyond the normal
work day when students are required to be immediately available in their assigned institution.

           In-house call must not occur more often than once every 7 days averaged over the four week period.

           Continuous in-house call does not have a limit number of hours per on-call event. Rather, the policy of
           a maximum of 80 hours/week averaged over 4 weeks and one day off every 7 days averaged over 4
           weeks must be followed.

           On some services,
           service. These are subject to the aforementioned limits of 80 hours/week and 1 in 7 days off.
           Every effort is made by the clerkship to work didactic activities around these schedules.

REPORTING OF DUTY HOURS VIOLATIONS

Responsibility for reporting of Duty Hours Violation lies with the student. Students should report a violation of
duty hours by logging into E*value or new innovations                         -the-                    our violation
form is located there. The form should be filled out when the duty hour violation occurs. The report is
automatically sent to the Clerkship Director and the Assistant Dean of Clinical. Education at the time of student
submission. The Clerkship Director and/or Assistant Dean of Clinical Education will address the violation at the
time of occurrence and record results in E*value or new innovations.

8.29 OTHER IMPORTANT INFORMATION

Refer to the Policies and Procedures Manual for information about:
           Duty Hours and Work Environment
           Clinical Student Dress and Grooming Standards
           Student Mistreatment Policy
           Sexual Harassment Statute and Policy




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                                 YEAR IV POLICIES




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9. YEAR IV POLICIES AND PROCEDURES


In this section:
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9.2   PROMOTION OF YEAR III STUDENTS TO YEAR IV (SENIOR) STATUS
9.3   THE YEAR IV SCHEDULING PROCESS
9.4   GENERAL POLICIES, SENIOR COURSE REQUIREMENTS AND SENIOR PROGRAM SCHEDULING
9.5   COURSE CHANGES: ADD/DROPS
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9.1     OVERVIEW OF THE YEAR 4 CLINICAL CURRICULUM

In the Senior Year (interchangeably referred to as Y4, year 4, or segment 4) of the medical school curriculum,
students are required to complete a minimum number of months of coursework. They will also have to fulfill
graduation requirements for credits gained. at least Ten (10) months of study between June1 and May 31. There
are two required clerkships of one-month duration each: Inpatient Sub- Internship and Emergency Medicine.
One month is the Step 2 prep course. The other months include elective courses, with the intention that you plan
a balanced program of study to complete your medical school education. Co-curricular credit can be applied to
year 4 for AY 19-20.

AY 2019-20
12 months available June 1 to May 31
      Subinternship                  1
      Emergency Medicine             1
      Step 2 Prep                    1
      Electives                      7
      Co curricular                  -1 (counts as 1 month)
      Interviewing/Vacation          2

AY 2020-21(preliminary)
13 months available April 8 2020 to May 31

AY 2021-22(preliminary)
14 months available April 1 to May 31


9.2. PROMOTION OF YEAR III STUDENTS TO YEAR IV (SENIOR) STATUS

At the end of Year III, students are promoted to Year IV upon the recommendation of the Clerkship Committee to
the School of Medicine Promotions Committee. It is important to note that students are not promoted to Year IV
status until all requirements of Year III are met. This includes remediation of any and all Year III courses and
examinations, including Incomplete grades. This is an extremely important issue, since senior electives taken
without clearing all Year III deficiencies means that those electives will not be credited toward graduation. It is the

Students will also be required to schedule step 2 CK and CS within the time period established by the WSUSOM.

N.B. If a student has not completed the year 3 elective prior to starting y4, it will have to be completed first, prior
to starting any year 4 curriculum.

         REQUIRMENTS FOR PROMOTION TO YEAR 4
         Completion of all year 3 work
         OSCE Passing score or successful remediation
         Scheduling Step 2 CK and C-Summary




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9.3. THE YEAR IV SCHEDULING PROCESS

    1. The dates for entering your requests for senior courses into the scheduling system will be disseminated
       by e-mail. A class meeting will be announced and held prior to the start of senior scheduling to discuss
       the senior program scheduling process and the lottery system.
    2. The web-based scheduling system will be used by students to input their proposed senior program for
       their required and elective senior courses. Details of how the scheduling assignment process functions
       will be provided well in advance of the scheduling period.
    3. Results of the computerized scheduling system are final.
    4. Students who fail to submit their course requests by the announced date for the closing of the
       scheduling process system will not be allowed to enter requests into the system at a later date. These
       students will meet with the Assistant Dean of Clinical Education or his/her designee to schedule their
       rotations from whatever choices remain after scheduling for all other students is completed.
    5. As new scheduling software is installed and adapted for on line scheduling and grading, some
       adjustments to the process and policies will be necessary.



9.4. GENERAL POLICIES, SENIOR COURSE REQUIREMENTS AND SENIOR PROGRAM SCHEDULING

    1. Year IV begins on June 1 2019, and ends on May 31,2020. It will begin in April 2020 and the official date
       will be announced at a later date as the calendar is established. In contrast to the Year III rotations,
       each senior year course follows the calendar month, beginning on the first of the month and ending on
       the last day of the month. N.B. even if those days are weekends or holidays, or university vacations.
    2. Each HOME elective is one (calendar) month in length. AWAY (including International) electives may
       start on a different day than the first of the month, but they must be at least four (4) weeks long.
    3. Two week away electives must be done consecutively in one month. If done, each requires a passing
       evaluation from the preceptor in order to get credit for the month.
    4. Students are required to take a minimum of ten (10) months of course work during this academic year
       (2019-20). They may count the earned elective credit for the month of Co- Curricular program if
       appropriate.
    5. Two months are thus allowed as vacation/ interview months.
    6. If a student elects a clerkship of more than four but less than eight weeks duration, he or she will be
       awarded only one month of academic credit. Thus, completion of two 6-week electives earns only 2
       months of elective credit, not 3 months of credit. (this applies to away rotations).
    7. The 10 months of course work must include at a minimum:
            Two required senior clerkships (see below)
            Step 2 prep course
            Seven elective courses




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    8. These courses should constitute a Balanced Program of study. Generally, students are encouraged to
       take no more than three electives in any one specialty, although allowances will be made for highly
       completive specialties, as necessitated by the current environment, subject to approval by the Assistant
       Dean for Clinical Education.
    9. Upon completion of Phase 2 of the Year IV scheduling process, all student schedules will be reviewed
       for balance as described above. The review will be done by Clinical Education subcommittee and the
       Academic and Student Programs office. Students with unbalanced schedules will be required to meet
       with the Assistant Dean for Clinical Education to discuss their proposed plan of study. The Year III
       Elective will not be considered in evaluating the Year IV schedule for balance.
    10. All of the clerkships and elective courses are five to seven full days of work each week. No vacations or
        other travel (e.g., travel to/from other sites, etc.) are allowed during electives or required YR IV
        clerkships unless prior arrangements in writing are made with the course director and approved by the
        Assistant Dean of Clinical Education. Exceptions to this policy, allowing limited number of days away
        from electives for residency interviews, is discussed below.
    11. Away electives sometimes are several days out of synch with the WSUSOM calendar. If there are less
        than 3 days of overlap the student may petition the course director for schedule adjustments. Any
        missed days will need to be made up to the cours
        Academic and Student Programs office, who will work with the student to make reasonable
        adjustments.
    12. Each student should work with his/her senior program faculty advisor to develop his/ her senior
        curriculum. Of course, students are free to consult other faculty members for advice as well.
    13. Step 2 Preparation Course: The student will complete the Step 2CK preparation course. This self-
        directed learning course is a one credit hour, satisfactory/unsatisfactory course, that will help provide
        you with additional structure and medical school resources while preparing for the exam. Non-
        completion of ALL the requirements of this course will result in an Unsatisfactory grade with will
        prevent the student from graduating, unless remediated prior to certification.


9.5. COURSE CHANGES: ADD/DROPS

    1. After the scheduling lottery is completed in the late spring of your junior year, the senior required and
       elective programs are disseminated to students, hospitals, departments, etc. Because of contractual
       obligations with clinical partners, policies for changes are strictly adhered to.
    2. Because the timing of scheduling in spring would make it impossible to propose changes to senior
       programs with at least 45 day notice, no changes will be allowed for other than extenuating
       circumstances* to senior programs during the months of June and July.
    3. There will be changes in required course schedules only under extenuating circumstances at any time in
       the academic year.
    4. Changes to elective courses beginning after September 1 st will be allowed with at least 45 days written
       notice.




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    5.
         Clinical Education Sub-Committee. Final approval of each proposed student program is subject to
         approval by Academic and Student Programs office. Unapproved senior programs must be modified by
         students with assistance of the Assistant Dean of Clinical Education.
    6. Students who will not complete all required Year IV courses and requirements by May 31st of each
       academic year must have their Year IV proposed programs reviewed by the Office of Student Affairs
       prior to submitting their proposed program into the lottery request system.
    7. Students are advised to allow for time off for residency interviews during the months of November,
       December or January. Therefore, it is strongly suggested that one of these months should be taken as a
       vacation period designated for residency interviewing. The policy regarding taking time off from
       electives for residency interviews are detailed later in this guide.
    8.
         MUST be taken, and students cannot shorten their programs at a later date. Thus, if a student signs up
         for 10, or 11 months of coursework at the beginning of the year(lottery and selection process) he or
         she WILL BE REQUIRED to satisfactorily complete that number of clerkships.
    9. Up to two months may be taken in research clerkships listed in the School of Medicine on-line Elective
       Catalog (Home electives) or arranged with a research mentor as Independent Study Electives. However,
       these two research clerkship months count towards the balance requirement. Extra months of research
       require the approval of the Assistant Dean for Clinical Education.
    10. It is the student's responsibility to contact the coordinator of the clerkship regarding the date, time and
        location to report to on the first day of the course. This needs to be done at least three days prior to the
        start of the course. If there is confusion or the coordinator/preceptor cannot be reached, the student
        must contact Enrollment Management (Records and Registration) for assistance.
    11. The student is to pay any fees required by other institutions for courses taken at their facilities.
    12. The year 4 program may be changed by the WSUSOM for the student who is not in good academic
        standing, is not making satisfactory academic progress, or is at risk of not graduating on time.
        Additionally, students identified by the Academic Advising Committee, the clinical education
        subcommittee or Academic and Student Programs as having deficiencies in clinical skills as identified by
        clerkship performance or OSCE performance, may have their schedules adjusted to build these clinical
        skills and prepare the student for residency.
    13. These changes will be made in consultation with Student Affairs, Academic and Student programs,
        and/or under the direction of the Vice Dean for Education.
    14. Students who do not meet deadlines for registering and sitting for the step 2 CK and CS exams will not
        be able to complete their schedules after November 1 of the academic year. The class schedule will be
        cancelled until they are in compliance. (Rationale: students are not certifiable for the match until these
        exams are passed).




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      15. Extenuating circumstances will be defined as unforeseeable events outside the control of the student
          including illnesses and deaths. All will require the student to submit documentation. Academic
          circumstances are also included (step failure or course failure). All must be arranged/requested through


      16. Students who have a sudden change in career plans and are changing their residency applications will
          meet with the Assistant Dean for Clinical Education prior to dropping courses in the first 3 months, so
          that the students plan is feasible, reasonable and supported.


9.6   CHANGING A YEAR IV ELECTIVE

      1. The following policy refers only to changes involving electives.
      2. ALL requests to change electives must be initiated through Office of Records and Registration, who
         handles requests that meet the 45-day requirement. Any change within the 45 day requirement that
         involves extenuating circumstances will also involve Student Affairs and the Assistant Dean of Clinical
         Education
      3. The current program, requested change (the new course and alternatives, if indicated), and reason for
         the change will be listed on the Add/Drop Change form available in Student Affairs, Records and
         Registration, and Academic Affairs offices.
      4. No changes will be made without the required signed Add/Drop form; if you have previously
         communicated with administration regarding the change by email, please submit a copy of the relevant
         discussion along with the change request so that all documentation is together that needs to be
         reviewed. To reiterate, any explanations, descriptions of extenuating circumstances, etc. including
         copies of email correspondence must be submitted with the Add/Drop form, as a decision will be made
         on the program change only with materials available at that time; no attempt will be made by School of
         Medicine Administration to correlate an Add/Drop form with past submitted information or verbal
         discussions.
      5. All requests to change electives must be submitted at least 45 days before the start of the elective.
         Note that all paperwork to effect a change must be submitted at least 45 days before the start of the
         elective in question.
      6.
           Dean of Clinical Education for discussion of his or her modified program. Once approved, the
           documents will be fo
           official record. Course directors impacted by the change will be notified by the Office of Records and
           Registration.
      7. It is to your advantage to submit the request as soon as you know you want to change your program,
         since the elective you wish to change into may not be available at a later time. Please note that all of
         our clinical partners welcome students from other medical schools through VSAS and other programs.
         WSU students get first dibs at most programs, but after the initial scheduling the slots may be awarded
         to other students.
      8. You should contact enrollment management to inquire about availability of electives. Individual faculty
         seldom have the information and schedule to know if there is space. Enrollment management will work
         with individual coordinators and faculty to make possible arrangements.


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      9. Decisions regarding the approval or disapproval of a senior elective change are final, irrespective of the
         availabil
      10. All program changes must follow the policies in force at the School of Medicine, and be approved by
          School of Medicine administration. There are several reasons for possibly denying approval even
          though it appears to you that the course is available, including possible obligations by the School of
          Medicine to fill spots once students have indicated their desire to take them; other changes that have
          been recorded but not communicated to the coordinator or department or hospital that takes up the

          program change made by a student that does not have prior School of Medicine approval may not be
          recognized by the School of Medicine, resulting in denial of credit towards graduation for that elective.


9.7   REQUIRED SENIOR CLERKSHIPS

There are two required senior courses:
      1. An Inpatient Sub-Internship clerkship Can be taken in the departments of Internal Medicine, Family
         Medicine, Surgery, or Pediatrics at hospitals designated by each respective department. No other
         inpatient or outpatient medicine course will be accepted for this Sub-Internship requirement.
      2. Emergency Medicine clerkship

These requirements must be fulfilled from the list of courses detailed in an annual senior course scheduling
document. No other courses can be substituted for these three required courses. These courses complete the
sequence of required courses begun in Year III as the core clinical experience.
Once assignments of these required courses have been made, this schedule cannot be changed except in the case
of emergency and/or extenuating circumstances as judged by the Academic and Student programs office and
Student Affairs.


9.8. SPECIAL OR RESTRICTED YEAR IV PROGRAMS

The Clinical Education Subcommittee, Promotions Committee and the Office of the Associate Dean for Academic
and Student Programs (including the Assistant Dean of Clinical Education) are empowered to alter senior
programs to guarantee the highest possible academic achievement and knowledge of the graduates of the Wayne
State University School of Medicine. This includes, but is not limited to, alterations to help remediate academic
difficulties and clinical weakness. No student can receive Year IV credit for Year III make-up work. Year IV
clerkships cannot be substituted for Year III clinical core clerkships.
Students who have not completed Year III by the designated end of the year (May 31 for 2019) of each academic
year or who have an unresolved unsatisfactory grade in any Year III clerkship or whose performance on the end-
of-year Objective Structured Clinical Examination (OSCE) indicates a need for remedial work or who have had
other significant academic difficulties may be required to do one or more of the following:
      1. Make up the deficiency by November 1 of his or her senior academic year. This includes OSCE
         remediation.
      2. Revise his/her previously approved Year IV program to make up a deficiency.




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     3. Take a prescribed program during their senior year.
     4. Not be allowed to take AWAY electives.
     5. Take all senior clerkships (required or elective) at locations determined by School of Medicine
        Administration and/ or Clerkship Directors.


9.9. USMLE STEP 2CK AND STEP 2CS

     1. YR III (Junior) students are not allowed to take time off to take the USMLE Step 2 examinations.
     2. Year IV students are allowed one day off from Senior coursework to take USMLE Step 2 CK and three
        days off for the USMLE Step 2 CS (Clinical Skills, see below). No additional time off from Year IV electives
        or required courses will be allowed to study for the USMLE, or to travel to or from distant testing sites
        or review courses. There will be no exceptions to this policy.
     3. It is recommended that the student schedule Step 2 exams at the end of the step 2 Prep course month.
     4. Once you have a date for either of these exams, please inform your counselor and the involved
        clerkship director/elective coordinator in writing at least 2 weeks before the anticipated days off for the
        exam.
     5. The Administration of the School of Medicine requires that you take Step 2 CS prior to September 30 of
        Year IV. Step 2 CK must be taken by Oct 31. Failure to take the test by that day will result in
        cancellation of the year 4 schedule until it is remediated.
     6. In order to be certified for the match and be eligible to graduate in June, passing scores for both exams
        must be posted (i.e. available to the SOM) by February 1.
     7. The USMLE Step 2 CS and CK exams can be taken in either order.


9.10. TIME OFF FOR RESIDENCY INTERVIEWS

     1. Limited travel during senior courses is now permitted for residency interviews under the following
        policy:
     2. You must obtain permission from the course director or his/her designee after written request for time
        off is submitted at least two weeks before the start of the course.
     3. You are allowed to take up to two days off from the Sub-Internship or Emergency Medicine. Up to five
        days may be taken off from electives for interviewing. No more than 5 days may be taken off in any
        month for residency interview travel. If more than 5 days is needed, the course should be rescheduled
        or alternative schedule for makeup in later months to receive credit.
     4.
     5. Conflicts between the 45 day rule (for adding or dropping a course) and the sudden need for more days
        off should be anticipated by the student when making out the schedule. Last minute interview needs
        will not be a reason for ignoring the 45 day drop/add rule.
     6. Violation of these limits for interviewing will result in:
                An unsatisfactory grade on the transcript
                No credit for that rotation
                A referral to the professionalism committee for absenteeism

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9.11. ISSUES WITH AWAY ELECTIVES

      1. If travel time conflicts with the completion of one elective period and the beginning of another,
         permission must be obtained from the faculty member in charge of the elective from which time will be
         lost for travel prior to beginning the course that will cause the conflict.
      2. Paid clerkships or externships are not acceptable as official electives for credit towards graduation. If
         you get paid for an elective, you cannot also receive course credit for that elective.


9.12. GRADES IN SENIOR COURSES

Students will be evaluated in their respective senior required clerkships and electives, using grading policies and
procedures established and disseminated for each course. See details elsewhere in the Policies and Procedures
Manual for further information regarding grading and remediation policies.
Note carefully that AWAY electives are held to the same requirements of grade submission, and the WSUSOM
must receive evidence of satisfactory performance for the entire period in order to grant credit.
Students who do not finish an elective will receive a U (unsatisfactory) grade.


GRADE APPEALS
Refer elsewhere in the Student Handbook regarding the grade appeal process for clinical electives.


9.3    ELECTIVES

AWAY AND HOME ELECTIVES
AWAY electives are electives that are not at an institution affiliated with WSU-SOM.
HOME electives are those that are provided at an institution affiliated with WSU-SOM.
Students need to submit the necessary paperwork for the approval of all electives other than those in the
WSUSOM catalog with our affiliated institutions.
A student may elect to do more than the minimum number of electives required for graduation.

APPLYING FOR AWAY ELECTIVES

      1. At no time will a student be allowed to complete his or her two required senior clerkships (Sub-Internship
         and Emergency Medicine) outside the usual course offerings (required at HOME).
      2. AWAY electives are available from many medical schools and a variety of clinical facilities. The Office of
         Student Affairs has information regarding various available electives which prior students have taken.
         Counselors also have information regarding AWAY electives that students have found beneficial, as do
         various faculty members in the departments who act as advisors to junior and senior students.




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    3.
         applications from students wishing to do 4 th year clinical AWAY electives at their institutions. This
         service includes a searchable database of electives, a short application, the ability to pay application
         fees online, and tracking of offers and schedules. Detailed helpful information for students about VSAS
         and a list of participating host schools is available at:
                                    https://www.aamc.org/students/medstudents/vsas/

         The WSU School of Medicine Records and Registration office will issue you authorizations to log into
         VSAS. This office as well as the Office of Student Affairs will assist you in the VSAS application process.
    4. The application process for AWAY electives at host schools not yet participating in the VSAS process
       includes first making contact with the medical school or institution in question. In conjunction with your
       cou
       completed. This includes obtaining approval of the Assistant Dean of Clinical Education. The Office of
       Student Affairs will also help you complete other application materials required by host institutions


         forms, transcript requests, proof of health insurance, HIPAA training, respirator fit testing, USMLE
         scores, photo ID) and submit the completed packet to the Office of Student Affairs. Students requesting

         policy will bear the cost. This additional fee will not be reimbursed by the School of Medicine. Be
         certain to read host school requirements carefully and comply with the policies in addition to all WSU
         School of Medicine policies. The Office of Student Affairs will review and mail all of this information to
         the host institution to complete your application for an away elective. Please note that no applications
         will be processed or mailed by the Office of Student Affairs without submission of all of the required
         application materials.
         Programs that do not participate in VSLO will require an affiliation agreement with WSU. Since this
         needs to go through legal review and get signed by the Provost of the university, it will take at least 2
         months to process. Several programs already have affiliation agreements on file with WSU, so it is wise
         to check before committing.
    5. Only one AWAY clerkship request form will be processed for a given month. Students may not try to get

         accepted at two different institutions for the same month necessitates that the student will have to
         cancel one of the electives he or she requested after the request was approved by the institution; this is
         never interpreted favorably by the institution, and could have an impact on future student learning
         there. You are advised to list alternate courses in the same department when making your requests. By
         doing so you will avoid having to secure multiple chairs' signatures for a given month and maximize
         your choices at a given institution.
    6. The Office of Student Affairs will maintain a file of all completed requests and provide the student with a
       copy of the application materials.




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      7. The AAMC Extramural Electives Compendium (usually released in March or April of each academic year)
         contains information of electives offered to visiting students from a variety of institutions. It can be found
         on the web at:
                            http://www.aamc.org/students/medstudents/electives/start.htm


          The compendium contains detailed information regarding the application, approval processes, deadline
          dates, etc. for taking guest electives at all accredited US and Canadian schools. Copies will be available
          in the Office of Records & Registration, the Office of Student Affairs, Student Organizations Office and
          the Shiffman Library. Most medical schools also post their senior year curriculum guide and elective
          offerings on their institutional web-site.
      8. WSU AWAY elective forms are available in the Office of Records & Registration and the Office of Student
         Affairs.
      9. The Office of Records & Registration must receive written confirmation of your acceptance as a guest
         student from the institution at least four weeks prior to the scheduled starting date for the clerkship.
         Please be sure to monitor this requirement carefully. If you do not obtain written confirmation by one
         month before the start of the elective, contact the Office of Student Affairs or the Office of the Assistant
         Dean of Clinical Education for assistance.
      10. As with all other clerkships and electives, failure to attend an approved clerkship will result in an
          unsatisfactory grade. That unsatisfactory grade will be made up at the Detroit Medical Center or Henry
          Ford Health System. The student will also be referred to the professionalism committee.
      11. Students will be given credit only for those AWAY courses for which they have registered and which
          appear on their approved Year 4 program. If changes are made by the student or imposed by the host
          institution, the Office of Records & Registration must be notified immediately.

INDEPENDENT STUDY ELECTIVES

An Independent Study Elective is defined as any elective taken during the clinical curriculum of medical school
(whether during Year III or Year IV) that does not have a previously defined and published syllabus, which
describes the objectives, work hours and environment, resources, and evaluation methods of the course. In
essence, the course is established by and for the particular student. This definition applies to proposed electives
at Wayne State University School of Medicine or one of its affiliated HOME clinical institutions (HOME
Independent Study Electives) as well as courses at other institutions (AWAY Independent Study Electives).
Except in unusual circumstances approved in writing after written petition by the student, students will not be
allowed to complete more than three independent study electives during Years III and IV of medical school. This
includes research electives.




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YR III Independent Study Electives can only be done at the School of Medicine or its affiliated hospitals. YR IV
Independent Study Electives can be done here, elsewhere in the USA, or at international sites (see below).
      1. HOME Independent Study Electives
      2. Requests to establish a HOME Independent Study course for your elective will be considered by the
          Assistant Dean of Clinical Education in conjunction with the relevant Department of the School of
          Medicine. The request to establish an Independent Study Course is initiated at the Office of the

          School of Medicine Independent Study Elective form must be completed in order to process the
          request. Several criteria are used in considering approval of the Independent Study request, including

          career, the presence of a compelling reason to establish such a course (for example the absence of an
          identical elective course at the School of Medicine), etc.
      3. The student must contact the department and/or individual with whom he or she intends to work.
          Together the plan of study is developed and written on the Independent Study form. When completed
          and signed, this is then submitted to the Assistant Dean of Clinical Education for formal approval.
      4. Faculty sponsoring or precepting HOME independent study electives must have a faculty appointment
          with WSUSOM
      5. AWAY Independent Study Electives
      6. AWAY Independent Study Electives are developed and approved in a very similar fashion, except that
          the approval from the Assistant Dean of Clinical Education should be sought before attempting to
          establish the elective. The process is altered in this way to make sure that everyone at the School of
          Medicine will approve the elective before the student contacts the other institution. During Year IV,
          AWAY Independent Study Electives can be arranged when proper documentation of the educational
          value of the elective can be demonstrated.
      7. AWAY International Electives, which by their very nature are an Independent Study Elective because the
          experience is unique, are discussed below.
      8. Additional important points:
           i. If you plan to do an AWAY Independent Study Elective, it is your responsibility to make all
              arrangements regarding the elective, including approval by WSU School of Medicine. No credit will
              be given retroactively for courses taken but not approved before the start of the course.
          ii. Monitor the situation with regard to your AWAY Independent Study Elective requests carefully. If
              you determine that you will not get a requested AWAY Independent Study Elective, you must
              propose a substitute for that course which is then added to your program using the mechanism for
              course changes specified in this program guide.
          iii. All independent study electives must have an evaluation form submitted to the SOM in order to get
               credit. This must be done within 30 days of completion of the elective, and within 3 days for May
               electives (in order to fulfill graduation requirements).
          iv. Preceptors must have a faculty appointment at a School of Medicine. Credentials must be
              submitted in the form of a CV. A current and valid email address is also required.
          v. Independent research electives home or away require submission of an abstract or research report
             to the WSUSOM in addition to the evaluation form. This will document research progress made
             during the month.



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ELECTIVE GRADES
You will be eligible for the usual clinical grades of Honors, Satisfactory, or Unsatisfactory for electives. The elective
taken during Year III is not counted towards the number of Honors course evaluations needed to achieve YR III
Honors.

INTERNATIONAL ELECTIVES
International electives are defined as educational time spent outside the United States and Canada.
A one-month elective within a foreign country may be taken for credit by senior students only if the educational
value of the elective can be verified. Establishing and approving the elective follows the guidelines outlined
below. Prior to contacting an international institution, students must meet with Dr. Chih Chuang, Director of
Global Health and Education.
Students who have not obtained senior status may not take International Electives for credit. Students who are on
academic probation, have a status of Special Matriculation or on leave of absence are not permitted to participate
in international clinical experiences.
Only one international away elective (of one-month duration) is allowed per student. This elective is considered in
the evaluation of program balance.
The procedure for approval of international electives for senior students at the School of Medicine involves
discussing with the Director of Global Health and Education to assess the educational value as well as assessing
the logistical aspects of the elective. The Director will also assess whether the elective fits into the School of

and all requisite paperwork and evaluations must be completed before a final mark will be issued.
You will need to complete a Schedule Change Request Form if you are adding this elective to your schedule.


9.14 STUDENT RESPONSIBILITY AND CLERKSHIP/ELECTIVE EVALUATIONS

      1.
           requirements for awarding the medical degree, the requirements for graduation, and the rules regarding
           away electives. Do not procrastinate and put off completion of these requirements until the end of the
           year when you have insufficient time to complete them before graduation.
      2. In addition, you are required to complete an evaluation of each clerkship and elective course you
           complete during your clinical years. This requirement applies to both junior and senior elective courses
           as well as all required junior and senior clerkships. The School of Medicine Administration monitors the
           educational process with the hope of continually improving it.
      3. No grade will be recorded by the Office of Records and Registration until the student has completed the
           evaluation for each clerkship or elective.
      4. The School of Medicine may at times require students to complete surveys for ongoing educational
           research, online educational activities for regulatory compliance (e.g., Risk Management) or other
           activities not listed or announced previously. Once these are announced via email or other means,
           students will do everything possible to complete the requirement in a timely fashion.




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9.15. PARKING AT ASSIGNED HOSPITALS
 Parking is at a premium at many of the hospitals to which you will be assigned or electively rotate. However,
some of the hospitals provide contiguous parking in employee lots or structures; check the information at the end
of this document and contact the departments to which you are assigned for more information.
Because of a supply-demand mismatch at the Detroit Medical Center Central Campus, contiguous parking in well-
lit, safe lots or structures is not always provided by the hospital or department to which you are assigned. The
individual departments will distribute to the students located at DMC Central Campus for Emergency Medicine,
Sub-Internship and most electives. The School of Medicine STRONGLY advises all students to avoid parking on
public streets at any time.
Parking cards and tags will be distributed either by the WSU department to which students are assigned or
through the DMC Medical Education Office. Failure to return parking cards and tags immediately upon completion
of a rotation or elective may lead to the imposition of late fees and/or administrative sanctions being applied to
the student.


9.16   REQUESTS FOR EXCUSED ABSENCES FOR RELIGIOUS HOLIDAYS AND OTHER ABSENCES

The School of Medicine recognizes and appreciates the diverse cultural and religious backgrounds of its students.
However, there are no official days off during your junior and senior electives. For students on electives, all days off
are determined by the clinical service to which you are assigned for each month.
Requests for time away from clerkships and electives must be submitt
counselor will work with the student to request the time off from the Clerkship/ Elective Director if the request is
found to be appropriate. The counselor and student will also determine if the student should offer to make up
time in the clerkship/elective; however, the requirement for the time to be made up is at the discretion of the
Clerkship/Elective Director. The Clerkship/Elective Director may not grant absences if this policy is not followed.
Your attendance is expected and required at all other times by the faculty and the Clerkship/Elective Director for
satisfactory completion of each clinical clerkship or elective. Not appearing for clinical responsibilities and
assignments is unprofessional as well.
Indeed, unexcused absences could severely affect your grade; as detailed elsewhere in the policies and
procedures for each clerkship, a clerkship or elective may fail you if you do not show up for an assigned activity,
miss call, etc.
If for any reason you miss clinical time for illness, family emergency, weather delays, etc., you should immediately
notify your supervising resident/faculty member or site coordinator and the Clerkship Director or his/her
designee. Having notified these individuals, it is s
absence from the Office of Student Affairs. To do so you must contact the Assistant Dean of Student Affairs or
your counselor. When you return even from an excused absence the student will discuss making up the missed
clinical time with the Clerkship.




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9.17   OTHER IMPORTANT INFORMATION

Refer to the Policies and Procedures Manual for information about:
        Duty Hours and Work Environment
        Clinical Student Dress and Grooming Standards
        Student Mistreatment Policy
        Sexual Harassment Statute and Policy


Reference:
 i  American Board of Internal Medicine, Project Professionalism 2001,
 http://abimfoundation.org/Resource%20Center/Bibiliography/~Media/Files/Resource%20/Project%20professionalism.ashx
 April 7, 2010.
 ii American Board of Internal Medicine Foundation, American College of Physicians, European Foundation of Internal

 Medicine. Medical professionalism in the new millennium: a physician charter. Annals of Internal Medicine 2002; 136:243-
 246.
 iii 2011 Study in Transactions of the American Clinical and Climatological Association

 Adapted from Yale School of Medicine Professionalism Policy




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